    IN THE UNITED STATES COURT OF APPEALS
          FOR THE ELEVENTH CIRCUIT


               CASE NO. 22-11285-BB


                  CIERRA GETER,

                  Plaintiff-Appellant,

                           v.

       SCHNEIDER NATIONAL CARRIERS, INC.,

                 Defendant-Appellee.


ON APPEAL FROM THE UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF GEORGIA
           HONORABLE STEVE C. JONES
            CASE NO. 1:20-cv-01148-SCJ


         APPELLANT’S APPENDIX – VOL. I


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        CIERRA GETER v. SCHNEIDER NATIONAL CARRIERS, INC.

             Eleventh Circuit Court of Appeals Case No. 22-11285-BB

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  10p./p/1/1 .ÿqrs3tEu<vÿSD87ÿwC9xÿy4@5ABÿzDF4Bÿ{xÿqD4995ÿG4849=ÿ|NDFDARÿz44ÿ}K11=11;ÿ9464D~8
                AC@{49ÿEGE<yqIHKL0JK.ÿ|E88567@4A8TPÿÿ.ÿqDDFÿq?49ÿ:7448|4?~ÿ3F45T4ÿDTD8ÿ?C9
                S4{TD84ÿ58ÿ788~PppSSS=R5AB=CT6?C98T=R?p6?@@?AFxICT4BIz?9@Tÿ8?ÿ?{85DAÿ39489D5F
                uAT89C68D?ATÿ5ABÿ39489D5FÿETT?6D584BÿN?9@TÿS7D67ÿDA6FCB4Tÿ874ÿq?AT4A8ÿv?ÿ39?644Bÿ4z?94
                =:=ÿs5RDT89584ÿz?9@=ÿ|>A8494BPÿ10p.Lp/1/1
  10p.0p/1/1 /ÿ>F4689?AD6ÿ:C@@?ATÿuTTC4Bÿ5Tÿ8?ÿ:67A4DB49ÿ<58D?A5Fÿq599D49T;ÿuA6==ÿ|4?~ÿ|>A8494BP
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                quqs:vE<q>:ÿq>Ev>yÿÿqruyI.HÿE<yÿ>tEv>yÿqrr<Eÿu:=
                :DRA4Bÿ{xÿwCBR4ÿv7?@5Tÿ=ÿv795T7;ÿw9=ÿ?Aÿ0p.p/1/1=ÿ|{B{ÿ|>A8494BPÿ10p/1p/1/1
  10p/0p/1/1 Kÿq498DzD6584ÿ?zÿuA8494T84Bÿ349T?ATÿ{xÿqD4995ÿG4849=ÿ|t4R594;ÿq749xFÿ|>A8494BPÿ10p/0p/1/1
  1Kp1.p/1/1 JÿE@4AB4BÿG4A495Fÿr9B49ÿ/1I1.ÿ94ÿqrvÿr3>Evur<:ÿ<y>ÿv >ÿ>uG><v
                quqs:vE<q>:ÿq>Ev>yÿÿqruyI.HÿE<yÿ>tEv>yÿqrr<Eÿu:=
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                uA6=ÿS5D49ÿ@5DF4Bÿ?AÿKp.p/1/1;ÿ5ATS49ÿBC4ÿp.p/1/1=ÿ|t4R594;ÿq749xFÿ|>A8494BP
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                3594A8ÿ:67A4DB49ÿ<58D?A5FÿuA6=ÿz?9ÿ:67A4DB49ÿ<58D?A5Fÿq599D49T;ÿuA6=ÿ{xÿ:67A4DB49ÿ<58D?A5F
                q599D49T;ÿuA6==|EFF4A;ÿs494BD87ÿ|>A8494BPÿ1p1Kp/1/1
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                <58D?A5Fÿq599D49T;ÿuA6==ÿ|E88567@4A8TPÿÿ.ÿv4O8ÿ?zÿ39?~?T4Bÿr9B49|EFF4A;ÿs494BD87
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  ./0.b01.1. 2fÿGD:=?7AF>@ÿ68?=8ÿZgg]XhNPOÿaWQÿgZ]aNQ[iÿ2cÿUXNPaÿE]QeNYNPZ]Tÿ8QgX]aÿZPRÿ?N[jXhQ]T
                EeZPMÿ9WQÿRN[jXhQ]TÿgQ]NXR^ÿNPjeVRNPOÿRN[jXhQ]Tÿd]XYÿaWN]RÿgZ]aNQ[^ÿQPR[ÿXPÿUZPVZ]Tÿb^
                1.12Mÿ9WQÿDXV]aÿQkaQPR[ÿaWQÿRQZReNPQÿdX]ÿdNeNPOÿZÿg]XgX[QRÿjXP[XeNRZaQRÿg]Qa]NZeÿX]RQ]ÿVPaNe
                dX]aTÿ_c.`ÿRZT[ÿZdaQ]ÿaWQÿjeX[QÿXdÿaWQÿRN[jXhQ]TÿgQ]NXR^ÿX]^ÿNPÿaWQÿQhQPaÿaWZaÿZPTÿgZ]aTÿdNeQ[ÿZ
                YXaNXPÿdX]ÿ[VYYZ]TÿlVROYQPa^ÿVPaNeÿaWN]aTÿ_3.`ÿRZT[ÿZdaQ]ÿaWQÿRN[a]NjaÿjXV]ai[ÿdNPZeÿ]VeNPOÿXP
                ZeeÿgQPRNPOÿYXaNXP[ÿdX]ÿ[VYYZ]TÿlVROYQPa^ÿmWNjWQhQ]ÿN[ÿeZaQ]MÿGNOPQRÿSTÿ<ZON[a]ZaQ
                UVROQÿUV[aNPÿGMÿ;PZPRÿXPÿ/0b01.1.Mÿ_RRY`ÿ_=PaQ]QRCÿ./0.b01.1.`
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                7>?=8ÿ9:=ÿ=HF@=>9ÿDF8D7<G9;>D=GÿD8=;9=?ÿIJÿD6KF?B2Lÿ;>?
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                _;?F`ÿ_=PaQ]QRCÿ./02301.1.`
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                @QaQ]M_AQOZ]Q^ÿDWQ]Tèÿ_=PaQ]QRCÿ./02f01.1.`
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                DZ]]NQ][^ÿFPjMM_;eeQP^ÿ<Q]QRNaW`ÿ_=PaQ]QRCÿ./02f01.1.`
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                oz}tr}sÿt}ÿopqrstruuÿSTÿGjWPQNRQ]ÿ>ZaNXPZeÿDZ]]NQ][^ÿFPjMM_;eeQP^ÿ<Q]QRNaW`ÿ_=PaQ]QRC
                ./01.01.1.`
  .b0.c01.1. 11ÿGFH9:ÿ;<=>?<=>9ÿ96ÿ@=>=8;Aÿ68?=8ÿ1.B.2ÿ8=CÿD6789ÿ6E=8;9F6>G
                7>?=8ÿ9:=ÿ=HF@=>9ÿDF8D7<G9;>D=GÿD8=;9=?ÿIJÿD6KF?B2Lÿ;>?
                8=A;9=?ÿD686>;KF87GMÿGNOPQRÿSTÿUVROQÿ9WXYZ[ÿ\Mÿ9W]Z[W^ÿU]MÿXPÿ.b0.301.1.M
                _lgZ`ÿ_;?F`ÿ_=PaQ]QRCÿ.b0.c01.1.`
  .L0.101.1. 13ÿG=K=>9:ÿ;<=>?<=>9ÿ96ÿ@=>=8;Aÿ68?=8ÿ1.B.2ÿ8=CÿD6789ÿ6E=8;9F6>G
                7>?=8ÿ9:=ÿ=HF@=>9ÿDF8D7<G9;>D=GÿD8=;9=?ÿIJÿD6KF?B2Lÿ;>?
                8=A;9=?ÿD686>;KF87GMÿGNOPQRÿSTÿUVROQÿ9WXYZ[ÿ\Mÿ9W]Z[W^ÿU]MÿXPÿL0201.1.Mÿ_RO[`
                _;?F`ÿ_=PaQ]QRCÿ.L0.101.1.`
  .L02b01.1. 1cÿD=89F5FD;9=ÿ65ÿG=8KFD=ÿ}uÿrw}|zÿSTÿGjWPQNRQ]ÿ>ZaNXPZeÿDZ]]NQ][^ÿFPjMM_;eeQP^
                <Q]QRNaW`ÿ_=PaQ]QRCÿ.L02b01.1.`
  .L01101.1. 1fÿD=89F5FD;9=ÿ65ÿG=8KFD=ÿw|zrs~ÿopqrstruuvwÿsw|zwÿqsÿ|tr}swÿt}ÿ|u|sqstvw
                {st|zz}~qt}zr|wÿSTÿDNQ]]Zÿ@QaQ]M_AQOZ]Q^ÿDWQ]Tèÿ_=PaQ]QRCÿ.L01101.1.`
  .L01101.1. 1nÿD=89F5FD;9=ÿ65ÿG=8KFD=ÿw|zrs~ÿopqrstruuvwÿ|w}sw|wÿqsÿ|tr}swÿt}ÿ||wtwÿt}
                oz}|ÿSTÿDNQ]]Zÿ@QaQ]M_AQOZ]Q^ÿDWQ]Tèÿ_=PaQ]QRCÿ.L01101.1.`
  .L01L01.1. 1/ÿ=F@:9:ÿ;<=>?<=>9ÿ96ÿ@=>=8;Aÿ68?=8ÿ1.B.2ÿ8=CÿD6789ÿ6E=8;9F6>G
                7>?=8ÿ9:=ÿ=HF@=>9ÿDF8D7<G9;>D=GÿD8=;9=?ÿIJÿD6KF?2Lÿ;>?
                8=A;9=?ÿD686>;ÿKF87GMÿGNOPQRÿSTÿUVROQÿ9WXYZ[ÿ\Mÿ9W]Z[W^ÿU]MÿXPÿ.L01b01.1.M
                _ZZ`ÿ_;?F`ÿ_=PaQ]QRCÿ.L01L01.1.`
711!"#1$1%&'(6)6*886)3)**+++,-6-*6                                          81+
01231224ÿ6782ÿ9                                                        1 ÿÿÿ
  ./0/.01/1/            ÿ3456ÿ7645589:6;ÿ<=ÿ>?;96ÿ@<6A6ÿ3Bÿ>=:65Bÿ>?;96ÿCD8:;4ÿEBÿFA4:5ÿ:=ÿG=:96Dÿ45589:6;ÿ<=
                         H456BÿICJK3FÿJCÿLMMÿ3CNI@FMÿCOÿ7F3C7EPÿJQ6ÿ>?;96ÿ;6589:4<8=:ÿ8:ÿ<Q6ÿH8A8G
                         4H<8=:ÿ:?RS6Dÿ45589:6;ÿ<=ÿ<Q85ÿH456ÿQ45ÿS66:ÿHQ4:96;ÿ<=ÿ.P1/THAT..UVT@3>BÿWG6456ÿR4X6
                         :=<6ÿ=Yÿ<Q85ÿHQ4:96ÿ8:ÿ=D;6Dÿ<=ÿY4H8G8<4<6ÿ<Q6ÿ;=HX6<8:9ÿ=YÿZG64;8:95ÿ8:ÿ<Q85ÿH456Bÿ[DGS\
                         [F:<6D6;Pÿ./0/.01/1/\
  ./01/01/1/          1Vÿ>=8:<ÿ]CJKCIÿY=DÿWD=<6H<8A6ÿCD;6DÿS^ÿ@HQ:68;6DÿI4<8=:4Gÿ34DD86D5_ÿK:HBÿ[L<<4HQR6:<5Pÿ̀
                         .ÿJ6a<ÿ=YÿWD=Z=56;ÿCD;6DÿWD=Z=56;ÿ3=:56:<ÿ3=:Y8;6:<84G8<^ÿCD;6D\[LGG6:_ÿ]6D6;8<Q\
                         ]=;8Y86;ÿ=:ÿ./01/01/1/ÿ[Db5\Bÿ[F:<6D6;Pÿ./01/01/1/\
  ./01/01/1/          1cÿ3CI@FIJÿ3CIOKEFIJKLMKJdÿC7EF7ÿ9D4:<8:9ÿ1Vÿ]=<8=:ÿY=DÿWD=<6H<8A6ÿCD;6DB
                         @89:6;ÿS^ÿ]4985<D4<6ÿ>?;96ÿ>?5<8:ÿ@BÿL:4:;ÿ=:ÿ./01/01/1/Bÿ[Db5\ÿ[F:<6D6;Pÿ./01/01/1/\
  .10/c01/1/          e/ÿIKIJfÿL]FIE]FIJÿJCÿgFIF7LMÿC7EF7ÿ1/T/.ÿ7FPÿ3CN7JÿCWF7LJKCI@
                         NIEF7ÿJfFÿFhKgFIJÿ3K73N]@JLI3F@ÿ37FLJFEÿidÿ3CjKET.cÿLIE
                         7FMLJFEÿ3C7CILjK7N@Bÿ@89:6;ÿS^ÿ>?;96ÿJQ=R45ÿkBÿJQD45Q_ÿ>DBÿ=:ÿ.10/V01/1/B
                         [;;R\ÿ[LEK\ÿ[F:<6D6;Pÿ.10/c01/1/\
  .101e01/1/          e.ÿ>=8:<ÿ]CJKCIÿY=DÿFa<6:58=:ÿ=YÿJ8R6ÿ<=ÿ3=RZG6<6ÿE85H=A6D^ÿS^ÿ@HQ:68;6DÿI4<8=:4G
                         34DD86D5_ÿK:HBBÿ[L<<4HQR6:<5Pÿ̀ÿ.ÿFaQ8S8<ÿFaQ8S8<ÿLÿTÿWD=Z=56;ÿCD;6D\[LGG6:_ÿ]6D6;8<Q\
                         [F:<6D6;Pÿ.101e01/1/\
  .101e01/1/          e1ÿC7EF7ÿ9D4:<8:9ÿe.ÿ]=<8=:ÿY=DÿFa<6:58=:ÿ=YÿJ8R6ÿ<=ÿ3=RZG6<6ÿE85H=A6D^BÿE85H=A6D^
                         6:;5ÿ=:ÿU0V01/1.BÿJQ6ÿZ4D<865ÿ4D6ÿ4;A856;ÿ<Q4<_ÿ4S56:<ÿ6a<D4=D;8:4D^ÿ9==;ÿH4?56_ÿ<Q6D6ÿl8GG
                         S6ÿ:=ÿY?D<Q6Dÿ6a<6:58=:5ÿ=Yÿ;85H=A6D^Bÿ@89:6;ÿS^ÿ]4985<D4<6ÿ>?;96ÿ>?5<8:ÿ@BÿL:4:;ÿ=:
                         .101e01/1/Bÿ[Db5\ÿ[F:<6D6;Pÿ.101e01/1/\
  .101c01/1/          eeÿLWWMK3LJKCIÿY=DÿL;R8558=:ÿ=YÿW6<6DÿLBÿ]8G84:<8ÿWD=ÿf4Hÿj8H6ÿ[LZZG8H4<8=:ÿY66ÿmÿ.n/_
                         D6H68Z<ÿ:?RS6DÿLgLIE3T./nUe1Vc\BS^ÿ@HQ:68;6DÿI4<8=:4Gÿ34DD86D5_ÿK:HBBÿ[LGG6:_
                         ]6D6;8<Q\ÿE=H?R6:<5ÿY=Dÿ<Q85ÿ6:<D^ÿ4D6ÿ:=<ÿ4A48G4SG6ÿY=DÿA86l8:9ÿ=?<58;6ÿ<Q6ÿH=?D<Q=?56B
                         [F:<6D6;Pÿ.101c01/1/\
  .10e.01/1/            ÿLWW7CjLMÿS^ÿ3G6DX5ÿCYY8H6ÿD6PÿeeÿLWWMK3LJKCIÿY=DÿL;R8558=:ÿ=YÿW6<6DÿLBÿ]8G84:<8
                         WD=ÿf4Hÿj8H6ÿ[LZZG8H4<8=:ÿY66ÿmÿ.n/_ÿD6H68Z<ÿ:?RS6DÿLgLIE3T./nUe1Vc\BÿL<<=D:6^
                         W6<6DÿLBÿ]8G84:<8ÿ4;;6;ÿ4ZZ64D8:9ÿ=:ÿS6Q4GYÿ=Yÿ@HQ:68;6DÿI4<8=:4Gÿ34DD86D5_ÿK:HBÿ[H;9\
                         [F:<6D6;Pÿ.10e.01/1/\
  .10e.01/1/          eUÿC7EF7ÿ9D4:<8:9ÿeeÿLZZG8H4<8=:ÿY=DÿL;R8558=:ÿWD=ÿf4Hÿj8H6ÿY=DÿW6<6DÿLBÿ]8G84:<8Bÿ@89:6;
                         S^ÿ>?;96ÿ@<6A6ÿ3Bÿ>=:65ÿ=:ÿ.10e.01/1/BÿKYÿ<Q6ÿ4ZZG8H4:<ÿ;=65ÿ:=<ÿQ4A6ÿ3]0F3Oÿ4HH655ÿ8:
                         <Q6ÿI=D<Q6D:ÿE85<D8H<ÿ=Yÿg6=D984ÿ4GD64;^_ÿ<Q6^ÿR?5<ÿD6o?65<ÿ4HH655ÿ4<ÿQ<<ZP00Z4H6DB9=ABÿKY
                         <Q6^ÿQ4A6ÿ6G6H<D=:8H4GG^ÿY8G6;ÿ8:ÿ<Q85ÿ;85<D8H<ÿ8:ÿ4ÿZD6A8=?5ÿH456_ÿZG6456ÿ=R8<ÿ<Q85ÿ5<6ZB[Db5\
                         [F:<6D6;Pÿ.10e.01/1/\
  /.01V01/1.          enÿJFIJfÿL]FIE]FIJÿJCÿgFIF7LMÿC7EF7ÿ1/T/.ÿ7FPÿ3CN7JÿCWF7LJKCI@
                         NIEF7ÿJfFÿFhKgFIJÿ3K73N]@JLI3F@ÿ37FLJFEÿidÿ3CjKET.cÿLIE
                         7FMLJFEÿ3C7CILjK7N@Bÿ@89:6;ÿS^ÿ>?;96ÿJQ=R45ÿkBÿJQD45Q_ÿ>DBÿ=:ÿ/.01p01/1.B
                         [RRH\ÿ[LEK\ÿ[F:<6D6;Pÿ/.01V01/1.\
  /e0./01/1.          eqÿFMFjFIJfÿL]FIE]FIJÿJCÿgFIF7LMÿC7EF7ÿ1/T/.ÿ7FPÿ3CN7JÿCWF7LJKCI@
                         NIEF7ÿJfFÿFhKgFIJÿ3K73N]@JLI3F@ÿ37FLJFEÿidÿ3CjKET.cÿLIE
                         7FMLJFEÿ3C7CILjK7N@Bÿ@89:6;ÿS^ÿ>?;96ÿJQ=R45ÿkBÿJQD45Q_ÿ>DBÿ=:ÿ/e0/c01/1.
                         [RRH\ÿ[LEK\ÿ[F:<6D6;Pÿ/e0./01/1.\
  /U0/101/1.          epÿICJK3Fÿ<=ÿJ4X6ÿE6Z=58<8=:ÿ=YÿL5QG6^ÿ>4:556:ÿY8G6;ÿS^ÿ386DD4ÿg6<6Dÿ[M694D6_ÿ3Q6D^G\
                         [F:<6D6;Pÿ/U0/101/1.\
  /U0/101/1.          eVÿICJK3Fÿ<=ÿJ4X6ÿE6Z=58<8=:ÿ=YÿJD4A85ÿJ=DD6:H6ÿY8G6;ÿS^ÿ386DD4ÿg6<6Dÿ[M694D6_ÿ3Q6D^G\
                         [F:<6D6;Pÿ/U0/101/1.\
711!"#1$1%&'(6)6*886)3)**+++,-6-*6                                                  )1+
01231224ÿ6782ÿ9                                                        1 ÿÿÿ
  /01/212/23 45ÿ7889:;7<:=>ÿ?@Aÿ7BCDEED@Fÿ@?ÿGHIDEEJÿGKÿLHDEEÿ8A@ÿMJNÿODNHÿP7QQIDNJRD@Fÿ?HHÿSÿ3T/U
                AHNHDQRÿFVCWHAÿ7X7>Y;Z3/[\T02[]KW^ÿ_N`FHDBHAÿ>JRD@FJIÿ;JAADHAEUÿ:FNKKÿP7IIHFU
                GHAHBDR̀]ÿY@NVCHFREÿ?@AÿR̀DEÿHFRA^ÿJAHÿF@RÿJaJDIJWIHÿ?@AÿaDHbDFcÿ@VREDBHÿR̀HÿN@VAR̀@VEHK
                PdFRHAHBeÿ/01/212/23]
  /01/f12/23 ÿ788g=O79ÿW^ÿ;IHAhEÿ=??DNHÿAHeÿ45ÿ7889:;7<:=>ÿ?@Aÿ7BCDEED@Fÿ@?ÿGHIDEEJÿGKÿLHDEE
                8A@ÿMJNÿODNHÿP7QQIDNJRD@Fÿ?HHÿSÿ3T/UÿAHNHDQRÿFVCWHAÿ7X7>Y;Z3/[\T02[]KKÿ7RR@AFH^
                GHIDEEJÿGKÿLHDEEÿJBBHBÿJQQHJADFcÿ@FÿWH`JI?ÿ@?ÿ_N`FHDBHAÿ>JRD@FJIÿ;JAADHAEUÿ:FNKÿPNBc]
                PdFRHAHBeÿ/01/f12/23]
  /01/[12/23 0/ÿi@DFRÿG=<:=>ÿ?@AÿdjRHFED@Fÿ@?ÿ<DCHÿR@ÿ;@CQIHRHÿYDEN@aHA^ÿW^ÿ;DHAAJÿXHRHAK
                P7RRJN`CHFREeÿkÿ3ÿ<HjRÿ@?ÿ8A@Q@EHBÿ=ABHA]P9HcJAHUÿ;`HA^I]ÿPdFRHAHBeÿ/01/[12/23]
  /01/[12/23 03ÿ>=<:;dÿR@ÿ<JhHÿYHQ@EDRD@Fÿ@?ÿGJADJFFHÿlDEhH^Zg@EHÿ?DIHBÿW^ÿ;DHAAJÿXHRHAÿP9HcJAHU
                ;`HA^I]ÿPdFRHAHBeÿ/01/[12/23]
  /013412/23 02ÿ=gYdgÿcAJFRDFcÿ0/ÿG@RD@Fÿ?@AÿdjRHFED@Fÿ@?ÿ<DCHÿR@ÿ;@CQIHRHÿYDEN@aHA^KÿYDEN@aHA^
                HFBEÿ@FÿT1\12/23Kÿ<`HÿQJARDHEÿJAHÿJBaDEHBÿR̀JRUÿJWEHFRÿHjRAJ@ABDFJA^ÿc@@BÿNJVEHUÿR̀HAHÿbDII
                WHÿF@ÿ?VAR̀HAÿHjRHFED@FEÿ@?ÿBDEN@aHA^Kÿ_DcFHBÿW^ÿGJcDERAJRHÿiVBcHÿiVERDFÿ_Kÿ7FJFBÿ@F
                013412/23KÿPAmN]ÿPdFRHAHBeÿ/013412/23]
  /013012/23 04ÿ>=<:;dÿR@ÿ<JhHÿYHQ@EDRD@Fÿ@?ÿ_JAJ`ÿn@Q?ÿ?DIHBÿW^ÿ;DHAAJÿXHRHAÿP9HcJAHUÿ;`HA^I]
                PdFRHAHBeÿ/013012/23]
  /013012/23 00ÿ>=<:;dÿR@ÿ<JhHÿYHQ@EDRD@Fÿ@?ÿ<D??JF^ÿnDRN`HFEÿ?DIHBÿW^ÿ;DHAAJÿXHRHAÿP9HcJAHUÿ;`HA^I]
                PdFRHAHBeÿ/013012/23]
  /013512/23 0Tÿ=gYdgÿcAJFRDFcÿ45ÿ7QQIDNJRD@Fÿ?@Aÿ7BCDEED@Fÿ8A@ÿMJNÿODNHÿ?@AÿGHIDEEJÿGKÿLHDEEK
                _DcFHBÿW^ÿiVBcHÿ_RHaHÿ;Kÿi@FHEÿ@Fÿ013512/23Kÿ:?ÿR̀HÿJQQIDNJFRÿB@HEÿF@Rÿ̀JaHÿ;G1d;o
                JNNHEEÿDFÿR̀Hÿ>@AR̀HAFÿYDERADNRÿ@?ÿXH@AcDJÿJIAHJB^UÿR̀H^ÿCVERÿAHpVHERÿJNNHEEÿJR
                `RRQe11QJNHAKc@aKÿ:?ÿR̀H^ÿ̀JaHÿHIHNRA@FDNJII^ÿ?DIHBÿDFÿR̀DEÿBDERADNRÿDFÿJÿQAHaD@VEÿNJEHUÿQIHJEH
                @CDRÿR̀DEÿERHQKPAmN]ÿPdFRHAHBeÿ/013512/23]
  /013512/23 ÿ;IHAhqEÿ;HARD?DNJRHÿ@?ÿGJDIDFcÿR@ÿGHIDEEJÿGKÿLHDEEÿAHÿ0Tÿ=ABHAÿ@Fÿ7QQIDNJRD@Fÿ?@A
                7BCDEED@Fÿ8MOKÿPAmN]ÿPdFRHAHBeÿ/013512/23]
  /f1/\12/23 0fÿG=<:=>ÿ?@Aÿ_VCCJA^ÿiVBcCHFRÿbDR̀ÿlADH?ÿ:Fÿ_VQQ@ARÿW^ÿ_N`FHDBHAÿ>JRD@FJIÿ;JAADHAEU
                :FNKKÿP7RRJN`CHFREeÿkÿ3ÿlADH?ÿGHC@AJFBVCÿDFÿEVQQ@ARÿ@?ÿG@RD@FUÿkÿ2ÿ_RJRHCHFRÿ@?
                GJRHADJIÿoJNREÿ_RJRHCHFRÿ@?ÿrFBDEQVRHBÿoJNREUÿkÿ4ÿdj`DWDRÿ7ÿZÿ<@AAHFNHÿYHNIJAJRD@FUÿkÿ0
                dj`DWDRÿlÿZÿXHRHAÿYHQ@EDRD@FÿdjNHAQREÿJFBÿdj`DWDREUÿkÿTÿdj`DWDRÿ;ÿZÿlDEhH^Zg@EH
                YHQ@EDRD@FÿdjNHAQREUÿkÿfÿdj`DWDRÿYÿZÿ<@AAHFNHÿYHQ@EDRD@FÿdjNHAQREUÿkÿ\ÿdj`DWDRÿdÿZ
                nDRN`HFEÿYHQ@EDRD@FÿdjNHAQREUÿkÿ[ÿdj`DWDRÿoÿZÿn@Q?ÿYHQ@EDRD@FÿdjNHAQREUÿkÿ5ÿdj`DWDRÿXÿZ
                ;`ADERDFHÿ_N`FHDBHAÿYHNIJAJRD@FUÿkÿ3/ÿdj`DWDRÿMÿZÿiJFEEHFÿYHQ@EDRD@FÿYHNIJAJRD@F]
                PGDIDJFRDUÿ8HRHA]ÿZZ8IHJEHÿAH?HAÿR@ÿ̀RRQe11bbbKcJFBKVEN@VAREKc@aÿR@ÿ@WRJDFÿR̀Hÿ>@RDNHÿR@
                gHEQ@FBÿR@ÿ_VCCJA^ÿiVBcCHFRÿG@RD@Fÿ?@ACÿN@FRJDFHBÿ@FÿR̀Hÿ;@VARqEÿbHWEDRHKZZÿPdFRHAHBe
                /f1/\12/23]
  /f1/\12/23 0\ÿ>=<:;dÿ=?ÿoDIDFcÿW^ÿ_N`FHDBHAÿ>JRD@FJIÿ;JAADHAEUÿ:FNKÿAHÿ0fÿG=<:=>ÿ?@Aÿ_VCCJA^
                iVBcCHFRÿP7RRJN`CHFREeÿkÿ3ÿdj`DWDRÿ7ÿZÿ415123ÿ;KÿXHRHAÿYHQ@EDRD@Fÿ<AJFENADQRUÿkÿ2ÿdj`DWDR
                lÿZÿ01f123ÿ<Kÿ<@AAHFNHÿYHQ@EDRD@Fÿ<AJFENADQRUÿkÿ4ÿdj`DWDRÿ;ÿZÿ01[123ÿ7KÿiJFEEHFÿYHQ@EDRD@F
                <AJFENADQRUÿkÿ0ÿdj`DWDRÿYÿZÿ0135123ÿ_Kÿn@Q?ÿYHQ@EDRD@Fÿ<AJFENADQRUÿkÿTÿdj`DWDRÿdÿZÿ0135123
                <KÿnDRN`HFEÿYHQ@EDRD@Fÿ<AJFENADQRUÿkÿfÿdj`DWDRÿoÿZÿGKÿlDEhH^Zg@EHÿYHQ@EDRD@FUÿkÿ\ÿdj`DWDR
                XÿZÿ;Kÿ_N`FHDBHAÿYHNIJAJRD@FUÿkÿ[ÿdj`DWDRÿMÿZÿ<Kÿ<@AAHFNHÿYHNIJAJRD@F]PGDIDJFRDUÿ8HRHA]
                PdFRHAHBeÿ/f1/\12/23]
  /f12212/23 0[ÿ;@FEHFRÿG=<:=>ÿ?@AÿdjRHFED@Fÿ@?ÿ<DCHÿdjRHFBÿ_VCCJA^ÿiVBcCHFRÿYHJBIDFHEÿAHeÿ0f
                G=<:=>ÿ?@Aÿ_VCCJA^ÿiVBcCHFRÿW^ÿ;DHAAJÿXHRHAKÿP7RRJN`CHFREeÿkÿ3ÿ<HjRÿ@?ÿ8A@Q@EHB
                =ABHA]P9HcJAHUÿ;`HA^I]ÿPdFRHAHBeÿ/f12212/23]
711!"#1$1%&'(6)6*886)3)**+++,-6-*6                                         .1+
01231224ÿ6782ÿ9                                                        1 ÿÿÿ
  ./01101.12 34ÿ67897ÿ:;<=>?=:ÿ3@ÿAB<?=>?CCDEÿFG=EH=>ÿIG>?G=ÿ>Gÿ9J>H=KÿLMNN<;OÿPMK:NH=>ÿ8H<KB?=HEQ
                RSHÿKH<KB?=HÿCG;ÿAB<?=>?CCÿ>Gÿ;HETG=Kÿ>Gÿ>SHÿLMNN<;OÿPMK:NH=>ÿIG>?G=ÿ3/ÿ?EÿHJ>H=KHK
                >S;GM:SÿPMBOÿ21Uÿ1.12Uÿ<=Kÿ>SHÿKH<KB?=HÿCG;ÿ8HCH=K<=>ÿ>GÿC?BHÿ<ÿ;HTBOÿ?EÿHJ>H=KHKÿ>S;GM:S
                VM:ME>ÿ1Uÿ1.12QÿL?:=HKÿWOÿI<:?E>;<>HÿPMK:HÿPME>?=ÿLQÿV=<=KÿG=ÿ/01101.12QÿXKKNY
                X9=>H;HKZÿ./01101.12Y
  .[02101.12 \.ÿ79LA6]L9ÿ?=ÿ6TTGE?>?G=ÿ;Hÿ3/ÿI6R^6]ÿCG;ÿLMNN<;OÿPMK:NH=>ÿC?BHKÿWOÿF?H;;<ÿ_H>H;Q
                XV>><`SNH=>EZÿaÿ2ÿAB<?=>?CCDEÿ7HETG=EHÿ>GÿL><>HNH=>ÿGCÿI<>H;?<Bÿb<`>EUÿaÿ1ÿAB<?=>?CCDE
                L><>HNH=>ÿb<`>EUÿaÿcÿ_H>H;ÿ8H`B<;<>?G=Uÿaÿ3ÿd?BB?<NEÿ8H`B<;<>?G=Uÿaÿ\ÿe?EfHOg7GEHÿ8HTG
                9J`H;T>EUÿaÿ/ÿe?EfHOg7GEHÿ8HTGÿ9JQÿ3@Uÿaÿ[ÿ_H>H;ÿ8HTGÿ9J`H;T>EUÿaÿ@ÿ_H>H;ÿ8HTGÿ9JQÿ4Uÿa
                4ÿP<=EEH=ÿ8HTGÿ9J`H;T>EUÿaÿ2.ÿP<=EEH=ÿ8HTGÿ9JQÿ3ÿgÿV;H<ÿAB<==?=:ÿI<=<:H;ÿPGW
                8HE`;?T>?G=Uÿaÿ22ÿP<=EEH=ÿ8HTGÿ9JQÿ2/ÿgÿ7H>M;=ÿ>GÿdG;fÿ7H`GNNH=K<>?G=Uÿaÿ21ÿP<=EEH=
                8HTGÿ9JQÿc2gÿ8H`Qÿ2[Uÿ1.2@ÿ9N<?BEUÿaÿ2cÿP<=EEH=ÿ8HTGÿ9JQÿc1ÿgÿP<=Qÿ12Uÿ1.24ÿ9N<?BEUÿa
                23ÿP<=EEH=ÿ8HTGÿ9JQÿc3ÿgÿI<;`Sÿ1.24ÿ9N<?BEUÿaÿ2\ÿh?>`SH=Eÿ8HTGÿ9J`H;T>EUÿaÿ2/ÿhGTC
                8HTGÿ9J`H;T>EUÿaÿ2[ÿRG;;H=`Hÿ8HTGÿ9J`H;T>EUÿaÿ2@ÿRG;;H=`Hÿ8HTGÿ9JQÿ3ÿgÿV;H<ÿAB<==?=:
                I<=<:H;ÿPGWÿ8HE`;?T>?G=Uÿaÿ24ÿRG;;H=`Hÿ8HTGÿ9JQÿc.ÿ6`>Qÿ1/Uÿ1.2@ÿ9N<?BUÿaÿ1.ÿRG;;H=`H
                8HTGÿ9JQÿc2ÿ8H`Qÿ2[Uÿ1.2@ÿ9N<?BEUÿaÿ12ÿRG;;H=`Hÿ8HTGÿ9JQÿc1ÿP<=Qÿ12Uÿ1.24ÿ9N<?BEUÿaÿ11
                RG;;H=`Hÿ8HTGÿ9JQÿ3/ÿ8HCH=K<=>DEÿ^=>H;;G:<>G;Oÿ7HETG=EHEYXiH:<;HUÿFSH;OBYÿX9=>H;HKZ
                .[02101.12Y
  .@0.101.12 \2ÿ79Aijÿe7^9bÿ;Hÿ3/ÿI6R^6]ÿCG;ÿLMNN<;OÿPMK:NH=>ÿC?BHKÿWOÿL`S=H?KH;ÿ]<>?G=<B
                F<;;?H;EUÿ^=`QQÿXI?B?<=>?UÿAH>H;YÿX9=>H;HKZÿ.@0.101.12Y
  .@0.101.12 \1ÿ7HETG=EHÿ>GÿL><>HNH=>ÿGCÿI<>H;?<Bÿb<`>Eÿ;Hÿ3/ÿI6R^6]ÿCG;ÿLMNN<;OÿPMK:NH=>ÿC?BHKÿWO
                L`S=H?KH;ÿ]<>?G=<BÿF<;;?H;EUÿ^=`QQÿXI?B?<=>?UÿAH>H;YÿRHJ>ÿNGK?C?HKÿG=ÿ@0c01.12ÿX<K:YQ
                X9=>H;HKZÿ.@0.101.12Y
  .@0.c01.12 ÿLMWN?EE?G=ÿGCÿ3/ÿI6R^6]ÿCG;ÿLMNN<;OÿPMK:NH=>ÿUÿ>GÿI<:?E>;<>HÿPMK:HÿPME>?=ÿLQÿV=<=KQ
                XKKNYÿX9=>H;HKZÿ.@0.c01.12Y
  2102.01.12 \cÿb^]Viÿ79A67RÿV]8ÿ79F6II9]8VR^6]ÿ;H`GNNH=K?=:ÿ>S<>ÿ3/ÿ8HCH=K<=>DE
                IG>?G=ÿCG;ÿLMNN<;OÿPMK:NH=>ÿWHÿ:;<=>HKÿ<=Kÿ>S<>ÿkMK:NH=>ÿWHÿH=>H;HKÿ?=ÿC<lG;ÿGC
                8HCH=K<=>ÿG=ÿ<BBÿGCÿAB<?=>?CCDEÿ̀B<?NEQÿL?:=HKÿWOÿI<:?E>;<>HÿPMK:HÿPME>?=ÿLQÿV=<=KÿG=
                2102.01.12QÿXKKNYÿX9=>H;HKZÿ2102c01.12Y
  2102.01.12 ÿb^]Viÿ79A67RÿV]8ÿ79F6II9]8VR^6]ÿ;Hÿ2ÿFGNTB<?=>QÿL?:=HKÿWOÿI<:?E>;<>H
                PMK:HÿPME>?=ÿLQÿV=<=KÿG=ÿ2102.01.12QÿXKKNYÿX9=>H;HKZÿ2102c01.12Y
  2102.01.12 \3ÿ67897ÿCG;ÿLH;l?`HÿGCÿ\cÿb?=<Bÿ7HTG;>ÿ<=Kÿ7H`GNNH=K<>?G=UÿWOÿI<:?E>;<>HÿPMK:HÿPME>?=
                LQÿV=<=KQÿ9<`SÿT<;>OÿN<OÿC?BHÿm;?>>H=ÿGWkH`>?G=Eÿ>Gÿ>SHÿ7HTG;>ÿnÿ7H`GNNH=K<>?G=ÿm?>S?=
                23ÿK<OEÿGCÿEH;l?`HQÿ^Cÿ=GÿGWkH`>?G=Eÿ<;HÿC?BHKUÿ>SHÿ7HTG;>ÿnÿ7H`GNNH=K<>?G=ÿN<OÿWH
                <KGT>HKÿ<Eÿ>SHÿGT?=?G=ÿ<=KÿG;KH;ÿGCÿ>SHÿ8?E>;?`>ÿFGM;>QÿL?:=HKÿWOÿI<:?E>;<>HÿPMK:HÿPME>?=
                LQÿV=<=KÿG=ÿ2102.01.12QÿXKKNYÿX9=>H;HKZÿ2102c01.12Y
  2102/01.12 \\ÿo=GTTGEHKÿI6R^6]ÿCG;ÿ9J>H=E?G=ÿGCÿR?NHÿb?BHÿ6WkH`>?G=Eÿ>Gÿ7HTG;>ÿn
                7H`GNNH=K<>?G=ÿWOÿF?H;;<ÿ_H>H;QÿXV>><`SNH=>EZÿaÿ2ÿ7n7ÿ]G>?`HÿGCÿ9BH`>;G=?`ÿb?B?=:Uÿaÿ1
                RHJ>ÿGCÿA;GTGEHKÿ6;KH;YXiH:<;HUÿFSH;OBYÿX9=>H;HKZÿ2102/01.12Y
  2102[01.12 \/ÿ67897ÿ:;<=>?=:ÿ\\ÿIG>?G=ÿCG;ÿ9J>H=E?G=ÿGCÿR?NHÿ>Gÿb?BHÿ6WkH`>?G=Eÿ>Gÿ>SHÿ7HTG;>ÿ<=K
                7H`GNNH=K<>?G=Uÿ>SHÿ̀GM;>ÿm?BBÿHJ>H=Kÿ>SHÿKH<KB?=Hÿ>Gÿb?BHÿ6WkH`>?G=Eÿ>Gÿ>SHÿ7HTG;>ÿ<=K
                7H`GNNH=K<>?G=ÿ>S;GM:Sÿ<=Kÿ?=`BMK?=:ÿP<=M<;Oÿ2.Uÿ1.11QÿL?:=HKÿWOÿPMK:HÿL>HlHÿFQÿPG=HE
                G=ÿ2102[01.12QÿX;E:YÿX9=>H;HKZÿ2102[01.12Y
  .202.01.11 \[ÿ6eP9FR^6]Lÿ>Gÿ\cÿ7HTG;>ÿ<=Kÿ7H`GNNH=K<>?G=ÿC?BHKÿWOÿF?H;;<ÿ_H>H;QÿXiH:<;HUÿFSH;OBY
                X9=>H;HKZÿ.202.01.11Y
  .202@01.11 \@ÿo=GTTGEHKÿI6R^6]ÿCG;ÿ9J>H=E?G=ÿGCÿR?NHÿ>Gÿb?BHÿ7HETG=EHÿ;HZÿ\[ÿ6WkH`>?G=Eÿ>Gÿ7HTG;>
                <=Kÿ7H`GNNH=K<>?G=ÿWOÿL`S=H?KH;ÿ]<>?G=<BÿF<;;?H;EUÿ^=`QQÿXV>><`SNH=>EZÿaÿ2ÿRHJ>ÿGC
711!"#1$1%&'(6)6*886)3)**+++,-6-*6                                   01+
01231224ÿ6782ÿ9                                                        1 ÿÿÿ
                         ./010234ÿ6/43/789:;:<=>:?ÿ.3>3/7ÿ8@=>3/34AÿBCDCEDFBFF7
  BCDCGDFBFF          HGÿ6IJ@IÿK/<=>:=KÿHEÿ90>:0=ÿL0/ÿ@M>3=2:0=ÿ0LÿN:O3ÿ>0ÿL:;3ÿ0PQ3R>:0=2ÿ>0ÿ>S3ÿHTÿUVWXY
                         I@.6INÿXWJÿI@Z699@WJXNV6W[ÿNS3ÿZ0\/>ÿ3M>3=42ÿ>S3ÿ43<4;:=3ÿL0/ÿJ3L3=4<=>ÿ>0
                         L:;3ÿ:>2ÿI3210=23ÿ>0ÿ.;<:=>:LL]2ÿ6PQ3R>:0=2ÿ>0ÿ>S3ÿI310/>ÿ<=4ÿI3R0OO3=4<>:0=ÿ>S/0\KSÿ<=4
                         :=R;\4:=KÿU3P/\</^ÿ_?ÿFBFF[ÿ̀:K=34ÿP^ÿa\4K3ÿ̀>3b3ÿZ[ÿa0=32ÿ0=ÿBCDCGDFBFF[ÿ8/2K7
                         8@=>3/34AÿBCDCGDFBFF7
  BFDB_DFBFF          cBÿI@.Ydÿ>0ÿ6PQ3R>:0=ÿ>0ÿI310/>ÿ<=4ÿI3R0OO3=4<>:0=ÿ/3ÿH_ÿ6PQ3R>:0=2ÿ>0ÿI310/>ÿ<=4
                         I3R0OO3=4<>:0=ÿefgfhijhklmÿofmpqhmfÿkqÿrsjthktggÿmÿuvwfxktqhmÿkqÿyjztmk{jkfÿ|}izfÿlm
                         ofpq{kÿjhiÿofxq~~fhijktqhÿL:;34ÿP^ÿ̀RS=3:43/ÿW<>:0=<;ÿZ<//:3/2?ÿV=R[[ÿ89:;:<=>:?ÿ.3>3/7
                         8@=>3/34AÿBFDB_DFBFF7
  BFDCBDFBFF            ÿ`\PO:22:0=ÿ0LÿUVWXYÿI@.6INÿXWJÿI@Z699@WJXNV6Wÿ/3ÿCÿZ0O1;<:=>?ÿL:;34ÿP^
                         Z:3//<ÿ3>3/?ÿ>0ÿJ:2>/:R>ÿa\4K3ÿ̀>3b3ÿZ[ÿa0=32[ÿ8147ÿ8@=>3/34AÿBFDCBDFBFF7
  BTDFCDFBFF          cCÿ6IJ@Iÿ<401>:=Kÿ>S3ÿHTÿU:=<;ÿI310/>ÿ<=4ÿI3R0OO3=4<>:0=?ÿK/<=>:=KÿcÿJ3L3=4<=>]2
                         90>:0=ÿL0/ÿ̀\OO</^ÿa\4KO3=>ÿ<=4ÿ4:2O:22:=Kÿ.;<:=>:LL]2ÿR<23[ÿ̀:K=34ÿP^ÿa\4K3ÿ̀>3b3ÿZ[
                         a0=32ÿ0=ÿBTDFCDFBFF[ÿ844O7ÿ8@=>3/34AÿBTDFCDFBFF7
  BTDFCDFBFF          cFÿZY@I]`ÿaJ9@WNÿ3=>3/34ÿ:=ÿL<b0/ÿ0LÿJ3L3=4<=>[ÿ844O7.;3<23ÿ/3L3/ÿ>0
                         S>>1ADD[R<CC[\2R0\/>2[K0bÿ>0ÿ0P><:=ÿ<=ÿ<113<;2ÿQ\/:24:R>:0=ÿRS3R;:2>ÿ8@=>3/34A
                         BTDFCDFBFF7
  BTDFCDFBFF            ÿZ:b:;ÿZ<23ÿN3/O:=<>34[ÿ844O7ÿ8@=>3/34AÿBTDFCDFBFF7
  BDCHDFBFF          cTÿW6NVZ@ÿ6UÿX..@XYÿ<2ÿ>0ÿcFÿZ;3/]2ÿa\4KO3=>?ÿcCÿ6/43/ÿ0=ÿ90>:0=ÿL0/ÿ̀\OO</^
                         a\4KO3=>?ÿ6/43/ÿ0=ÿU:=<;ÿI310/>ÿ<=4ÿI3R0OO3=4<>:0=?ÿP^ÿZ:3//<ÿ3>3/[ÿU:;:=KÿL33ÿÿHBH?
                         /3R3:1>ÿ=\OP3/ÿXXWJZCC_TcTG[ÿN/<=2R/:1>ÿ6/43/ÿU0/Oÿ4\3ÿ0=ÿDFGDFBFFÿ8Y3K</3?
                         ZS3/^;7ÿ8@=>3/34AÿBDCHDFBFF7
  BDCHDFBFF          cÿ`ZXÿX113<;ÿN/<=2O:22:0=ÿY3>>3/ÿ>0ÿCC>SÿZ:/R\:>ÿ/3AÿcTÿW0>:R3ÿ0LÿX113<;?ÿL:;34ÿP^ÿZ:3//<
                         3>3/[ÿ81QO7ÿ8@=>3/34AÿBDCHDFBFF7
  BDCHDFBFF          cHÿN/<=2O:22:0=ÿ0LÿZ3/>:L:34ÿZ01^ÿ0LÿW0>:R3ÿ0LÿX113<;?ÿ`ZXÿX113<;ÿU332?ÿa\4KO3=>?
                         6/43/?ÿI310/>ÿ<=4ÿI3R0OO3=4<>:0=ÿ<=4ÿJ0R3>ÿ̀S33>ÿ>0ÿ`ÿZ0\/>ÿ0LÿX113<;2ÿ/3AÿcT
                         W0>:R3ÿ0LÿX113<;[ÿ81QO7ÿ8@=>3/34AÿBDCHDFBFF7
  BDCHDFBFF          ccÿVYYÿ6UÿZ6`N`ÿP^ÿ̀RS=3:43/ÿW<>:0=<;ÿZ<//:3/2?ÿV=R[[ÿ8X>><RSO3=>2AÿÿCÿXLL:4<b:>ÿ0L
                         93;:22<ÿ9ÿ3:22ÿ:=ÿ2\110/>ÿ0LÿJ3L3=4<=>]2ÿ:;;ÿ0LÿZ02>2783:22?ÿ93;:22<7ÿ8@=>3/34A
                         BDCHDFBFF7
  BDFFDFBFF          c_ÿ`ZXÿXR=0;34KO3=>ÿ0LÿcTÿW0>:R3ÿ0LÿX113<;?ÿL:;34ÿP^ÿZ:3//<ÿ3>3/[ÿZ<23ÿX113<;34ÿ>0
                         `ZXÿCC>SÿZ:/R\:>[ÿZ<23ÿW\OP3/ÿFFCCFEH[ÿ81QO7ÿ8@=>3/34AÿBDFFDFBFF7
  BDFFDFBFF            ÿ.\/2\<=>ÿ>0ÿU[I[X[.[CC8R7?ÿ>S3ÿZ;3/ÿR3/>:L:32ÿ>S<>ÿ>S3ÿ/3R0/4ÿ:2ÿR0O1;3>3ÿL0/ÿ1\/10232ÿ0L
                         >S:2ÿ<113<;?ÿcTÿW0>:R3ÿ0LÿX113<;[ÿZ<23ÿX113<;34ÿ>0ÿ`ZXÿCC>SÿZ:/R\:>[ÿZ<23ÿW\OP3/ÿFF
                         CCFEH[ÿNS3ÿ3=>:/3ÿ/3R0/4ÿ0=ÿ<113<;ÿ:2ÿ<b<:;<P;3ÿ3;3R>/0=:R<;;^[ÿ81QO7ÿ8@=>3/34A
                         BDFFDFBFF7
  BDFFDFBFF          cEÿNIXW`ZIV.Nÿ6IJ@IÿU6I9ÿ8W0ÿ/K27ÿ/3AÿcTÿW0>:R3ÿ0LÿX113<;[ÿ8I<K<=?ÿXO3;:<7
                         904:L:34ÿ0=ÿDFFDFBFFÿ>0ÿ\14<>3ÿ>3M>ÿ81QO7[ÿ8@=>3/34AÿBDFFDFBFF7
  BDFFDFBFF          cGÿNIXW`ZIV.Nÿ6IJ@IÿU6I9ÿ8W0ÿ/K27ÿ/3AÿcTÿW0>:R3ÿ0LÿX113<;[ÿ8Y3K</3?ÿZS3/^;7
                         904:L:34ÿ0=ÿDFFDFBFFÿ>0ÿ\14<>3ÿ>3M>ÿ81QO7[ÿ8@=>3/34AÿBDFFDFBFF7
  BHDCFDFBFF          _BÿZ02>2ÿN<M34ÿ:=ÿ<O0\=>ÿ0LÿÿT?TB[EHÿ<K<:=2>ÿZ:3//<ÿ3>3/[ÿ8/2K7ÿ8@=>3/34AÿBHDCFDFBFF7

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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION

CIERRA GETER,                )
                             )               CIVIL ACTION FILE
     Plaintiff,              )               File No. _______________
                             )
v.                           )               JURY TRIAL DEMANDED
                             )
SCHNEIDER NATIONAL CARRIERS, )
INC.                         )
                             )
                             )
     Defendant.              )

           COMPLAINT FOR EQUITABLE RELIEF AND DAMAGES

      Plaintiff Cierra Geter (“Plaintiff” or “Ms. Geter”) files this Complaint for

Equitable Relief and Damages against Defendant Schneider National Carriers, Inc.

(“Schneider” or “Defendant”) showing the Court the following:

                                INTRODUCTION

      1.     Ms. Geter is a former employee of Defendant, having worked for

Defendant from July 14, 2014 through April 12, 2019.

      2.     Ms. Geter asserts claims for discrimination, retaliation, and failure to

accommodate under Title I of the Americans with Disabilities Act of 1990, as

amended by the ADA Amendments Act of 2008 (“ADA”), 42 U.S.C. § 12101 et

seq., and for discrimination under 42 U.S.C. § 1981 (“Section 1981”) and Title VII
      Case 1:20-cv-01148-ODE-JSA Document 1 Filed 03/12/20 Page 2 of 16




of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq. (“Title VII”).

Ms. Geter seeks injunctive and declaratory relief, back pay and lost benefits, front

pay or reinstatement to a full-time position with commensurate benefits,

compensatory damages, punitive damages, and attorney’s fees and costs of

litigation.

                              Jurisdiction and Venue

       3.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331

(federal question) and 28 U.S.C. § 1343 (civil rights).

       4.     Venue is proper in this district and division under 28 U.S.C. § 1391

because Defendant Schneider conducts business in this district and division and the

unlawful actions and practices alleged herein were committed within the Northern

District of Georgia.

                       Exhaustion of Administrative Remedies

       5.     On April 18, 2019, Ms. Geter filed a charge of discrimination – Charge

No. 410-2098-04552 – with the Equal Employment Opportunity Commission within

180 days of the occurrence of the acts of which she complains.

       6.     Ms. Geter received her Dismissal and Notice of Rights on December

17, 2019.


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      7.     Ms. Geter brings this suit within ninety (90) days of the receipt of her

Dismissal and Notice of Rights and, thus, exhausts her administrative remedies.

                                    The Parties

      8.     Ms. Geter is a citizen of the United States and a resident of the State of

Georgia.

      9.     Ms. Geter is and, at all times relevant hereto, was an individual with a

disability as that term is defined by 42 U.S.C. § 12102(1).

      10.    Ms. Geter is a person with a disability because she has actual mental

impairments – major depressive disorder, panic disorder and post-traumatic stress

syndrome – causing substantial limitations in one or more major life activities,

because she has a record of impairment, and because Defendant regarded her as

having an impairment.

      11.    Ms. Geter is capable of performing the essential functions of her job as

an Area Planning Manager with an accommodation.

      12.    Defendant Schneider National Carriers is a for-profit corporation licensed

to do business in Georgia and transacts business in the Northern District of Georgia.

      13.    Defendant is an employer engaged in commerce or in an industry

affecting commerce within the meaning of the ADA and Title VII and has employed


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      Case 1:20-cv-01148-ODE-JSA Document 1 Filed 03/12/20 Page 4 of 16




more than 15 persons for each working day in each of 20 calendar weeks in the

current or preceding calendar year.

      14.    Defendant is subject to the Court’s jurisdiction and may be served with

process through its registered agent for service of process, CT Corporation System,

289 South Culver Street, Lawrenceville, Georgia 30046.

                                Statement of Facts

      15.    Ms. Geter, who is African American, began employment with

Defendant in July 2014.

      16.    At all times relevant to this matter, Ms. Geter was an Area Planning

Manager.

      17.    At all times relevant to this matter, Ms. Geter worked third shift,

Wednesday through Friday and Sunday.

      18.    On or around October 6, 2018 Ms. Geter was diagnosed with a ADA-

covered disabilities – major depressive disorder, panic disorder and post-traumatic

stress disorder (PTSD).

      19.    Ms. Geter took short-term disability leave and Family and Medical

Leave Act leave from October 2019 to January 2, 2019 for treatment of her ADA-

covered disability.


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      20.   Ms. Geter returned to work on January 2, 2019 and upon her return to

work, requested a reasonable accommodation of a partially reduced schedule and

that she occasionally be allowed to work from home.

      21.   Ms. Geter explained to her managers that she suffered from PTSD and

had issues working alone because of her PTSD.

      22.   Ms. Geter’s supervisor, Travis Torrence, told Ms. Geter that it was okay

for her to work from home because everyone did it and Defendant accommodated

Ms. Geter’s request for accommodation until March 19, 2019.

      23.   In March 2019, Ms. Geter requested a reasonable accommodation to

return to work full-time but with one day of teleworking.

      24.   While Ms. Geter waited for a response to her request for

accommodation, Ms. Geter continue to work a reduced schedule and to work from

home for time to time.

      25.   On April 12, 2019, Defendant terminated Ms. Geter rather than grant

her request for reasonable accommodation based on her disability.

      26.   At the time Ms. Geter was terminated, Caucasian Area Planning

Manager Tiffany Kitchens, had been permitted to work a reduced schedule and to

work from home since August 2018.


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      27.    In addition, Travis Torrance, and Sarah Kopf (all Caucasian) were

routinely permitted to work from home.

      28.    In fact, Defendant recently changed its structure such that all Area

Planning Managers work remotely.

      29.    Thus, Ms. Geter’s request to work remotely one day a week to

accommodate her disability was reasonable.

      30.    Ms. Geter filed a charge of discrimination with the EEOC on April 18,

2019 alleging disability and race discrimination and retaliation for engaging in

protected activity by requesting a reasonable accommodation.

      31.    Defendant terminated Ms. Geter’s employment because of her

disability, rather than accommodating her disability, because it regarded her as

disabled, and in retaliation for her requesting an accommodation under the ADA.

      32.    Defendant treated Ms. Geter differently than her Caucasian peers when

it terminated her employment rather than allow her to work remotely as others did.

      33.    In discriminating and retaliating against Ms. Geter in violation of the

ADA, Title VII, and 42 U.S.C. § 1981, Defendant acted willfully, wantonly, and

intentionally to harm Ms. Geter and her federally protected rights.

      34.    Additionally, and in the alternative, Defendant acted with reckless


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disregard for Ms. Geter and her federally protected rights.

       35.   The effect of Defendant’s above-stated actions has been to deprive Ms.

Geter of employment opportunities, income in the form of wages, prospective

employment benefits, including social security and other benefits to which she

would have been entitled but for Defendant’s illegal actions.

       36.   The effect of Defendant’s above-stated actions has also caused Ms.

Geter to suffer out-of-pocket losses and mental and emotional distress for which she

seeks redress.

                                    COUNT I
                       Violation of ADA – Regarded As Disabled

       37.   Ms. Geter incorporates by reference all the preceding paragraphs of the

Complaint.

       38.   At all times relevant hereto, Defendant has been subject to the

requirements of Title I of the Americans with Disabilities Act as amended by the

ADA.

       39.   At all times relevant hereto, Ms. Geter was an individual with a

disability as defined under the ADA, 42 U.S.C. § 12102(1)(C) because Defendant

regarded her as a person with an impairment as defined by the Act.

       40.   Moreover, at all times relevant hereto, Ms. Geter has been a qualified

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individual with a disability as that term is defined by 42 U.S.C. § 12111(8) and able

to perform the essential functions of the job.

      41.    Defendant terminated Ms. Geter because it regarded her as disabled.

      42.    Defendant’s actions violated Section 102 of the ADA, 42 U.S.C. §

12112, which prohibits discrimination on the basis of disability.

      43.    As a direct and proximate result of Defendant’s intentional

discrimination, Ms. Geter has suffered out of pocket losses and has been deprived of

job-related economic benefits, including income in the form of wages and other job-

related benefits, including social security, all in an amount to be established at trial.

      44.    The actions taken against Ms. Geter by Defendant have caused her to

suffer both monetary and non-monetary damages.

      45.    Pursuant to the ADA, Ms. Geter is entitled to damages including, back

pay and lost benefits, front pay and/or reinstatement, compensatory/emotional

damages, punitive damages, attorney’s fees and costs of litigation, and all other relief

recoverable under the ADA.

      46.    Accordingly, Ms. Geter is entitled to the equitable and monetary relief

set forth in the following prayer for relief for Defendant’s violation of her rights

under the ADA.


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                                 COUNT II
   Actual Discrimination and Failure to Accommodate in Violation of ADA

       47.       Ms. Geter incorporates by reference all the preceding paragraphs of the

Complaint.

       48.       At all times relevant hereto, Defendant has been subject to the

requirements of Title I of the Americans with Disabilities Act as amended by the

ADA.

       49.       At all times relevant hereto, Ms. Geter was an individual with a

disability as defined by the ADA, 42 U.S.C. § 12102(1)(A).

       50.       Defendant was aware of Ms. Geter’s disabilities and history and record

of disability.

       51.       At all times relevant hereto, Ms. Geter has been a qualified individual

with a disability as that term is defined by 42 U.S.C. § 12111(8) and able to perform

the essential functions of his job.

       52.       Ms. Geter’s disabilities substantially limited one or more major life

activities.

       53.       Ms. Geter requested accommodation from Defendant relating to her

disabilities: that she be permitted to work from home for certain workdays.

       54.       Defendant initially granted the request then refused to grant Ms. Geter’s

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accommodation request and terminated her employment because of her disability.

      55.    Defendant’s actions amount to a violation of Section 102 of the ADA,

42 U.S.C. § 12112, which prohibits discrimination on the basis of disability and

requires reasonable accommodation for disabilities.

      56.    As a direct and proximate result of Defendant’s intentional

discrimination, Ms. Geter has suffered out of pocket losses and has been deprived of

job-related economic benefits, including income in the form of wages and other job-

related benefits, including social security, all in an amount to be established at trial.

      57.    The actions taken against Ms. Geter by Defendant have caused her to

suffer both monetary and non-monetary damages.

      58.    Pursuant to the ADA, Ms. Geter is entitled to damages including, back

pay and lost benefits, front pay and/or reinstatement, compensatory/emotional

damages, punitive damages, attorney’s fees and costs of litigation, and all other relief

recoverable under the ADA.

      59.    Accordingly, Ms. Geter is entitled to the equitable and monetary relief

set forth in the following prayer for relief for Defendant’s violation of her rights

under the ADA.




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                                    COUNT III
                        Retaliation in Violation of the ADA

       60.    Ms. Geter incorporates by reference all the preceding paragraphs of the

Complaint.

       61.    At all times relevant hereto, Defendant has been subject to the

requirements of Title I of the ADA.

       62.    At all times relevant hereto, Mr. Geter was an individual with a

disability as defined by the ADA, 42 U.S.C. § 12102(1)(A).

       63.    In January 2019, Ms. Geter engaged in protected activity under the

ADA when she requested a reasonable accommodation for her ADA-covered

disability.

       64.    Defendant refused to grant Ms. Geter’s request for accommodation and

terminated her employment in retaliation for requesting an accommodation in

violation of the ADA.

       65.    Defendant’s actions in retaliating against Ms. Geter following her

requests for reasonable accommodation were committed with reckless disregard for

her right to be free from retaliatory treatment in violation of the ADA.

       66.    The effect of Defendant’s above-mentioned conduct has been to

deprive Ms. Geter of equal employment opportunities and benefits due to her

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willingness engage in protected activity.

      67.    The actions taken against Ms. Geter by Defendant have caused her to

suffer both monetary and non-monetary damages.

      68.    Pursuant to the ADA, Ms. Geter is entitled to damages including, back

pay and lost benefits, front pay and/or reinstatement, compensatory/emotional

damages, punitive damages, attorney’s fees and costs of litigation, and all other relief

recoverable under the ADA.

      69.    Accordingly, Ms. Geter is entitled to the equitable and monetary relief

set forth in the following prayer for relief for Defendant’s violation of her rights

under the ADA.

                                       COUNT IV
    Discrimination in Violation of Title VII of the Civil Rights Act of 1964,
                    as Amended, 42 U.S.C. § 2000e et seq.

      70.    Ms. Geter incorporates by reference all preceding paragraphs of the

Complaint.

      71.    Defendant’s stated reason for terminating Plaintiff’s employment is

pretext for racial discrimination.

      72.    Defendant terminated Plaintiff because of her race rather than

permitting her to work remotely as it did her Caucasian comparators.


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          73.   Defendant’s discriminatory termination of Ms. Geter violated Title VII.

          74.   Defendant willfully and wantonly disregarded Ms. Geter’s rights under

Title VII and acted in reckless disregard for her rights under Title VII.

          75.   Defendant’s discriminatory actions against Ms. Geter were taken in bad

faith.

          76.   As a result of Defendant’s discriminatory termination of Ms. Geter, Ms.

Geter has suffered lost compensation and other benefits of employment, emotional

distress, inconvenience, loss of income, humiliation and other indignities.

          77.   Pursuant to Title VII, Plaintiff is entitled to damages including, back

pay and lost benefits, front pay and/or reinstatement, compensatory damages,

punitive damages, attorneys’ fees and costs of litigation, and all other relief

recoverable under Title VII.

                                      COUNT V
                   Discrimination in Violation of 42 U.S.C. § 1981

          78.   Ms. Geter incorporates by reference all preceding paragraphs of the

Complaint.

          79.   Defendant’s stated reason for terminating Ms. Geter’s employment is

pretext for racial discrimination.

          80.   Defendant terminated Ms. Geter because of her race.

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          81.   Defendant’s discriminatory termination of Ms. Geter violated 42

U.S.C. § 1981 (“Section 1981”).

          82.   Defendant willfully and wantonly disregarded Ms. Geter’s rights under

Section 1981 and acted in reckless disregard for Ms. Geter’s rights under Section

1981.

          83.   Defendant’s discriminatory actions against Ms. Geter were taken in bad

faith.

          84.   As a result of Defendant’s discriminatory termination of Ms. Geter, Ms.

Geter has suffered lost compensation and other benefits of employment, emotional

distress, inconvenience, loss of income, humiliation and other indignities.

          85.   Pursuant to Section 1981, Ms. Geter is entitled to damages including,

back pay and lost benefits, front pay and/or reinstatement, compensatory damages,

punitive damages, attorneys’ fees and costs of litigation pursuant to 42 U.S.C. §

1988, and all other relief recoverable under Section 1981.

                               PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands a TRIAL BY JURY and that the following

relief be granted:

          (a)   A declaration that Defendant has violated the rights of Plaintiff under


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the federal statutes listed above;

       (b)    A permanent injunction against Defendant enjoining Defendant from

further violations of the federal statutes listed above;

       (c)    Judgment in her favor and against Defendant under all counts of this

Complaint;

       (d)    Order Defendant to make Ms. Geter whole by providing for her out-of-

pocket losses as well as back pay in an amount equal to the sum of any wages, salary,

employment benefits or other compensation denied or lost as a result of Defendant’s

unlawful and discriminatory acts, taking into account all raises to which Ms. Geter

would have been entitled, together with interest thereon, all in an amount to be

proven at trial;

       (e)    Order that Ms. Geter be reinstated or, in the alternative, be awarded

front pay;

       (f)    Grant to Ms. Geter Compensatory damages, in an amount to be

determined by the enlightened conscience of the jury, for Plaintiff’s emotional

distress, suffering, inconvenience, mental anguish, loss of enjoyment of life and

special damages;

       (g)    Grant to Ms. Geter punitive damages in an amount to be determined by


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the enlightened conscious of the jury to be sufficient to punish Defendant for its

conduct toward Ms. Geter and deter Defendant from similar conduct in the future

for Defendant’s willful and intentional violations of federal law;

      (h)    Grant to Ms. Geter a jury trial on all issues so triable;

      (i)    Grant to Ms. Geter her reasonable attorney’s fees and reasonable expert

witness fees together with any and all other costs associated with this action; and

      (j)    Grant such additional monetary and equitable relief as the Court deems

proper and just.

      PLAINTIFF DEMANDS A TRIAL BY JURY.

      Respectfully submitted this 12th day of March, 2020,

                                        LEGARE, ATTWOOD & WOLFE, LLC

                                        s/ Cheryl B. Legare
                                        Georgia Bar No. 038553
                                        cblegare@law-llc.com

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Decatur, Georgia 30030
Tel: (470) 823-4000
Fax: (470) 201-1212
Counsel for Plaintiff




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 Cierra Geter                                 )
                                              )
       Plaintiff,                             )
                                              )   Civil Action File No.:
 v.                                           )   1:20-cv-01148-ODE-JSA
                                              )
 Schneider National Carriers, Inc.
                                              )
                                              )
       Defendant.
                                              )
                                              )


  DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC’S ANSWER
   AND AFFIRMATIVE AND OTHER DEFENSES TO PLAINTIFF’S
                      COMPLAINT
       Defendant, Schneider National Carriers, Inc. (“Schneider”), by and through

its attorneys, McGuireWoods LLP, for its Answer and Affirmative and Other

Defenses to Plaintiff’s Complaint, states as follows. Schneider denies each and

every allegation in Plaintiff’s Complaint except as expressly admitted herein.

                                     Introduction
       1.     Schneider admits the allegations contained in Paragraph 1.

       2.     Schneider denies the allegations contained in Paragraph 2 of the

Complaint, except to admit that Plaintiff purports to state claims under the

Americans with Disabilities Act, 42 U.S.C. § 1981, and Title VII and that Plaintiff


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seeks injunctive, declaratory and other relief.        Answering further, Schneider

expressly denies that it engaged in any unlawful conduct or that it has any liability

to Plaintiff.

                                 Jurisdiction and Venue
       3.       Schneider denies the allegations contained in Paragraph 3 of the

Complaint, except to admit that this Court has jurisdiction over this matter.

Answering further, Schneider expressly denies that it engaged in any unlawful

conduct or that it has any liability to Plaintiff.

       4.       Schneider denies the allegations contained in Paragraph 4 of the

Complaint, except to admit that venue is proper before this Court. Answering

further, Schneider expressly denies that it engaged in any unlawful conduct or that

it has any liability to Plaintiff.

                          Exhaustion of Administrative Remedies
       5.       Schneider lacks information sufficient to admit or deny the allegations

contained in Paragraph 5 of the Complaint, except to admit that Plaintiff filed a

charge of discrimination with the EEOC, styled as Charge Number 410-2098-04552.

Answering further, Schneider expressly denies that it engaged in any unlawful

conduct or that it has any liability to Plaintiff.

       6.       Schneider lacks information sufficient to admit or deny the allegations



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 contained in Paragraph 6 of the Complaint, except to admit that the EEOC issued

 a Dismissal and Notice of Rights dated Decenber 17, 2019.

      7.     Schneider lacks information sufficient to admit or deny the allegations

contained in Paragraph 7 of the Complaint.

      8.     Schneider lacks information sufficient to admit or deny the allegations

contained in Paragraph 8 of the Complaint.

      9.     Schneider states that the allegations contained in Paragraph 9 of the

Complaint assert legal conclusions to which no response is required. To the extent

any response is required, Schneider lacks information sufficient to admit or deny

whether Plaintiff has a “disability” within the meaning of the ADA and, on that basis,

denies such allegations.

      10.    Schneider states that the allegations contained in Paragraph 10 of the

Complaint assert legal conclusions to which no response is required. To the extent

any response is required, Schneider lacks information sufficient to admit or deny

whether Plaintiff is a person with a “disability” within the meaning of the ADA and,

on that basis, denies such allegations.

      11.    Schneider denies that Plaintiff is capable of performing the essential

functions of an Area Planning Manager with a reasonable accommodation.

      12.    Schneider admits the allegations contained in Paragraph 12 of the


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Complaint.

      13.    Schneider denies the allegations contained in Paragraph 13 of the

Complaint, except to admit that it is an “employer” engaged in commerce within the

meaning of the ADA and Title VII. Answering further, Schneider expressly denies

that it engaged in any unlawful conduct or that it has any liability to Plaintiff.

      14.    Schneider denies the allegations contained in Paragraph 14 of the

Complaint, except to admit that it is subject to the Court’s jurisdiction and that

Schneider’s registered agent in the State of Georgia is CT Corporation System, 289

S. Culver St., Lawrenceville, GA 30046. Answering further, Schneider expressly

denies that it engaged in any unlawful conduct or that it has any liability to Plaintiff.

                                 Statement of Facts

      15.    Schneider admits the allegations contained in Paragraph 15 of the

Complaint.

      16.    Schneider admits the allegation contained in Paragraph 16 of the

Complaint.

      17.    Schneider denies the allegations contained in Paragraph 17 of the

Complaint, except to admit that Plaintiff worked on the third shift and that her full-

time schedule including working on Wednesdays, Thursdays, Fridays, and Sundays.




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        18.   Schneider lacks knowledge or information sufficient to admit or deny

the allegations contained in Paragraph 18 of the Complaint.

        19.   Schneider lacks knowledge or information sufficient to admit or deny

the allegations contained in Paragraph 19 of the Complaint, except to admit that

Plaintiff took an approved FMLA leave from October 9, 2018 through January 1,

2019.

        20.   Schneider denies the allegations contained in Paragraph 20 of the

Complaint, except to admit that Plaintiff returned to work on January 2, 2019, and

requested a workplace accommodation of a partially reduced schedule.

        21.   Schneider denies the allegations contained in Paragraph 21 of the

Complaint.

        22.   Schneider denies the allegations contained in Paragraph 22 of the

Complaint, except to admit that Schneider accommodated Plaintiff’s request for a

temporary reduced work schedule through April 12, 2019.

        23.   Schneider denies the allegations contained in Paragraph 23 of the

Complaint.

        24.   Schneider denies the allegations contained in Paragraph 24 of the

Complaint, except to admit that Schneider accommodated Plaintiff’s request for a

temporary reduced work schedule through April 12, 2019.


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       25.    Schneider denies the allegations contained in Paragraph 25 of the

Complaint, except to admit it terminated Plaintiff’s employment on April 12, 2019

after Plaintiff could not identify a reasonable accommodation that would enable her

to perform the essential functions of her position.

       26.    Schneider denies the allegations contained in Paragraph 26 of the

Complaint.

       27.    Schneider denies the allegations contained in Paragraph 27 of the

Complaint.

       28.    Schneider denies the allegations contained in Paragraph 28 of the

Complaint.

       29.    Schneider denies the allegations contained in Paragraph 29 of the

Complaint.

       30.    Schneider denies the allegations contained in Paragraph 30 of the

Complaint, except to admit that Plaintiff filed a charge of discrimination with the

EEOC on or about April 18, 2019, which document speaks for itself. Answering

further, Schneider denies that it engaged in any unlawful conduct, or that it has any

liability to Plaintiff.

       31.    Schneider denies the allegations contained in Paragraph 31 of the

Complaint.


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       32.    Schneider denies the allegations contained in Paragraph 32 of the

Complaint.

       33.    Schneider denies the allegations contained in Paragraph 33 of the

Complaint.

       34.    Schneider denies the allegations contained in Paragraph 34 of the

Complaint.

       35.    Schneider denies the allegations contained in Paragraph 35 of the

Complaint.

       36.    Schneider denies the allegations contained in Paragraph 36 of the

Complaint.

                                     COUNT I
                      Violation of ADA – Regarded As Disabled
       37.    Schneider restates and realleges its answers to Paragraphs 1 through 36

as if fully set forth herein.

       38.    Schneider denies the allegations contained in Paragraph 38 of the

Complaint, except to admit that Title I of the ADA applies to it. Answering further,

Schneider expressly denies that it engaged in any unlawful conduct or that it has any

liability to Plaintiff.




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      39.    Schneider states that the allegations contained in Paragraph 39 of the

Complaint assert legal conclusions to which no response is required. To the extent

any response is required, Schneider denies the allegations contained in Paragraph 39

of the Complaint.

      40.    Schneider states that the allegations contained in Paragraph 40 of the

Complaint assert legal conclusions to which no response is required. To the extent

any response is required, Schneider denies the allegations contained in Paragraph 40

of the Complaint.

      41.    Schneider denies the allegations contained in Paragraph 41 of the

Complaint.

      42.    Schneider denies the allegations contained in Paragraph 42 of the

Complaint.

      43.    Schneider denies the allegations contained in Paragraph 43 of the

Complaint.

      44.    Schneider denies the allegations contained in Paragraph 44 of the

Complaint.

      45.    Schneider denies the allegations contained in Paragraph 45 of the

Complaint.




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       46.    Schneider denies the allegations contained in Paragraph 46 of the

Complaint.

                                     COUNT II

   Actual Discrimination and Failure to Accommodate in Violation of ADA
       47.    Schneider restates and realleges its answers to Paragraphs 1 through 46

as if fully set forth herein.

       48.    Schneider denies the allegations contained in Paragraph 48 of the

Complaint, except to admit that Title I of the ADA applies to it. Answering further,

Schneider expressly denies that it engaged in any unlawful conduct or that it has any

liability to Plaintiff.

       49.    Schneider states that the allegations contained in Paragraph 49 of the

Complaint assert legal conclusions to which no response is required. To the extent

any response is required, Schneider lacks information sufficient to admit or deny

whether Plaintiff has a “disability” within the meaning of the ADA and, on that basis,

denies such allegations.

       50.    Schneider denies the allegations contained in Paragraph 50 of the

Complaint.

       51.    Schneider states that the allegations contained in Paragraph 51 of the

Complaint assert legal conclusions to which no response is required. To the extent



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any response is required, Schneider denies the allegations contained in Paragraph 51

of the Complaint.

      52.    Schneider lacks information sufficient to admit or deny whether

Plaintiff has a “disability” which substantially limits one or more major life activities

and, on that basis, denies such allegations.

      53.    Schneider lacks information sufficient to admit or deny whether

Plaintiff has a “disability.” Schneider admits that Plaintiff requested that Schneider

permit her to work from home for certain workdays.

      54.    Schneider denies the allegations contained in Paragraph 54 of the

Complaint.

      55.    Schneider denies the allegations contained in Paragraph 55 of the

Complaint.

      56.    Schneider denies the allegations contained in Paragraph 56 of the

Complaint.

      57.    Schneider denies the allegations contained in Paragraph 57 of the

Complaint.

      58.    Schneider denies the allegations contained in Paragraph 58 of the

Complaint.




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       59.    Schneider denies the allegations contained in Paragraph 59 of the

Complaint.

                                     COUNT III

                          Retaliation in Violation of the ADA
       60.    Schneider restates and realleges its answers to Paragraphs 1 through 59

as if fully set forth herein.

       61.    Schneider denies the allegations contained in Paragraph 61 of the

Complaint, except to admit that Title I of the ADA applies to it. Answering further,

Schneider expressly denies that it engaged in any unlawful conduct or that it has any

liability to Plaintiff.

       62.    Schneider states that the allegations contained in Paragraph 62 of the

Complaint assert legal conclusions to which no response is required. To the extent

any response is required, Schneider lacks information sufficient to admit or deny

whether Plaintiff has a “disability” within the meaning of the ADA and, on that basis,

denies such allegations.

       63.    Schneider states that the allegations contained in Paragraph 63 of the

Complaint assert legal conclusions to which no response is required. To the extent

any response is required, Schneider denies the allegations contained in Paragraph 63

of the Complaint.



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       64.    Schneider denies the allegations contained in Paragraph 64 of the

Complaint.

       65.    Schneider denies the allegations contained in Paragraph 65 of the

Complaint.

       66.    Schneider denies the allegations contained in Paragraph 66 of the

Complaint.

       67.    Schneider denies the allegations contained in Paragraph 67 of the

Complaint.

       68.    Schneider denies the allegations contained in Paragraph 68 of the

Complaint.

       69.    Schneider denies the allegations contained in Paragraph 69 of the

Complaint.

                                    COUNT IV
    Discrimination in Violation of Title VII of the Civil Rights Act of 1964,
                    as Amended, 42 U.S.C. § 2000e et seq.
       70.    Schneider restates and realleges its answers to Paragraphs 1 through 69

as if fully set forth herein.

       71.    Schneider denies the allegations contained in Paragraph 71 of the

Complaint.




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       72.    Schneider denies the allegations contained in Paragraph 72 of the

Complaint.

       73.    Schneider denies the allegations contained in Paragraph 73 of the

Complaint.

       74.    Schneider denies the allegations contained in Paragraph 74 of the

Complaint.

       75.    Schneider denies the allegations contained in Paragraph 75 of the

Complaint.

       76.    Schneider denies the allegations contained in Paragraph 76 of the

Complaint.

       77.    Schneider denies the allegations contained in Paragraph 77 of the

Complaint.

                                     COUNT V
                  Discrimination in Violation of 42 U.S.C. § 1981
       78.    Schneider restates and realleges its answers to Paragraphs 1 through 77

as if fully set forth herein.

       79.    Schneider denies the allegations contained in Paragraph 79 of the

Complaint.




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      80.    Schneider denies the allegations contained in Paragraph 80 of the

Complaint.

      81.    Schneider denies the allegations contained in Paragraph 81 of the

Complaint.

      82.    Schneider denies the allegations contained in Paragraph 82 of the

Complaint.

      83.    Schneider denies the allegations contained in Paragraph 83 of the

Complaint.

      84.    Schneider denies the allegations contained in Paragraph 84 of the

Complaint.

      85.    Schneider denies the allegations contained in Paragraph 85 of the

Complaint.

         SCHNEIDER’S AFFIRMATIVE AND OTHER DEFENSES

      Schneider hereby states the following affirmative and other defenses to the

Complaint, but does not assume the burden of proof on any such defenses except as

required by applicable law with respect to a particular defense asserted.




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      First Defense

      All actions by Schneider with regard to Plaintiff were lawful and made in

good-faith compliance with applicable provisions of law, rules and regulations.

      Second Defense

      All employment actions regarding Plaintiff were based on legitimate, non-

discriminatory and non-retaliatory reasons.

      Third Defense

      Plaintiff did not have a “disability,” actual or perceived, or a record of

“disability” within the meaning of the ADA.

      Fourth Defense

      Plaintiff’s allegations of discrimination are barred because Schneider engaged

in the interactive process and/or attempted to reasonably accommodate Plaintiff’s

alleged medical condition.

      Fifth Defense

      To the extent that Plaintiff’s Complaint alleges any failure to accommodate

an alleged disability, any recovery is barred in that Plaintiff’s alleged disability could

not be reasonably accommodated due to job-related reasons and business necessities

and/or would have imposed an undue hardship upon Schneider.




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      Sixth Defense

      To the extent that Plaintiff’s Complaint alleges any failure to accommodate

an alleged disability, any recovery is barred in that Plaintiff was not qualified or was

otherwise unable to perform her essential job duties even with reasonable

accommodation(s).

      Seventh Defense

      To the extent that Plaintiff’s Complaint alleges any failure to accommodate

an alleged disability, any recovery is barred in that Plaintiff failed to engage in and/or

was responsible for the breakdown in the interactive process.

      Eighth Defense

      Plaintiff’s claim is not actionable because Plaintiff cannot show that any

reason offered by Schneider with respect to Plaintiff’s termination of employment

was in any way a pretext for purposeful, intentional, and/or legally prohibited

discrimination.

      Ninth Defense

      There is no basis of law or fact upon which Plaintiff is entitled to recover

damages, including punitive damages, from Schneider.




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      Tenth Defense

      To the extent that Plaintiff has failed to diligently search for other employment

since her separation of employment from Schneider, her claim to damages is barred,

in whole or in part, by her failure to mitigate damages.

      Eleventh Defense

      To the extent Plaintiff is awarded damages, such damages should be reduced

by any short-term disability or long-term disability payments made to Plaintiff, by

any workers compensation or unemployment compensation awards or payments

made to Plaintiff, and by any other amounts earned by Plaintiff since her

employment ended.

      Twelfth Defense

      To the extent Plaintiff is awarded compensatory or punitive damages, such

awards are limited by the damage cap provisions of 42 U.S.C. § 1981a.

      Thirteenth Defense

      Any alleged emotional distress suffered by Plaintiff was caused by external

factors and not by Schneider.




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      Fourteenth Defense

      Schneider reserves the right to assert that Plaintiff’s claim and/or demand for

relief is barred or is otherwise not actionable because of the after-acquired evidence

doctrine.

      Fifteenth Defense

      Plaintiff’s Complaint fails to state a plausible claim upon which relief may be

granted.

      Sixteenth Defense

      Any recovery on Plaintiff’s claims is barred because there is no causal link

between any protected activity or characteristic and any purported adverse

employment action.

      Seventeenth Defense

      Plaintiff’s Complaint is barred or limited, in whole or in part, by the equitable

doctrines of laches, waiver, estoppel and unclean hands.

      Eighteenth Defense

      Plaintiff’s claims are barred to the extent that Plaintiff failed to exhaust her

administrative remedies by timely filing a charge of discrimination and receiving a

right to sue notice prior to filing the instant lawsuit, as required to recover under

Title VII of the Civil Rights Act of 1964.


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      Nineteenth Defense

      To the extent that Plaintiff’s claims concern matters occurring more than 300

days before the filing of the Charge of Discrimination, such claims are time-barred.

      Twentieth Defense

      Any recovery on Plaintiff’s Complaint, and each purported cause of action

alleged therein, is barred, in whole or in part, because Schneider maintained policies

prohibiting unlawful conduct and providing for a work environment free from

discrimination and retaliation.

      Twenty-First Defense

      Schneider has insufficient knowledge or information on which to form a belief

as to whether it may have additional, as yet unstated, defenses available. Schneider

reserves the right to assert any additional or affirmative defenses that may become

apparent or available during discovery of this matter.

      WHEREFORE, having fully answered and responded to the allegations

contained in Plaintiff’s Complaint, Schneider hereby prays that:

      1.     Plaintiff’s claim be dismissed with prejudice in its entirety;

      2.     Each and every prayer for relief contained in Plaintiff’s Complaint be

denied;

      3.     Judgment be entered in favor of Schneider;


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      4.     All costs, including reasonable attorneys’ fees, be awarded to Schneider

and against Plaintiff pursuant to applicable law; and

      5.     Schneider be granted such other and further relief as this Court may

deem just and proper.

      This the 8th day of June, 2020.

                                                    /s/ M. Laughlin Allen
                                                    M. Laughlin Allen, Esq.
                                                    Georgia Bar No. 901999
                                                    McGuireWoods LLP
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                                                    Schneider National Carriers,
                                                    Inc.




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                   CERTIFICATE OF SERVICE AND
                 COMPLIANCE WITH LOCAL RULE 5.1B

     I certify that on June 8, 2020, I electronically filed the foregoing Defendant

Schneider National Carriers, Inc.’s Answer and Affirmative and Other Defenses to

Plaintiff’s Complaint with the Clerk of Court using the CM/ECF system, which

will automatically send email notification of such filing to the following attorneys

of record:

                                Cheryl B. Legare
                              cblegare@law-llc.com


     I further certify that I prepared this document in 14 point Times New Roman

font and complied with the margin and type requirements of this Court.


                                                   /s/ M. Laughlin Allen
                                                   M. Laughlin Allen, Esq.
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                                                   Counsel for the Defendant
                                                   Schneider National Carriers,
                                                   Inc.
       Case 1:20-cv-01148-SCJ-JSA Document 46 Filed 06/07/21 Page 1 of 5




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CIERRA GETER,                          )
                                       )      Civil Action File No.
       Plaintiff,                      )      1:20-cv-01148-SCJ-JSA
                                       )
v.                                     )
                                       )
SCHNEIDER NATIONAL                     )
CARRIERS, INC.                         )
                                       )
       Defendant.                      )

          DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant Schneider National Carriers, Inc. (“Schneider”), pursuant to

Federal Rule of Civil Procedure 56, N.D. Ga. LR 56, and other applicable law,

hereby moves for summary judgment, and requests that the Court dismiss Plaintiff

Cierra Geter’s claims in their entirety. Schneider contends that there are no genuine

issues of material fact in this case and that, Schneider is entitled to judgment as a

matter of law. In support of its Motion for Summary Judgment, Schneider relies

upon all matters of record and the following materials filed on this date:


     1. Defendant’s Memorandum of Law in Support of its Motion for Summary

       Judgment;
     Case 1:20-cv-01148-SCJ-JSA Document 46 Filed 06/07/21 Page 2 of 5




   2. Defendant’s Statement of Undisputed Material Facts;

   3. Declaration of Travis Torrence;

   4. Excerpts from the Deposition of Plaintiff Cierra Geter (and Exhibits thereto);

   5. Excerpts from the Deposition of Marianne Biskey-Rose;

   6. Excerpts from the Deposition of Travis Torrence;

   7. Excerpts from the Deposition of Tiffany Kitchens;

   8. Excerpts from the Deposition of Sara Kopf;

   9. Declaration of Christine Schneider (and Exhibits thereto); and

   10. Excerpts from the Deposition of Ashley Janssen.




Date: June 7, 2021

                                     Respectfully submitted,


                                     By:__/s/ Peter A. Milianti______________
                                     Peter A. Milianti (admitted pro hac vice)
                                     Melissa M. Weiss (admitted pro hac vice)
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                            Counsel for the Defendant




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    Case 1:20-cv-01148-SCJ-JSA Document 46 Filed 06/07/21 Page 4 of 5




                   CERTIFICATE OF SERVICE AND
                 COMPLIANCE WITH LOCAL RULE 5.1B

     I certify that on June 7, 2021, I electronically filed the foregoing Motion for

Summary Judgment with the Clerk of Court using the CM/ECF system, which will

automatically send email notification of such filing to the following attorneys of

record:

                                Cheryl B. Legare
                              cblegare@law-llc.com


     I further certify that I prepared this document in 14 point Times New Roman

font and complied with the margin and type requirements of this Court.

                                     Respectfully submitted,


                                     By:__/s/ Peter A. Milianti______________
                                     Peter A. Milianti (admitted pro hac vice)
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                            Counsel for the Defendant




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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CIERRA GETER,                       )
                                    )    Civil Action File No.
      Plaintiff,                    )    1:20-cv-01148-SCJ-JSA
                                    )
v.                                  )
                                    )
SCHNEIDER NATIONAL                  )
CARRIERS, INC.                      )
                                    )
      Defendant.                    )

       MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S
             MOTION FOR SUMMARY JUDGMENT
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                               I.    INTRODUCTION

      Cierra Geter’s (“Plaintiff”) employment with Schneider ended after Plaintiff

could not perform the essential functions of her job, despite Schneider’s repeated

efforts to accommodate her disability. Beginning in October 2018, Plaintiff took

FMLA leave for her own serious health condition. After exhausting her twelve

weeks of FMLA leave, Plaintiff could not return to work full-time and requested that

Schneider accommodate a part-time schedule for a period of six weeks. Because

Plaintiff worked the overnight shift, she frequently worked alone and it was difficult

for Schneider to cover her shifts. Nonetheless, Schneider agreed to accommodate

Plaintiff. Plaintiff then requested an extension of her part-time schedule for another

five weeks, which Schneider again granted. Plaintiff subsequently requested a

second extension of her part-time schedule for an additional six weeks and that she

be permitted to work from home. Schneider continued to accommodate these

requests. Then, in early-April 2019, Plaintiff requested to extend the part-time

schedule a third time – this time for another two months with the additional request

of working from home. By that point, Plaintiff had worked a part-time schedule for

nearly four-and-a-half months and, Schneider determined that it could not continue

to eliminate two essential functions of Plaintiff’s job – full-time work and work in

the office. As a result, Schneider explored several alternatives, including asking

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Plaintiff if she could work different shifts, but Plaintiff indicated she could not do

so. Since Plaintiff could not return to work full-time, Schneider terminated

Plaintiff’s employment.

      Despite Schneider’s efforts, Plaintiff claims that Schneider failed to

accommodate her disability, discriminated against her due to her disability and race,

and retaliated against her for requesting a reasonable accommodation. However, the

undisputed evidence shows that Plaintiff could not perform the essential functions

of her job, the accommodations she requested were unreasonable, there is no

connection between the termination of her employment and any discriminatory or

retaliatory animus, and Schneider had a legitimate, non-discriminatory reason for

terminating her employment. Indeed, Schneider went above and beyond its

obligations under the ADA to accommodate Plaintiff’s disability. Consequently, this

Court should grant summary judgment in favor of Schneider and dismiss Plaintiff’s

Complaint in its entirety.

                             II.   UNDISPUTED FACTS

   A. Plaintiff’s Employment with Schneider

      Schneider is a transportation and logistics company that operates as a common

and contract motor carrier throughout the United States and Canada. (Torrence Decl.

¶ 3). On July 14, 2014, Schneider hired Plaintiff as a full-time Area Planning

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Manager (“APM”) for the third shift at its Fairburn, Georgia location. (Geter Dep.

42:14-43:25, Ex. 2). From mid-2018 until the termination of her employment,

Plaintiff was scheduled to work on Wednesday, Thursday, Friday, and Sunday from

11:00 p.m. to 10:00 a.m. (Pl’s Dep. 72:2-13). During that time period, Plaintiff

reported to Team Lead, Travis Torrence. (Pl’s Dep. 69:4-9).

   B. Plaintiff’s Essential Job Functions

      As an APM, Plaintiff’s primary job was to provide support for Schneider

drivers. (Pl’s Dep. 54:3-6, Ex. 4). In so doing, Plaintiff would dispatch drivers with

customer loads, assist drivers in gathering their paperwork and load information,

take calls and messages from drivers, and resolve any driver issues. (Pl’s Dep. 48:21-

49:16, 54:7-12). In order to meet the business needs, APMs were expected to work

full-time because Schneider needed to ensure it had the resources to sufficiently

support drivers and dispatch loads at all hours of the day. (Biskey-Rose Dep. 40:2-

11; Torrence Decl. ¶ 6). Because Schneider’s drivers work all hours of the day, the

Fairburn location was staffed 24-hours a day, seven days a week by full-time

employees. (Biskey-Rose Dep. 18-20; Torrence Decl. ¶ 7).

      Plaintiff understood that she was expected to work full-time. (Pl’s Dep. 40:14-

17). Mr. Torrence did not supervise any employees who were permitted to work a

part-time schedule. (Torrence Dep. 64:24-65:3). In fact, during the entirety of

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Plaintiff’s employment, Schneider did not employ any part-time APMs at the

Fairburn location. (Pl’s Dep. 83:6-10; Kitchens Dep. 28:5-10; Torrence Decl. ¶ 8).

      Plaintiff also understood that certain tasks necessary to assist drivers required

her physical presence in the office. (Pl’s Dep. 63:7-11). For example, Plaintiff

needed to be in the office to interact with drivers who came into the office. (Pl’s

Dep. 60:6-15). Plaintiff admits that she frequently interacted with drivers face-to-

face, and that this interaction was necessary to develop relationships with drivers

and better assist them. (Pl’s Dep. 55:7-14; 56:8-19; 59:1-24, Ex. 4; Torrence Decl. ¶

9). Plaintiff further understood that Schneider expected her to have face-to-face

interactions with drivers and that Schneider deemed that an important function of

her job. (Pl’s Dep. 59:13-24). APMs also needed to be in the office to assist drivers

in locating available tractors, retrieving keys that were located in a secure lock box,

and printing off paperwork. (Pl’s Dep. 60:6-62:4, Exs. 4, 5; Torrence Decl. ¶ 10).

Plaintiff further understood that having the ability to work in a fast-paced, high

pressure environment was an essential function of her position. (Pl’s Dep. 57:5-16).

      Because there were certain essential tasks that needed to be performed in the

office, APMs were not regularly permitted to work remotely. (Torrence Decl. ¶ 22).

Rather, employees at the Fairburn location were occasionally permitted to work from

home for one-off situations. (Biskey-Rose Dep. 32:8-20, Torrence Dep. 55:16-21).

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    C. Plaintiff Frequently Worked Alone as an APM on the Third Shift

      The third shift APM role was staffed differently from the first and second

shifts. Whereas the first shift was normally staffed with four to five APMs, and the

second shift was staffed with two to three APMs, the third shift only had one or two

APMs. (Pl’s Dep. 100:16-19). As a result, Plaintiff frequently worked alone on the

third shift, especially on Sundays. (Pl’s Dep. 100:16-23, Torrence Decl. ¶ 5).

Additionally, unlike first and second shift APMs, third shift APMs did not have

additional team members to assist in answering messages or phone calls, dispatching

drivers, or dealing with driver issues. (Pl’s Dep. 100:18-101:6).

    D. Plaintiff Takes FMLA Leave

      In October 2018, Plaintiff was diagnosed with post-traumatic stress disorder

and panic disorder by Dr. Cassandra Wanzo, Plaintiff’s physician. (Pl’s Dep. 86:20-

22, 87:5-8, 88:17-20). On October 9, 2018, Plaintiff began a leave of absence under

the FMLA for her own serious health condition. (Pl’s Dep. 121:17-19, Ex. 11).

Plaintiff remained out on approved FMLA leave through December 31, 20181, and

was expected to return to full-time work on January 2, 2019. (Pl’s Dep. 125:1-126,

Ex. 13). During the time that Plaintiff was out on FMLA leave, Plaintiff’s work was



1
 Plaintiff exhausted her twelve weeks of FMLA leave entitlement as of December
31, 2018. (Pl’s Dep. 126:3-5).
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performed by other APMs and Mr. Torrence. (Torrence Dep. 67:20-23). To ensure

coverage while Plaintiff was on FMLA leave, Mr. Torrence worked the overnight

shift on Sundays, in addition to his regular duties. (Torrence Dep. 67:24-68:1).

   E. Plaintiff’s Initial Accommodation Request

      Prior to the expiration of her FMLA leave, Plaintiff submitted a return to work

form dated December 15, 2018 and completed by Dr. Wanzo. (Pl’s Dep. 126:14-25,

Ex. 14). Dr. Wanzo stated that Plaintiff could return to work on January 2, 2019, but

with the restriction of working three days a week, ten-hour days. (Pl’s Dep. 127:13-

17, Ex. 14). Dr. Wanzo indicated that Plaintiff could return to work without

restrictions on February 14, 2019. (Pl’s Dep. Ex. 14). Schneider agreed to

accommodate Plaintiff’s request. (Pl’s Dep. 133:4-23, Ex. 15).

      In addition to only being able to work three days a week, Plaintiff was limited

in the days that she could work. (Pl’s Dep. 134:24-135:22). Specifically, Plaintiff

could not work her Sunday shift (11:00 p.m. – 10:00 a.m.) because she needed to

attend counseling sessions on Monday mornings. (Pl’s Dep. 134:24-135:22). Mr.

Torrence agreed to accommodate Plaintiff’s request to not work Sundays. (Pl’s Dep.

134:24-135:24). Accordingly, when Plaintiff returned to work on January 2, 2019,

she worked Wednesdays, Thursdays, and Fridays. (Pl’s Dep. 126:6-8, 135:23-

136:3). In order to accommodate Plaintiff’s restrictions, Mr. Torrence worked

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Plaintiff’s Sunday overnight shifts, in addition to his regular duties. (Torrence Dep.

51:24-52:9, 52:23-53:1, 67:3-7; Torrence Decl. ¶ 12). Working this additional

overnight shift was difficult for Mr. Torrence as he had already been working 50

hours per week. (Torrence Decl. ¶ 4). Plaintiff acknowledged her inability to work

on Sundays impacted the third shift and their workload. (Pl’s Dep. 137:9-12).

   F. Plaintiff’s Accommodation Extensions and Request to Work from Home

        Plaintiff did not return to full-time work on February 14, 2019. (Pl’s Dep.

145:18-22). Instead, on January 21, 2019, Plaintiff submitted another note from Dr.

Wanzo requesting an extension of Plaintiff’s part-time work schedule of ten hours a

day, three days per week, until March 20, 2019. (Pl’s Dep. 139:9-140:3, Ex. 16).

Schneider again agreed to accommodate Plaintiff’s request. (Pl’s Dep. 176:10-17,

Ex. 22). During this time period, Mr. Torrence continued to work Plaintiff’s Sunday

overnight shift in the office, in addition to his regular duties. (Torrence Decl. ¶¶ 12-

13).

        Plaintiff, however, did not return to work full-time on March 20, 2019. (Pl’s

Dep. 150:13-15). Instead, she sought another extension of her part-time work

schedule and additional accommodations. (Pl’s Dep. 151:23-152:1). Indeed, on

March 9, 2019, Dr. Wanzo submitted documentation to Schneider seeking another

extension of Plaintiff’s part-time work schedule of three days per week, ten hours

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per day, until April 30, 2019. (Pl’s Dep. 151:23-152:1, Ex. 17). Plaintiff also sought

an additional accommodation of working from home on Thursdays and Fridays, and

anytime she was scheduled to work alone. (Pl’s Dep. 154:3-14, Ex. 17).

      On March 30, 2019, Dr. Wanzo submitted additional documentation further

extending Plaintiff’s restrictions – this time to June 5, 2019. Dr. Wanzo stated that

Plaintiff can only work three days per week, Wednesday, Thursday, and Friday,

working from home two days a week, ten-hour days. (Pl’s Dep. 160:18-25, Ex. 19).

   G. Schneider’s Efforts to Accommodate Plaintiff

      After receiving Plaintiff’s third request to extend her part-time schedule – this

time until June 5, 2019 – Mr. Torrence and Ms. Biskey-Rose determined that based

on Schneider’s business needs and staffing levels, they could not continue to

accommodate Plaintiff’s request to eliminate two essential job functions – full-time

work and working in the office. (Biskey-Rose Dep. 36:14-22; Torrence Decl. ¶¶ 15-

16). Mr. Torrence had been working Plaintiff’s Sunday overnight shift for many

months, and he could not continue to absorb Plaintiff’s job duties for several more

months. (Torrence Decl. ¶ 16).

      Consequently, Schneider explored other potential accommodations for

Plaintiff. On April 2, 2019, Schneider sent Plaintiff a letter requesting that Dr.

Wanzo provide additional information to Schneider by no later than April 8, 2019,

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so that it could explore other potential accommodations. (Pl’s Dep. 172:9-22,

183:18-186:9; Pl’s Dep. Exs. 20, 23). Specifically, Schneider asked Dr. Wanzo if,

in addition to working Wednesday, Thursday and Friday, Plaintiff could work

another day of the week. (Pl’s Dep. Ex. 23). Schneider also asked Dr. Wanzo if she

could work a Monday through Friday, eight-hour schedule. (Pl’s Dep. Ex. 23). While

Plaintiff did not timely respond to Schneider’s requests, on April 27, 2019, Dr.

Wanzo ultimately stated that Plaintiff could not work any other schedule. (Pl’s Dep.

Ex. 23).

      Ms. Biskey-Rose also asked Plaintiff if she could change her Monday

morning counseling session (which prohibited Plaintiff from working her Sunday

overnight shift); however, Plaintiff indicated this was not possible as the other

available counseling session coincided with another doctor appointment. (Biskey-

Rose Dep. 37:8-19). Schneider also considered hiring a temporary employee to

cover Plaintiff’s Sunday night shift; however, it was not a viable option because the

temporary employee would be working the overnight shift by him or herself without

the knowledge and background needed to resolve issues that arose. (Biskey-Rose

Dep. 40:14-25; Janssen Dep. 40:21-41:18). Finally, Schneider considered

reassigning Plaintiff to an open and available position for which she was qualified,

but the Fairburn location only had full-time positions. (Torrence Decl. ¶ 17).

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         After determining that Plaintiff’s accommodation requests were not

reasonable and that there were no reasonable accommodations that would have

enabled Plaintiff to perform the essential functions of her job, Schneider decided to

terminate Plaintiff’s employment, effective April 12, 2019.2 (Torrence Decl. ¶ 18).

                                   III.   ARGUMENT

         Plaintiff alleges claims of disability discrimination and retaliation under the

ADA and race discrimination under Title VII and Section 1981. Where, as here,

Plaintiff has no direct evidence of discrimination or retaliation under the ADA or

Title VII, courts apply the burden-shifting framework articulated in McDonnell-

Douglas Corp. v. Green, 411 U.S. 792 (1973). Here, the undisputed facts show that

Plaintiff cannot establish even a prima facie case of disability or race discrimination,

or retaliation under the ADA. Moreover, the undisputed facts show that Schneider

had a legitimate, non-discriminatory reason for terminating Plaintiff’s employment.

    A.      Plaintiff’s Failure-to-Accommodate Claim Should be Dismissed.

         In order to establish the prima facie elements of an ADA discrimination claim,

Plaintiff must prove that: “(1) [s]he is disabled; (2) [s]he was a ‘qualified individual’



2
 As of June 5, 2019, Plaintiff still was not able to return to full-time work. (Pl’s Dep.
193:9-13). Instead, on June 26, 2019, Dr. Wanzo completed paperwork stating that
Plaintiff continued to only be able to work three days per week, ten hour days, until
September 23, 2019. (Pl’s Dep. 193:19-194:5, Ex. 24).
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at the relevant time, meaning [s]he could perform the essential functions of the job

in question with or without reasonable accommodations; and (3) [s]he was

discriminated against because of [her] disability.” Lucas v. W.W. Grainger, Inc., 257

F.3d 1249, 1255 (11th Cir. 2001) (quoting 42 U.S.C. § 12112(a)). The third prima

facie element has different requirements for a failure-to-accommodate claim

compared to a discriminatory discharge claim. Roberts v. Martin's Rest. Sys., Inc.,

2006 WL 8432675, at *17 (N.D. Ga. Aug. 3, 2006). In the failure-to-accommodate

context, a defendant unlawfully discriminates against a qualified individual with a

disability “when the employer fails to provide ‘reasonable accommodations’ for the

disability–unless doing so would impose undue hardship on the employer.” Id.

         1. Plaintiff Was Not a Qualified Individual with a Disability.

      It is well established that an employer is required to provide reasonable

accommodations only for individuals who are qualified for the position. 42 U.S.C.

§ 12112(a). A qualified individual is one with a disability who, “with or without

reasonable accommodation, can perform the essential functions of such position.”

29 C.F.R. § 1630.2(m). The ADA does not require employers to excuse employees

from performing an essential function. See Williams v. Revco Disc. Drug Centers,

Inc., 552 F. App’x 919, 922 (11th Cir. 2014). Thus, if Plaintiff cannot perform the



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essential functions of her job, then she is not a qualified individual and Schneider

has no obligation to provide an accommodation. See id.

      “Essential functions” are the fundamental job duties of a position that an

individual with a disability is actually required to perform. See 29 C.F.R. §

1630.2(n)(2)(1). “Determining whether a particular job duty is an essential function

involves a factual inquiry to be conducted on a case-by-case basis.” Lucas, 257 F.3d

at 1258; see also 29 C.F.R. § 1630.2(n)(3). In conducting this analysis, “[t]he ADA

directs courts to consider the employer’s judgment as to what functions of a job are

essential, such as the employer’s written description for the job…[and] the testimony

of the plaintiff’s supervisor.” Spears v. Creel, 607 F. App’x 943, 949 (11th Cir.

2015) (internal quotation omitted). Courts in the Eleventh Circuit grant substantial

weight to employer’s judgment as to which functions are essential. Agee v.

Mercedes-Benz U.S. Int’l, Inc., 646 F. App’x 870, 874 (11th Cir. 2016).

      It is undisputed that full-time work was an essential function of Plaintiff’s job

as an APM. Plaintiff admitted that she applied for a full-time position, that Schneider

hired her into a full-time position, that Schneider did not employ any part-time

APMs, and that Schneider considered full-time work an essential function of

Plaintiff’s position. (Pl’s Dep. 42:8-21; Torrence Decl. ¶¶ 6, 8). Because Plaintiff

was not able to perform the essential function of full-time work, she was not a

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qualified individual with a disability. See Webb v. Donley, 347 F. App’x 443, 446

(11th Cir. 2009) (upholding grant of summary judgment when employer did not

provide modified work schedule as full-time presence at the work site was an

essential function); see also Robinson v. Fulton Cnty, Ga., 2008 WL 78711, at *22

(N.D. Ga. Jan. 4, 2008) (explaining “[c]ourts have consistently held that the ability

to be present on the job and to complete all assigned tasks within a reasonable period

of time is essential to any job.”).

      Working in the office was also an essential function of Plaintiff’s third-shift

APM position. Plaintiff admitted that there were tasks that she could not perform

from home and understood that it was necessary for her to be in the office in order

to interact with drivers. (Pl’s Dep. 60:6-62:4; 63:7-11). Because Plaintiff needed to

work from home at least two days per week (and any time she worked alone), she

could not perform the essential functions of the APM position. See Carlson v.

Liberty Mut. Ins. Co., 237 F. App’x 446, 448-449 (11th Cir. 2007) (affirming

summary judgment because employee was not qualified since she was unable to

perform the essential function of at least some presence in the office).

      Plaintiff also understood that working in a fast-paced, high pressure

environment was a requirement of the APM position. (Pl’s Dep. 57:5-16). Plaintiff

admitted that she was unable to work well in a fast-paced, high pressure

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environment. (Pl’s Dep. 187:12-188:5). Because Plaintiff could not meet this

essential job requirement, she was not qualified for the APM position. See Medearis

v. CVS Pharmacy, 92 F.Supp.3d 1294, 1308 (N.D. Ga. 2015) (finding summary

judgment was warranted when employee failed to show he was capable of

performing the essential functions of his job with or without accommodations and

therefore was not a “qualified individual”).

          2. Plaintiff’s Requested Accommodations Were Unreasonable.

      In a failure to accommodate claim, “[t]he plaintiff bears the burden of

identifying an accommodation, and of demonstrating that the accommodation allows

[her] to perform the job’s essential functions.” Bagwell v. Morgan Cnty. Comm’n,

676 F. App’x 863, 865 (11th Cir. 2017) (unpublished, per curiam) (citation and

internal quotations omitted). Here, Plaintiff fails to meet her burden as her requested

accommodations of part-time work and working from home were not reasonable.

       “The ADA does not require the employer to eliminate an essential function

of the plaintiff’s job.” Medearis, 92 F.Supp.3d at 1304 (internal citations and

quotations omitted); Webb, 347 F. App’x at 446 (stating that “an employer is not

required to reallocate job duties to change the functions of the job.”) (internal citation

omitted). Further, employers are not required to create a part-time position, where

none exists. Rabb v. Sch. Bd. of Orange Cnty., Fla., 590 F.App’x 849, 853 (11th Cir.

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2014) (“Under this circuit’s precedent, a part-time position that does not exist is not

a ‘reasonable’ accommodation because the ADA imposes no duty on the employer

to create a part-time position to accommodate an employee’s disability.”) (citing

Terrell v. USAir, 132 F.3d 621, 626-27 (11th Cir. 1998)).

                i. Plaintiff’s request to work part-time was unreasonable.

      Plaintiff’s continued requests to work a part-time schedule was not

reasonable. Plaintiff’s reduced schedule placed an incredible strain on Mr. Torrence

who covered Plaintiff’s Sunday overnight shift for approximately six months, and

by April 2019, Plaintiff indicated that she needed at least another two months of a

part-time schedule. (Torrence Decl. ¶ 16). Clearly, it is not reasonable to expect other

employees to cover Plaintiff’s Sunday overnight shift for such an extended time

period. See Williams v. Cadence Bank, 2018 WL 7360632, at *6 (N.D. Fl. Oct. 9,

2018) (finding employee’s request for a part-time schedule unreasonable because

“to accommodate [employee’s] proposed part-time schedule, other essential

functions of the Branch Manager position would necessarily have been reassigned

to existing employees, a result which courts have routinely found to be unreasonable

under the ADA.”); see also Higgins v. Union Pacific Railroad Co., 931 F.3d 664,

671-72 (8th Cir. 2019) (finding requested accommodation unreasonable when “it



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would require [employer] to reassign other [employees] to shifts that they would not

have otherwise been scheduled to work.”).

      Moreover, Plaintiff’s multiple requests to extend her part-time schedule

amounted to a request for a permanent part-time schedule and elimination of

essential job duties. Campbell v. KBRwyle Tech. Sols., LLC, 2019 WL 1353965, at

*8 (N.D. Ala. Mar. 26, 2019) (finding it “clear that these restrictions were not

temporary” when employee exhausted her FMLA leave, was provided a leave

extension for four months, granted a request not to work overtime for one month,

and sought to not work overtime for an additional two months).3 Accordingly,

Plaintiff’s request to continue working a part-time schedule was unreasonable.

            ii.    Plaintiff’s request to work from home was unreasonable.

      Similarly, Plaintiff’s request for a permanent accommodation (of working

from home two days per week and any time she was to work alone) was

unreasonable. The undisputed evidence shows that several of Plaintiff’s job duties

needed to be performed in the office – especially on those occasions when Plaintiff

was the only APM scheduled for a shift. (Torrence Decl. ¶ 10). Indeed, Plaintiff


3
 Further, the fact that Schneider had accommodated Plaintiff’s part-time schedule
for a period of more than four months does not make Plaintiff’s request to further
extend her part-time schedule reasonable. See Wood v. Green, 323 F.3d 1309, 1314
(11th Cir. 2003) (holding that providing “prior accommodations do not make an
accommodation reasonable.”).
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herself admitted that the one-on-one interaction with drivers could only be

performed in the office. (Pl’s Dep. 60:6-15). Since Schneider was not required to

eliminate any essential functions to accommodate Plaintiff, this request was

unreasonable. See Abram v. Fulton Cnty. Gov’t, 598 F. App’x 672, 678 (11th Cir.

2015) (affirming summary judgment finding that plaintiff’s “physical presence at

the front desk was an essential function of her position and her request to work from

home (where she would not have been able to perform this essential function of her

position), was for no reasonable accommodation.”).4

             iii.   Plaintiff failed to engage in the interactive process.

      Plaintiff’s failure to accommodate claim also fails because she caused a

breakdown in the interactive process. The undisputed evidence shows that Schneider

requested Plaintiff to provide additional medical documentation by April 8, 2019, in

support of her accommodation request. Although Plaintiff received the letter, she

failed to timely respond. Because Plaintiff did not provide this requested medical

documentation in a timely manner, she caused a breakdown in the interactive process


4
 Any contention by Plaintiff that other third shift APMs were permitted to work
from home on a permanent or consistent basis is specious. Indeed, the undisputed
evidence shows that while Schneider permitted APMs to work from home for “one-
off” situations (for example, due to illness or to take care of a sick child), there is no
evidence in the record that Schneider permitted any APM assigned to the third shift
to work from home on a consistent or permanent basis. (Biskey-Rose Dep. 32:8-20,
Torrence Dep. 55:16-21)
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and her failure to accommodate claim cannot stand. See Umbarger v. Ga. Dep’t of

Revenue, 2007 WL 9700751, at *21 (N.D. Ga. Mar. 30, 2007) (holding “[b]ecause

Plaintiff failed to fulfill his obligation to explain the medical necessity of the

additional   accommodation      with   supporting    medical    documentation,     his

accommodation claim…fails as a matter of law.”); Stewart v. Happy Herman’s

Cheshire Bridge, 117 F.3d 1278, 1288 (11th Cir. 1997) (holding “[l]iability simply

cannot arise under the ADA when an employer does not obstruct an informal

interactive process; makes reasonable efforts to communicate with the employee and

provide accommodations based on the information it possesses; and the employee’s

actions cause a breakdown in the interactive process.”).

   B.     Plaintiff Cannot Establish a Prima Facie Disability Discrimination
          Claim Under the ADA.

        Plaintiff also cannot establish that Schneider discriminated against her

because of her disability or perceived disability under the ADA. As discussed supra,

because Plaintiff was not a qualified individual with a disability, she cannot satisfy

the second prong of her prima facie case and her claim fails for this reason alone.

Plaintiff’s disability discrimination claim also fails because she cannot show that

Schneider treated similarly situated employees outside of her protected class more

favorably than she was treated. Banks v. iGov Techs., Inc., 661 F. App’x 638, 644

(11th Cir. 2016) (unpublished, per curiam) (citation omitted); Lewis v. City of Union
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City, Ga., 918 F.3d 1213, 1218 (11th Cir. 2019) (“[A] plaintiff asserting an

intentional-discrimination claim under McDonnell-Douglas must demonstrate that

she and her proffered comparators were ‘similarly situated in all material

respects.’”).

      Here, Plaintiff’s discrimination claim fails because she has not presented any

evidence of a similarly-situated employee who was treated more favorably. Plaintiff

argues that APM Tiffany Kitchens received preferential treatment because

Schneider granted Ms. Kitchens’ 2018 request for intermittent FMLA leave to care

for her ill mother, yet denied Plaintiff’s third extension request to work part-time.

(Pl’s Dep. 197:6-13, 200:1-20). Ms. Kitchens is not similarly-situated to Plaintiff.

      Ms. Kitchens, unlike Plaintiff, requested intermittent FMLA leave. In this

respect, Schneider treated Plaintiff the same as it treated Ms. Kitchens. Both

employees requested FMLA leave (Plaintiff – for her own serious health condition;

Ms. Kitchens – for the serious health condition of her mother). Schneider reviewed

their respective requests, and consistent with its obligations under the FMLA,

approved both employees’ request for leave. (Pl’s Dep. 121:20-25, Pl’s Dep. 121:7-

25, 125:16-126:5, Exs. 11, 13; Kitchens Dep. 15:17-22).




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        Unlike Ms. Kitchens, though, Plaintiff exhausted her FMLA leave and then

requested a part-time schedule as an accommodation under the ADA.5 The analysis,

then, shifts from whether Plaintiff had available FMLA leave to whether Plaintiff’s

proposed accommodations were reasonable and would enable her to perform the

essential functions of her job. Schneider’s obligations to Ms. Kitchens under the

FMLA and its obligations to Plaintiff under the ADA, therefore, are “wholly

distinct” and involve very different considerations. See 29 C.F.R. § 825.702(a)

(noting that “the leave provisions of the [FMLA] are wholly distinct from the

reasonable accommodation obligations of employers covered under the ADA.”).

        Specifically, the FMLA entitles eligible employees, like Ms. Kitchens, to

intermittent leave. 29 U.S.C. § 2612(a)(1)(D). Thus, once Ms. Kitchens notified

Schneider that she required a reduced schedule via intermittent leave, the FMLA

obliged Schneider to grant her request. See Brown v. Gestamp of Ala. LLC, 2018 WL

3455687, at *6 (S.D. Ala. 2018). In contrast, “[w]hether an accommodation [under

the ADA] is reasonable depends on specific circumstances.” Terrell, 132 F.3d at

626. For one, the ADA does not require employers to excuse employees from

performing an essential function, even though eligible employees are entitled to

FMLA leave even if it prevents them from performing essential job duties. 29 C.F.R.


5
    Ms. Kitchens never requested a reduced schedule leave under the ADA.
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§§ 825.112, 825.123; Revco, 552 F. App’x at 922. In other words, the leave

provisions of the FMLA and ADA are different and any attempt to treat them as one

in the same is like comparing apples to oranges. They are not similar.

      Even if it is possible to compare Ms. Kitchen’s request for FMLA leave to

Plaintiff’s request for an accommodation under the ADA, there are several other

reasons why Ms. Kitchens is not similarly situated to Plaintiff. First, as an APM on

the first shift, Ms. Kitchens reported to a different supervisor and worked a different

schedule than Plaintiff. Ms. Kitchens worked Monday through Friday, generally

from 7 a.m. to 4 p.m., and always worked with several other APMs and never worked

alone. (Kitchens Dep. 8:24-9:5). Therefore, when Ms. Kitchens was not in the office,

there were other APMs in the office who could cover for Ms. Kitchens. In contrast,

when Plaintiff was not in the office, there typically was no one who could cover for

her because she was the only APM working the third shift. These differences further

highlight the dissimilarities between Plaintiff and Ms. Kitchens. See Galdamez v.

DHL Air Exp. USA, 578 F. App’x 887, 892 (11th Cir. 2014) (in gender

discrimination case finding comparators not similarly situated because they had

different supervisors than plaintiff); see also Hartwell v. Spencer, 792 F. App’x 687,

694 (11th Cir. 2019) (in race discrimination case, finding comparator not similarly



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situated because he worked a different shift and had a different immediate supervisor

in addition to the fact his conduct was less egregious than plaintiff’s).

   C.      Plaintiff’s Retaliation Claim Should be Dismissed.

        Plaintiff contends that Schneider retaliated against her in violation of the ADA

by denying her workplace accommodation and terminating her employment.

(Compl. at ¶ 64). Plaintiff’s retaliation claim cannot stand.

        As an initial matter, Plaintiff’s retaliation claim should be dismissed because

the alleged denial of a reasonable accommodation cannot be the basis of a retaliation

claim under the ADA. Courts routinely dismiss retaliation claims that simply

repackage claims that an employer failed to offer accommodations. Lucas, 257 F.3d

at 1255 (rejecting plaintiff’s attempt to “reclothe[]” a failure to accommodate claim

as a retaliation claim under the ADA); Perez v. Sprint/United Mgmt. Co., 2013 WL

6970898, at *11 (N.D. Ga. Dec. 19, 2013) (same). Because Plaintiff’s retaliation

claim merely restates her accommodation claim, it should be dismissed.

        Even assuming Plaintiff could assert an ADA retaliation claim, she is unable

to show a causal connection between requesting an accommodation and the

termination of her employment. As discussed supra, Schneider made every effort to

accommodate Plaintiff’s alleged disability. Indeed, Schneider agreed to

accommodate Plaintiff’s multiple requests for extensions of her part-time schedule

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and, all told, accommodated Plaintiff’s part-time schedule for more than four

months. The fact that Schneider repeatedly granted Plaintiff extensions of her

requested accommodations belies any argument that Schneider terminated

Plaintiff’s employment in retaliation for requesting an accommodation. See Isaac v.

Wal-Mart Stores East, LP, 2017 WL 6061533, at *6 (S.D. Ala. Dec. 7, 2017).

    D.      Plaintiff Cannot Establish a Prima Facie Case of Race Discrimination
            Under Title VII or Section 1981.6

         Plaintiff argues that Schneider discriminated against her due to her race

because it accommodated Ms. Kitchens (who is white) more favorably than Plaintiff

(who is black). (Pl’s Dep. 216:12-21). Plaintiff, however, cannot establish even a

prima facie case of race discrimination because, as discussed in Section III(B)(1),

supra, she cannot show that Ms. Kitchens is similarly situated to Plaintiff. See Smith

v. Acting Sec’y, U.S. Dep’t of Homeland Sec., 819 F. App’x 774, 777 (11th Cir.

2020) (finding court did not err in granting summary judgment when plaintiff failed

to identify similarly situated comparators). Therefore, Plaintiff’s race discrimination

claim should be dismissed.




6
 The elements of a claim of race discrimination under 42 U.S.C. § 1981 are the same
as a Title VII claim. Rice-Lamar v. City of Fort Lauderdale, Fla., 232 F.3d 836, 843
n. 11 (11th Cir. 2000).
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   E.      Schneider Had a Legitimate, Non-Discriminatory Reason To
           Terminate Plaintiff’s Employment That Was Not Pretextual.

        Even if Plaintiff could establish a prima facie case, Schneider had a

legitimate, non-discriminatory reason for its actions – i.e., Plaintiff could not

perform the essential functions of her job. Courts in the Eleventh Circuit have

consistently held that the inability of a plaintiff to perform an essential job function

is a legitimate, non-discriminatory reason for termination. See E.E.O.C. v. Eckerd

Corp., 2012 WL 2568225, at *10 (N.D. Ga. July 2, 2012) (finding employer

presented a legitimate reason for terminating plaintiff’s employment because she

was unable to perform the essential functions of her job).

        Because Schneider has presented evidence setting forth its legitimate,

nondiscriminatory reason for terminating Plaintiff’s employment, the burden shifts

to Plaintiff to prove that Schneider’s proffered explanation was a pretext for

unlawful discrimination. See Silvestri v. Jupiter Inlet Colony, 614 F. App’x 983, 984

(11th Cir. 2015) (“[T]o prove that a reason is a pretext for discrimination, the

employee must show that the employer’s asserted reason is false, and that

discrimination was the real reason.”).

        Here, the only “evidence” Plaintiff has to support her belief that Schneider’s

actions were pretextual are her conclusory allegations of discrimination. Indeed,

Plaintiff claims that she experienced race discrimination because Plaintiff is black
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and Ms. Kitchens and the management team are white. (Pl’s Dep. 216:12-217:18).

This fact alone is not sufficient to establish a race discrimination claim. See Brooks

v. CSX Transp., Inc., 555 F. App’x 878, 882 (11th Cir. 2014) (holding that plaintiff

could not establish pretext when the only “evidence” plaintiff presented was that the

selected candidate was outside plaintiff’s protected class); see also Wilson v. Pepsi

Bottling Grp., 609 F.Supp.2d 1350, 1368 (N.D. Ga. 2009) (“The fact that the alleged

discriminatee’s race differs from that of the alleged discriminator is not itself proof

of intent to discriminate based on race.”).

      Finally, the fact that Schneider went above and beyond its legal obligations to

accommodate Plaintiff negates any finding of pretext. See Isaac, 2017 WL 6061533,

at *6 (finding “[t]hese undisputed facts [that employer accommodated employee’s

disability and went above and beyond its legal obligations] are irreconcilable with

any notion of disability discrimination or retaliation, and underscore [plaintiff’s]

inability to show pretext.”).

                                 IV.   CONCLUSION

      For the foregoing reasons, the Court should grant Schneider’s Motion for

Summary Judgment and dismiss all of Plaintiff’s claims with prejudice.

Date: June 7, 2021



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                              Respectfully submitted,


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                    CERTIFICATE OF SERVICE AND
                  COMPLIANCE WITH LOCAL RULE 5.1B

     I certify that on June 7, 2021, I electronically filed the foregoing Memorandum

of Law in Support of Defendant’s Motion for Summary Judgment with the Clerk of

Court using the CM/ECF system, which will automatically send email notification

of such filing to the following attorneys of record:

                                Cheryl B. Legare
                              cblegare@law-llc.com


     I further certify that I prepared this document in 14 point Times New Roman

font and complied with the margin and type requirements of this Court.

                                      Respectfully submitted,


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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

CIERRA GETER,                            )
                                         )       Civil Action File No.
       Plaintiff,                        )       1:20-cv-01148-SCJ-JSA
                                         )
v.                                       )
                                         )
SCHNEIDER NATIONAL                       )
CARRIERS, INC.                           )
                                         )
       Defendant.                        )

     DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACTS

       Pursuant to Local Rule 56.1B(1), Defendant Schneider National Carriers, Inc.

(“Schneider”) submits its Statement of Undisputed Material Facts in support of its

Motion for Summary Judgment.

                         Plaintiff’s Employment with Schneider

       1.       Schneider is a transportation and logistics company that operates as a

common and contract motor carrier throughout the United States and Canada.

(Declaration of Travis Torrence attached hereto as Exhibit A, (hereinafter “Torrence

Decl.”) ¶ 3).

       2.       Schneider has implemented a Discrimination, Harassment, and

Retaliation Prevention Policy, which Plaintiff acknowledged she reviewed,

understood, and was able to access via Schneider’s intranet. (Deposition of Cierra
                                             1
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Geter, excerpts of which are attached hereto as Exhibit B, (hereinafter “Pl’s Dep.”)

64:24-65:10, 65:25-66:11, Exs. 6-7).

      3.     On July 14, 2014, Schneider hired Plaintiff as a full-time Area Planning

Manager (“APM”) on the third shift at its Fairburn, Georgia location. (Pl’s Dep.

42:14-25, Ex. 2).

      4.     The job title of the position at the time Schneider hired Plaintiff was

Dispatch Analyst. (Pl’s Dep. 41:22-42:7).

      5.     The name of Plaintiff’s job title changed to APM about a year later, but

the job duties remained the same. (Pl’s Dep. 42:8-16).

      6.     From mid-2018 until the termination of her employment, Plaintiff was

scheduled to work on Wednesday, Thursday, Friday and Sunday from 11:00 p.m. to

10:00 a.m. (Pl’s Dep. 72:2-13).

      7.     During that time period, Plaintiff reported to Team Lead, Travis

Torrence. (Pl’s Dep. 69:4-9).

                           Plaintiff’s Essential Job Functions

      8.     Full time work and working in the office are essential job functions of

APMs. (Torrence Decl. ¶¶ 6, 9-10).

      9.     As an APM, Plaintiff’s primary job was to provide support for

Schneider drivers. (Pl’s Dep. 54:3-6, Ex. 4).


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      10.    In providing support to Schneider drivers, APMs, like Plaintiff, would

coordinate dispatching drivers with customer loads, assist drivers in gathering their

paperwork and load information, take calls and messages from drivers, and resolve

any driver issues. (Pl’s Dep. 48:21-49:4, 54:7-12; Torrence Decl. ¶¶ 6, 10).

      11.    In order to meet the business needs, during the time period that

Schneider employed Plaintiff, APMs were expected to work full-time because

Schneider needed to ensure it had the resources to sufficiently support drivers and

to dispatch loads at all hours of the day. (Deposition of Marianne Biskey-Rose,

excerpts of which are attached hereto as Exhibit C, (hereinafter “Biskey-Rose Dep.”)

40:2-11; Torrence Decl. ¶ 6).

      12.    During the time period that Schneider employed Plaintiff, because

Schneider’s drivers work all hours of the day, the Fairburn location was staffed 24-

hours a day, seven days a week by full-time employees so that Schneider could best

meet the needs of the drivers. (Biskey-Rose Dep. 12:18-20; Torrence Decl. ¶ 7).

      13.    Plaintiff understood that she was expected to work full-time. (Pl’s Dep.

40:14-17).

      14.    Mr. Torrence did not have any direct reports that were permitted to

work a part-time schedule. (Deposition of Travis Torrence, excerpts of which are

attached hereto as Exhibit D (hereinafter “Torrence Dep.” 64:24-65:3).


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      15.     In fact, during the entirety of Plaintiff’s employment, Schneider did not

employ any part-time APMs at the Fairburn location. (Pl’s Dep. 83:6-10; Deposition

of Tiffany Kitchens, excerpts of which are attached hereto as Exhibit E, (hereinafter

“Kitchens Dep.”) 28:5-10; Torrence Decl. ¶ 8).

      16.     Plaintiff also understood that certain tasks necessary to assist drivers

required her physical presence in the office. (Pl’s Dep. 63:7-11).

      17.     For example, Plaintiff needed to be in the office to interact with drivers

who came into the office. (Pl’s Dep. 60:6-15).

      18.     Plaintiff admits that she frequently interacted with drivers face-to-face,

and that this interaction was necessary in order to develop relationships with drivers

and better assist them. (Pl’s Dep. 48:21-49:4, 55:7-56:10, 59:13-24, Ex. 4; Torrence

Decl. ¶ 9).

      19.     Plaintiff further understood that Schneider expected Plaintiff to have

face-to-face interaction with drivers and that Schneider deemed that an important

function of her job. (Pl’s Dep. 59:13-24).

      20.     Plaintiff admitted that the one-on-one interactions with drivers could

only be performed in the office. (Pl’s Dep. 60:6-15).

      21.     APMs also needed to work in the office to assist drivers in locating

available tractors, to retrieve keys for drivers that were located in a secure lock box,


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and to print off paperwork for drivers. (Pl’s Dep. 60:6-62:4, Exs. 4, 5; Deposition of

Sarah Kopf, excerpts of which are attached hereto as Exhibit F, (hereinafter “Kopf

Dep.”) 19:19-20:18; Torrence Decl. ¶ 10).

      22.    Plaintiff further understood that having the ability to work in a fast-

paced, high pressure environment was an essential function of her position. (Pl’s

Dep. 57:5-16, Ex. 4).

      23.    Because there were certain essential tasks that needed to be completed

in the office, APMs under Mr. Torrence’s supervision were not regularly permitted

to work remotely. (Torrence Decl. ¶ 11).

      24.    Rather, employees at the Fairburn office location were occasionally

permitted to work from home for one-off situations, such as due to illness or to take

care of a sick child. (Biskey-Rose Dep. 32:8-20; Torrence Dep. 55:16-21).

      25.    Sarah Kopf, an APM on the second shift, was permitted to work from

home when her power went out in her home or when she had a family emergency.

(Kopf Dep. 6:15-19, 12:5-19).

      26.    During the time period of March 5, 2018 through March 8, 2020, Ms.

Kopf only worked from home on a few occasions and never consistently worked

from home. (Kopf Dep. 6:7-24, 21:18-22:6).

      27.    Ms. Kopf never worked a part-time schedule. (Kopf Dep. 21:15-17).


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            Plaintiff Frequently Worked Alone as an APM on the Third Shift

      28.      The third shift APM role was staffed differently from the first and

second shifts. Whereas the first shift was normally staffed with four to five APMs,

and the second shift was staffed with two to three APMs, the third shift only had one

or two APMs. (Pl’s Dep. 100:16-19).

      29.      As a result, Plaintiff frequently worked alone on the third shift,

especially on Sundays. (Pl’s Dep. 75:14-17, 100:16-23, 142:20-143:1, 146:6-8;

Torrence Decl. ¶ 5).

      30.      Additionally, unlike first and second shift APMs, third shift APMs did

not have additional team members to assist in answering messages or phone calls,

dispatching drivers, or dealing with driver issues. (Pl’s Dep. 100:18-101:6).

      31.      Working in the office was especially important on the third shift, when

APMs often worked alone. (Torrence Decl. ¶ 10).

                               Plaintiff Takes FMLA Leave

      32.     In October 2018, Plaintiff was diagnosed with post-traumatic stress

disorder and panic disorder by Dr. Cassandra Wanzo, Plaintiff’s healthcare provider.

(Pl’s Dep. 86:20-22, 87:5-8, 88:17-20).




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      33.     On October 9, 2018, Plaintiff began a leave of absence under the FMLA

for her own serious health condition. (Pl’s Dep. 121:17-19, Ex. 11).

      34.     Prior to her FMLA leave, Plaintiff had not communicated with anyone

about her diagnosis of post-traumatic stress disorder and panic disorder. (Pl’s Dep.

104:15-19).

      35.     Schneider approved Plaintiff’s FMLA leave from October 9, 2018 to

December 31, 2018. (Pl’s Dep. 121:7-25, 125:16-126:5, Exs. 11, 13)

      36.     Plaintiff exhausted her twelve weeks of FMLA leave entitlement as of

December 31, 2018. (Pl’s Dep. 126:3-5).

      37.     Plaintiff was expected to return to full-time work on January 2, 2019.

(Pl’s Dep. 125:1-126:5, Ex. 13).

      38.     During the time that Plaintiff was out on FMLA leave, Plaintiff’s work

was performed by other APMs and Mr. Torrence. (Torrence Dep. 67:20-23).

      39.     To ensure coverage while Plaintiff was out on FMLA leave, Mr.

Torrence worked the overnight shift on Sundays, in addition to his regular duties.

(Torrence Dep. 67:24-68:1).

      40.     Mr. Torrence worked five days per week as Operations Team Leader

and approximately 50 hours per week. (Torrence Decl. ¶ 4).




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                        Plaintiff’s Initial Accommodation Request

      41.      Prior to the expiration of her FMLA leave, Plaintiff submitted a return

to work form dated December 15, 2018 and completed by Dr. Wanzo. (Pl’s Dep.

126:14-25, Ex. 14.).

      42.      Dr. Wanzo stated that Plaintiff could return to work on January 2, 2019,

but with the restriction of working three days a week, ten-hour days. (Pl’s Dep.

127:13-17, Ex. 14).

      43.      Dr. Wanzo indicated that Plaintiff could return to work without

restrictions effective February 14, 2019. (Pl’s Dep. Ex. 14).

      44.      Schneider agreed to accommodate Plaintiff’s request. (Pl’s Dep. 133:4-

23, Ex. 15).

      45.      In addition to only being able to work three days a week, Plaintiff was

limited in the days that she could work. (Pl’s Dep. 134:24-135:22).

      46.      Specifically, Plaintiff could not work her Sunday shift (11:00 p.m. –

10:00 a.m.) because she needed to attend counseling sessions on Monday mornings.

(Pl’s Dep. 72:2-13, 134:24-135:22).

      47.      Mr. Torrence agreed to accommodate Plaintiff’s request to not work

Sundays. (Pl’s Dep. 134:24-135:24).




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      48.    When Plaintiff returned to work on January 2, 2019, she worked

Wednesdays, Thursdays, and Fridays. (Pl’s Dep. 126:6-8, 135:23-136:3).

      49.    In order to accommodate Plaintiff’s restriction of part-time work, Mr.

Torrence worked Plaintiff’s Sunday overnight shift, in addition to his regular duties.

(Torrence Dep. 51:24-52:9, 52:23-53:1, 67:3-7; Torrence Decl. ¶ 12).

      50.    Mr. Torrence typically started working the overnight shift at 11 p.m. on

Sunday and ending at 7 a.m. on Monday. Mr. Torrence would then come back to

work on Monday at 1 p.m. and work to 9 p.m. to perform his regular duties as an

Operations Team Leader. During the time he covered Plaintiff’s Sunday overnight

shift, he worked on average 55-60 hours a week. (Torrence Decl. ¶ 14).

      51.    Plaintiff acknowledged that her inability to work on Sundays impacted

the third shift and their workload. (Pl’s Dep. 137:9-12).

   Plaintiff’s Accommodation Extensions and Request to Work from Home

      52.    Plaintiff did not return to full-time work on February 14, 2019. (Pl’s

Dep. 145:18-22).

      53.    On January 21, 2019, Plaintiff submitted a medical note from Dr.

Wanzo requesting an extension of Plaintiff’s part-time work schedule of ten hours a

day, three days per week, until March 20, 2019. (Pl’s Dep. 139:9-140:3, Ex. 16).




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      54.      Schneider agreed to accommodate Plaintiff’s request for an extension

of her part-time work schedule. (Pl’s Dep. 176:10-17, Ex. 22).

      55.      During this time period, Mr. Torrence continued to work Plaintiff’s

Sunday overnight shift in the office, in addition to his regular duties. (Torrence Decl.

¶¶ 12-13).

      56.      Plaintiff did not return to work full-time on March 20, 2019. (Pl’s Dep.

150:13-15).

      57.      On March 9, 2019, Dr. Wanzo submitted medical documentation to

Schneider seeking another extension of Plaintiff’s part-time work schedule of three

days per week, ten hours per day, until April 30, 2019. (Pl’s Dep. 150:16-151:1,

151:23-152:1, Ex. 17).

      58.      Plaintiff also sought an accommodation of working from home on

Thursdays and Fridays, and anytime Plaintiff was scheduled to work alone. (Pl’s

Dep. 154:3-14; Ex. 17).

      59.      On March 18, 2019, Anissa Gauthier, a Leave Analyst, emailed Dr.

Wanzo        requesting   additional   information    about     Plaintiff’s   requested

accommodation. (Declaration of Christine Schneider, attached hereto as Exhibit G

(hereinafter “Schneider Decl.”) ¶ 10, Ex. 1).




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         60.    On March 30, 2019, Dr. Wanzo submitted additional medical

documentation to Schneider extending Plaintiff’s restrictions to June 5, 2019. (Pl’s

Dep. 159:10-161:17, Ex. 19).

         61.    Dr. Wanzo stated that Plaintiff “can only work 3 days per week

Wed/Thurs/Fridays: Working from home 2 days/week (10 hour days).” (Pl’s Dep.

160:18-25, Ex. 19).

         62.    On April 2, 2019, Ms. Gauthier emailed Dr. Wanzo and Plaintiff a copy

of a letter that contained additional questions that needed to be answered to

determine if Schneider could accommodate Plaintiff’s restrictions. (Schneider Decl.

¶ 10, Ex. 1).

                    Schneider’s Efforts to Accommodate Plaintiff

         63.    After learning of Plaintiff’s request to extend her part-time schedule

until June 5, 2019, Mr. Torrence and Ms. Biskey-Rose determined that based on

Schneider’s business needs and staffing levels, they could not continue to

accommodate Plaintiff’s request to eliminate two essential job functions – full-time

work and working in the office. (Biskey-Rose Dep. 36:14-22; Torrence Decl. ¶¶ 15-

16).

         64.    By April 12, 2019, Mr. Torrence had been working Plaintiff’s Sunday

overnight shift for approximately six months and he could no longer absorb


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Plaintiff’s job duties for an additional two months. Working the additional Sunday

overnight shift was physically exhausting for Mr. Torrence and it negatively

impacted his ability to complete his Operations Team Leader tasks as well as his

health. (Torrence Decl. ¶ 16).

        65.   Schneider explored other potential accommodations for Plaintiff. On

April 2, 2019, Schneider sent Plaintiff a letter requesting that Dr. Wanzo provide

additional information to Schneider by no later than April 8, 2019, so that it could

explore other potential accommodations. (Pl’s Dep. 172:9-22, 183:18-186:9, Exs.

20, 23).

        66.   In the letter, Schneider asked Dr. Wanzo: “[Plaintiff] is currently

working on Wednesday, Thursday and Friday. Is there a different day that she is

available to work if she can work 4 days?” (Pl’s Dep. Ex. 23).

        67.   Schneider also asked Dr. Wanzo: “Can [Plaintiff] work Monday-Friday

8 hour schedule?”(Pl’s Dep. Ex. 23).

        68.   Plaintiff provided this letter to Dr. Wanzo. (Pl’s Dep. 172:20-22, 186:6-

9).

        69.   Dr. Wanzo did not respond to Schneider’s April 2, 2019 letter until

April 27, 2019. (Pl’s Dep. Ex. 23).




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      70.   In Dr. Wanzo’s April 27, 2019 response to Schneider’s letter, Dr.

Wanzo stated that: “[Plaintiff] is unable to work a Mon-Friday schedule, this was

never a part of her schedule (it was Wed, Thurs, Fri and Sunday). Her current

schedule is Wed-Fri.” (Pl’s Dep. Ex. 23).

      71.   Dr. Wanzo also wrote: “[Plaintiff] is unable to work well in a fast-

paced, high pressure environment.” Plaintiff agreed with this assessment. (Pl’s Dep.

187:12-188:5, Ex. 23).

      72.   Ms. Biskey-Rose also asked Plaintiff if Plaintiff could change her

Monday morning counseling session (which prohibited Plaintiff from working her

Sunday overnight shift). (Biskey-Rose Dep. 37:8-19; Pl’s Dep. 134:24-135:22).

      73. Plaintiff indicated this was not possible as the other available

counseling session coincided with another doctor appointment. (Biskey-Rose Dep.

37:8-19).

      74.   Schneider also considered hiring a temporary employee to cover

Plaintiff’s Sunday night shift; however, it was not a viable option because the

temporary employee would be working the overnight shift by him or herself without

the knowledge and background needed to resolve issues that arose. (Biskey-Rose

Dep. 40:14-25; Deposition of Ashley Janssen, excerpts of which are attached hereto

as Exhibit H, (hereinafter “Janssen Dep”) 40:21-41:18).


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      75.      Schneider considered reassigning Plaintiff to an open and available

position for which she was qualified, but the Fairburn location only had full-time

positions. (Torrence Decl. ¶ 17).

      76.      After determining that Plaintiff’s accommodation requests were not

reasonable and that there were no reasonable accommodations that would have

enabled Plaintiff to perform the essential functions of her position, Schneider

decided to terminate Plaintiff’s employment, effective April 12, 2019. (Torrence

Decl. ¶ 18).

      77.      As of June 5, 2019, Plaintiff still was not able to return to full-time

work. (Pl’s Dep. 193:9-13).

      78.      On June 26, 2019, Dr. Wanzo completed an Attending Physician’s

Statement – Progress Report stating that Plaintiff continued to only be able to work

three days per week, ten hour days, until September 23, 2019. (Pl’s Dep. 193:19-

194:5, Ex. 24).

        Plaintiff Has Not Identified Any Similarly-Situated Employees
                      Treated More Favorably Than Her

      79.      Plaintiff asserts that Tiffany Kitchens received preferential treatment

because Schneider granted Ms. Kitchens’ 2018 request for intermittent FMLA leave

to care for her ill mother, yet denied Plaintiff’s ADA accommodation requests. (Pl’s

Dep. 197:6-13, 200:1-20).

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      80.    Plaintiff also asserts that Schneider discriminated against her due to her

race because it accommodated Ms. Kitchens more favorably than Plaintiff. (Pl’s

Dep. 216:12-21).

      81.    Ms. Kitchens, a white APM, reported to Rodney Dunn and was

assigned to the first shift. (Kitchens Dep. 8:18-9:7, 10:5-10, Torrence Dep. 20:6-8).

      82.    As an APM, Ms. Kitchens worked Mondays through Fridays, generally

from 7 a.m. to 4 p.m. (Kitchens Dep. 8:18-9:7)

      83.    Ms. Kitchens always worked with several other APMs and never

worked alone. (Kitchens Dep. 8:24-9:5, 27:22-28:4).

      84.    In approximately October 2018, Ms. Kitchens requested and was

approved for intermittent FMLA leave to care for her ill mother who had suffered a

stroke. (Kitchens Dep. 13:15-16:25).

      85.    Ms. Kitchens, however, never actually used any intermittent FMLA

leave to care for her mother. (Kitchens Dep. 15:17-16:25).

      86.    Instead, Ms. Kitchens utilized vacation time any time she would have

to be out of work. (Kitchens Dep. 16:16-22).

      87.    During the 2018 through 2019 time period, Ms. Kitchens worked at

least five days per week. (Kitchens Dep. 29:1-4).




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      88.   The woman hired to replace Plaintiff’s position on the third shift was

African American. (Pl’s Dep. 210:21-211:11).

Date: June 7, 2021

                                    Respectfully submitted,


                                    By:__/s/ Peter A. Milianti______________
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                   CERTIFICATE OF SERVICE AND
                 COMPLIANCE WITH LOCAL RULE 5.1B

     I certify that on June 7, 2021, I electronically filed the foregoing Defendant’s

Statement of Undisputed Material Facts with the Clerk of Court using the CM/ECF

system, which will automatically send email notification of such filing to the

following attorneys of record:

                                Cheryl B. Legare
                              cblegare@law-llc.com


     I further certify that I prepared this document in 14 point Times New Roman

font and complied with the margin and type requirements of this Court.

                                     Respectfully submitted,


                                     By:__/s/ Peter A. Milianti______________
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                                        17
Case 1:20-cv-01148-SCJ-JSA Document 46-2 Filed 06/07/21 Page 18 of 18




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    EXHIBIT A
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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CIERRA GETER,                           )
                                        )       Civil Action File No.
       Plaintiff,                       )       1 :20-cv-01148-SCJ-JSA
                                        )
v.                                      )
                                        )
SCHNEIDER NATIONAL                      )
CARRIERS, INC.                          )
                                        )
       Defendant.                       )

         DECLARATION OF TRAVIS TORRENCE IN SUPPORT OF
          DEFENDANT'S MOTION FOR SUMMARY JUDGMENT

       I, Travis Torrence, depose and state as follows:

        1.    My name is Travis Torrence. I am over the age of eighteen and am

otherwise competent to testify to the facts set forth in this Declaration. All statements

contained in this Declaration are true and correct based upon my personal

knowledge.

        2.    I currently serve as Operations Manager for Schneider National

Carriers, Inc. ("Schneider").

        3.    Schneider is a transportation and logistics company that operates as a

common and contract motor carrier throughout the United States and Canada.




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Case 1:20-cv-01148-SCJ-JSA Document 46-3 Filed 06/07/21 Page 4 of 6
Case 1:20-cv-01148-SCJ-JSA Document 46-3 Filed 06/07/21 Page 5 of 6
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     EXHIBIT B
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                                                                        Page 1
             IN THE UNTIED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA


       CIERRA GETER,                        )CASE NO.:
                                            )20-CV-01148-SCJ-JSA
         Plaintiff,                         )
                                            )
       vs.                                  )
                                            )
       SCHNEIDER NATIONAL CARRIERS, )
       INC.,                                )
                                            )
              Defendants.                   )
       _____________________________)


              The video conference deposition of CIERRA
       GETER taken pursuant to Notice and agreement of
       counsel for any and all purposes allowed under
       the Georgia Civil Practice Act; the reading and
       signing of the deposition is being reserved;
       taken before Morgan Spriggs, Certified Court
       Reporter and Certified Verbatim Reporter in and
       for the State of Georgia to commence at
       10:00 A.M. on the 9th day of March, 2021.             All
       parties completely remote.
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                                                                        Page 2
  1    APPEARANCES OF COUNSEL:
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Case 1:20-cv-01148-SCJ-JSA Document 46-4 Filed 06/07/21 Page 4 of 106


                                                                        Page 5
  1                  P R O C E E D I N G S
  2                                                     10:00 A.M.
  3                 THE COURT REPORTER:       Before I swear in
  4    the witness, I will ask counsel to stipulate on
  5    the record that due to the national pandemic, the
  6    court reporter will swear in the witness, even
  7    though she's not in the physical presence of the
  8    witness and there is no objection at this time,
  9    nor will there be an objection at a further date.
10                  MR. MILIANTI:      No objection.
11                  THE COURT REPORTER:       Cheryl?
12                  MS. LEGARE:     No problem.
13                  THE COURT REPORTER:       Thank you.
14                  MS. LEGARE:     Sorry.
15                (Whereupon,
16                          CIERRA GETER
17                  was called as a witness and
18                  having been first duly sworn
19                  was examined and testified
20                  as follows:)
21                  THE WITNESS:     Yes.
22                  THE COURT REPORTER:       Thank you.
23                  MR. MILIANTI:      Is it possible that you
24     could -- it was hard for me to hear you,
25     Ms. Geter.     I don't know if you could get a
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                                                                    Page 40
  1    Marianne Biskey-Rose, I believe.
  2          Q.    Okay.    All right.     And did you interview
  3    with these folks collectively or separately?
  4          A.    Separately.
  5          Q.    And do you recall what, if anything,
  6    they told you about the specific duties for this
  7    position?
  8          A.    They stated that -- that they were
  9    looking for a team player, someone that is
10     enthusiastic about learning, also someone that is
11     willing to work under a high stress environment
12     and be a collective team participant and
13     eventually a leader.
14           Q.   At the time that you interviewed for the
15     position, did you understand it to be a full-time
16     position?
17           A.   Correct.
18           Q.   And do you know who -- obviously you
19     were ultimately hired into the position, right?
20           A.   Yes.
21           Q.   Do you know who hired you?
22           A.   Yes.     Greg Cochran.
23           Q.   Do you know if Marianne recommended you
24     for hire?
25           A.   I do not know.       They did not disclose
Case 1:20-cv-01148-SCJ-JSA Document 46-4 Filed 06/07/21 Page 6 of 106


                                                                    Page 41
  1    any of that type of information to me.
  2          Q.    Okay.    If you could look at -- it should
  3    be the next document in that pile.           It should be
  4    Bates-stamped Schneider 506 through 507.
  5          A.    Uh-huh, yes.
  6          Q.    Do you see that document?
  7          A.    Yes.
  8          Q.    Okay.    So let's mark this as Plaintiff's
  9    Deposition Exhibit number 2.          And Ms. Geter, this
10     is the offer letter that you received from
11     Schneider; is that correct?
12                (Plaintiff's Exhibit 2 was
13                  marked and identified.)
14           A.    That is correct.
15           Q.    Okay.    And this document is dated July
16     2, 2014; is that right?
17           A.    Yes.
18           Q.    Okay.    And did you receive this document
19     on or about that date?
20           A.    Yes.    Via e-mail.    Uh-huh.
21     (Affirmative).
22           Q.    Okay.    And is that -- that's your name
23     and address on the first page of this document?
24           A.    Yes.
25           Q.    Okay.    And if you look under position on
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                                                                     Page 42
  1    this first page, it says, dispatch analyst; do
  2    you see that?
  3          A.   Yes.
  4          Q.   Does that refresh your memory as to the
  5    title of the position?
  6          A.   Yes, it does.      I knew it had dispatch
  7    something in it.
  8          Q.   And you said -- you testified that the
  9    title was changed to area planning manager about
10     a year later; is that right?
11           A.   Yes, sir.     Like a year to a year and a
12     half later, they did a transition of position and
13     titles.
14           Q.   But the job duties remained the same,
15     just a title change; is that right?
16           A.   Correct.
17           Q.   Okay.    And if you look under where it
18     says position it says, dispatch analyst; 3rd
19     shift; full time 40 hours per week; exempt.              Do
20     you see that?
21           A.   Yes.
22           Q.   Okay.    And that was your understanding
23     of the position for which you were hired,
24     correct?
25           A.   Correct.
Case 1:20-cv-01148-SCJ-JSA Document 46-4 Filed 06/07/21 Page 8 of 106


                                                                    Page 43
  1            Q.   And it says 3rd shift.       Do you know --
  2    what were your hours when you first started as a
  3    dispatch analyst?
  4            A.   I worked from 11:00 p.m. to 7:00 a.m.
  5    and my days I worked were Wednesday through
  6    Sunday.
  7            Q.   Wednesday through Sunday?
  8            A.   Correct.
  9            Q.   And you worked at the Fairburn location;
10     is that right?
11           A.     Yes, sir.
12           Q.     How far was that location from your
13     home?
14           A.     6.2 miles.
15           Q.     And to whom did you report when you
16     first started?
17           A.     When I first started Shawn Brantley and
18     Greg Cochran.
19           Q.     Do you recall how long you reported to
20     those two individuals?
21           A.     Shawn until he quit in February 2018.
22     February 2018, I think that's the month he quit
23     and the year he quit.
24           Q.     That's when Shawn left Schneider?
25           A.     Yes, sir.    And then I believe Greg
Case 1:20-cv-01148-SCJ-JSA Document 46-4 Filed 06/07/21 Page 9 of 106


                                                                    Page 44
  1    Cochran left late May, early June right after he
  2    got his master's.       I remember that.
  3          Q.    Of 2018?
  4          A.    Of 2018, correct.      And I just want to
  5    make sure it's 2018.        Can I look at the calendar,
  6    please?
  7          Q.    Sure.
  8          A.    I just want to make sure.        I don't want
  9    to give any false dates.
10           Q.    No problem.
11           A.    Okay.   So Mr. Tony actually left
12     Schneider -- my surgery was August of 2015 -- I'm
13     sorry.     I just want to be accurate.
14           Okay.    My apologies.      So the year is 2016
15     Shawn left, same month, February.           And then Greg
16     left late May, late June of 2016.           The reason why
17     Mr. Tony left October 2015 while I was on leave
18     for surgery.      That's how I remember that.
19           Q.    Okay.   So when you say that you reported
20     to both Shawn and Greg, was that because -- for
21     different days of the week, or did one of them
22     report up to the other?
23           A.    Yes, sir.    So Shawn was my team lead and
24     he reported to Greg and Shawn was there with the
25     team all the time.       He was there to fill in for
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                                                                    Page 48
  1    BY MR. MILIANTI:
  2           Q.   So there's 20 to 21 office or cubicle
  3    spaces at the Fairburn location?
  4           A.   Correct.
  5           Q.   It's my understanding that a portion of
  6    the Fairburn location was also a driver lounge;
  7    is that accurate?
  8           A.   Yes.
  9           Q.   Okay.    And it's my understanding that
 10    drivers would come in and come out and they would
 11    sit in the lounge to do whatever they were going
 12    to do in the lounge before they started or after
 13    they ended their workday; is that accurate?
 14           A.   Yes.    And they would come in into the
 15    operations office where we are located and then
 16    most of the time, they don't sit in the driver
 17    lounge because no one is in here.            So they want
 18    to talk, so they'll come into the operations side
 19    to start their day, get paperwork, get their load
 20    information.
 21           Q.   And would you help them in getting their
 22    paperwork and load information?
 23           A.   Yes.    I would definitely help them get
 24    all their paperwork.        Once we get that phone call
 25    or a message, I would get that prepared for them
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                                                                    Page 49
  1    and ready, so when they come in or I will, you
  2    know, start preparing that on the way -- if they
  3    walk in and I'm still doing another task, I have
  4    it, you know, in preparation for them.
  5           Q.   And is there -- is there an approximate
  6    number of drivers that would be assigned or
  7    dispatched out of the Fairburn location; do you
  8    know?
  9           A.   Okay.    In reference to which years?
 10    Because between 2014 and I believe mid-20 --
 11    yeah, 2014 when I started there and mid-2016, we
 12    dispatched from Quebec, Canada to Miami, Florida.
 13    So our dispatch team on the support shift handled
 14    17 to 18 markets at a time at night, so that's
 15    approximately 400 to 425 drivers, give or take a
 16    few.
 17           Q.   And how about after mid-2016?
 18           A.   That got cut to 250 and below.
 19           Q.   So approximately 250 drivers?
 20           A.   Yes, sir.
 21           Q.   Out of the Fairburn operating center?
 22           A.   Correct.
 23           Q.   Was this just -- was Fairburn just
 24    intermodal?
 25           A.   It's just intermodal, but it also was
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                                                                    Page 54
  1    right?
  2           A.   Yes.
  3           Q.   And would it be accurate to say that one
  4    of your primary duties was supporting the
  5    drivers?
  6           A.   Yes, sir.
  7           Q.   And you would take calls and messages
  8    from drivers; is that right?
  9           A.   Yes, sir.
 10           Q.   You would help drivers resolve any
 11    issues that they had?
 12           A.   Yes, sir.
 13           Q.   And you frequently interacted with the
 14    drivers face-to-face; is that correct?
 15           A.   Yes, sir.     Only the Atlanta drivers
 16    face-to-face.
 17           Q.   Atlanta drivers.       And you mentioned
 18    there were, if I recall correctly, approximately
 19    250 Atlanta drivers?
 20           A.   No.    That's 2,250 drivers total in the
 21    southeast region.
 22           Q.   Okay.    How many --
 23           A.   Atlanta -- go ahead.
 24           Q.   How many Atlanta drivers?
 25           A.   I believe it was between a hundred and a
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                                                                    Page 55
  1    hundred and ten.        It just fluctuated depending on
  2    the season of trucking.         So they have -- like a
  3    lot of drivers would leave and then some drivers
  4    will come back and then they do a big hiring in
  5    the middle of the year.         So it just depends on
  6    the season.
  7           Q.   Okay.     So you would have -- would it be
  8    accurate to say that you would have frequent
  9    face-to-face interaction with the Atlanta
 10    drivers?
 11           A.   Correct.
 12           Q.   If you turn to the second page of this
 13    document --
 14           A.   Yes, sir.
 15           Q.   -- do you see where it says skills/
 16    behaviors necessary to perform job?
 17           A.   Uh-huh.    (Affirmative).
 18           Q.   Is that a yes?
 19           A.   Yes, sir.
 20           Q.   Okay.    And it states, abilities or
 21    qualities an associate must possess in order to
 22    perform the essential job duties listed by core
 23    competency; do you see that?
 24           A.   Yes.
 25           Q.   And under communication it says, ability
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                                                                      Page 56
  1    to develop relationships through interpersonal
  2    skills; is that right?
  3           A.   Yes.
  4           Q.   And you understood that was one of the
  5    essential job duties of your position; is that
  6    correct?
  7           A.   Yes.
  8           Q.   Okay.    And who did you need to develop
  9    these relationships with?
 10           A.   The drivers and with my teammates.
 11           Q.   And how would you go about developing
 12    the relationships with drivers?
 13           A.   Just day-to-day talking with them.           And
 14    due to the fact that I was a former driver, I
 15    could relate to them with their circumstances,
 16    and give them -- give them information from a
 17    different perspective, whereas they would not
 18    understand it coming from an operation
 19    standpoint.
 20           Q.   Okay.    And if you look under the other
 21    -- one of the core competencies is positive
 22    impact; do you see that?
 23           A.   Yes.
 24           Q.   And the third one down says, take
 25    initiative, a self-starter; do you see that?
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                                                                    Page 57
  1           A.   Yes.
  2           Q.   And did you agree that was an essential
  3    job duty for the area planning manager position?
  4           A.   Yes.
  5           Q.   And underneath that, it says ability to
  6    work in a fast-paced, high pressure environment;
  7    do you see that?
  8           A.   Yes.
  9           Q.   And you understood that was one of the
 10    essential job duties of an area planning manager?
 11           A.   Yes.
 12           Q.   You -- you understood that as an area
 13    planning manager, you would need to work in a
 14    fast-paced, high pressured environment; is that
 15    right?
 16           A.   Yes.
 17           Q.   And would you agree that it was a high
 18    -- I'm sorry -- a fast-paced, high pressure
 19    environment?
 20           A.   Oh, yes.
 21           Q.   And would it be accurate to say that as
 22    an area planning manager you would need to be in
 23    the office to support a driver if they came in
 24    with a particular issue?
 25           A.   Can you repeat that one more time for
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                                                                    Page 59
  1    But my Atlanta drivers, yes, I feel as though
  2    that they appreciated us being in the office so
  3    they can have face-to-face human interaction, so
  4    I can definitely understand that standpoint and
  5    that viewpoint as well.
  6           However, I know for sure that we dispatch
  7    drivers from Quebec.        That's across the
  8    international lines, so you know, when they had
  9    issues, we were the ones in Atlanta, Georgia that
 10    had to help them, but we only were limited to
 11    what we could do because of our distance and
 12    communication with them at that time.
 13           Q.   Would it be accurate to say that
 14    Schneider wanted you to have face-to-face
 15    interaction with the Atlanta drivers --
 16           A.   Yes.
 17           Q.   -- in your position as an area planning
 18    manager?
 19           A.   Yes.
 20           Q.   Okay.    And they deemed that -- Schneider
 21    deemed that important because they wanted you to
 22    develop those relationships with the Atlanta
 23    drivers; is that right?
 24           A.   Correct.
 25           Q.   Would you agree with me that there were
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                                                                    Page 60
  1    certain functions of your position as an area
  2    planning manager that could only be completed in
  3    the office?
  4           A.   Could I get a reference point to what
  5    you're --
  6           Q.   Was there any -- is there any -- any
  7    position -- any job duty that you held -- any job
  8    duty that you performed as an area planning
  9    manager that you believe could only be performed
 10    in the office?
 11           A.   The only thing and I thought that could
 12    be performed or think can is the driver
 13    interaction, like the one-on-one with the drivers
 14    and management team.        You know, human to human
 15    interaction.
 16           Q.   Would there ever be occasions where you
 17    needed to be in the office to find driver
 18    tractors?
 19           A.   Yes.
 20           Q.   And is that another situation where you
 21    would need to be in the office in order to
 22    perform your job duties?
 23           A.   Yes.   And we had a situation where I
 24    remember I was sick and in particular where I
 25    worked from home and Travis had to help me
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                                                                    Page 61
  1    because he knew I couldn't come up there.              So
  2    what he did, he searched for the tractors for me,
  3    and the drivers have a key box that's actually in
  4    the driver's lounge and we send a message to the
  5    drivers that needed the trucks.
  6           At the time they would have come in and
  7    they'd say, hey, I need a truck, or my truck is
  8    down, we'll direct them to the key box and we
  9    already had -- the keys had the tractor numbers
 10    already attached to them and I said, hey, go to
 11    the truck number such and such.           It's located --
 12    because the trucks have GPS, so you can locate
 13    the tractor and tell them where to go pick up the
 14    tractor.
 15           And if it was at the OC, which is off -- 23
 16    miles away off of Bouldercrest, so we had to
 17    locate them there and send them up there to pick
 18    up a truck, and then the OC can cut a key for
 19    that truck, or they already have a copy of the
 20    key because that's where the maintenance
 21    department is located.
 22           Q.   Okay.    But there were situations where
 23    you would need to physically be present in the
 24    office in order to locate tractors for drivers?
 25           A.   Correct.
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                                                                      Page 62
  1           Q.    And that was a key function of your job
  2    responsibility as an area planning manager,
  3    right?
  4           A.    Correct.
  5           Q.    If you could turn -- look to the next
  6    exhibit, which we'll mark as Plaintiff's Exhibit
  7    5 and it's Bates-stamped Schneider 0060.              Do you
  8    see that one?
  9                (Plaintiff's Exhibit 5 was
 10                 marked and identified.)
 11           A.   Yes.
 12           Q.   Okay.    All right.     And this appears to
 13    be an e-mail that you sent on August 25, 2017 to
 14    Doug Horton, Marianne Biskey-Rose, Rodney Dunn,
 15    and Travis Torrence; is that correct?
 16           A.   Yes.
 17           Q.   Okay.    And I just want to direct your
 18    attention to the second to last sentence in that
 19    first paragraph.
 20           A.   Uh-huh.     (Affirmative).
 21           Q.   You wrote this morning I had to leave my
 22    house, I was working from home, and rush over to
 23    the office to find two driver's tractors to use
 24    for today.      Did I read that correctly?
 25           A.   Correct.
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                                                                    Page 63
  1           Q.    Okay.     And you go on to state, I admit I
  2    was not too happy about stopping my planning and
  3    leaving drivers in the phone query to help those
  4    drivers; however, I had to do what I had to do to
  5    get things done.         Did I read that correctly?
  6           A.    Correct.
  7           Q.    Okay.     And so as reflected in your
  8    e-mail, you understood that for certain tasks you
  9    needed to be in the office to do what you had to
 10    do to get things done; is that right?
 11           A.    Correct.
 12           Q.    Why don't we go to the next exhibit.
 13    We'll mark this as number 6, and it's Schneider
 14    138 through 140.
 15                (Plaintiff's Exhibit 6 was
 16                  marked and identified.)
 17           A.    Uh-huh.    (Affirmative).
 18           Q.    I'm sorry.    I don't think I told you at
 19    the beginning, so this is totally my fault.
 20    Because we have a court reporter who is taking
 21    everything down, you have to respond audibly
 22    saying --
 23           A.    I'm so sorry.
 24           Q.    No, it's my fault.      It's not your fault.
 25    And you likely will continue to do it because
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                                                                    Page 64
  1    it's very common and I will do it as well.
  2           A.   I'm so sorry about that.
  3           Q.   All right.     Do you have Exhibit number 6
  4    in front of you?
  5           A.   Yes.
  6           Q.   Do you -- and this is -- this is a 2018
  7    associate acknowledgement form.           Do you recognize
  8    this document?
  9           A.   Yes.
 10           Q.   Do you recall completing the 2018
 11    associate acknowledgement recertification form?
 12           A.   Yes.
 13           Q.   All right.     And under number one, it
 14    states that you acknowledge that the -- and I'll
 15    just summarize here, the equal -- the code of
 16    conduct, equal opportunity employer, the
 17    antitrust discrimination, harassment and
 18    retaliation prevention, drug and alcohol policies
 19    have been made available to you and you
 20    understand, agree, and acknowledge to abide by
 21    them during your employment with Schneider; is
 22    that right?
 23           A.   Yes.
 24           Q.   Okay.    And you acknowledge that you
 25    reviewed the Schneider policies and understand
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                                                                    Page 65
  1    them or that you will promptly review the
  2    Schneider policies and agree to immediately bring
  3    any questions you have about them to your leader
  4    or human resource business partner; is that
  5    right?
  6           A.    Yes.
  7           Q.    Okay.   And if we look down near the end
  8    of number one, you clicked the tab that says I
  9    agree, right?
 10           A.    Yes.
 11           Q.    Okay.   I'm going to put that one aside.
 12    We can go to the next exhibit, which will be
 13    Exhibit number 7, and it's Bates-stamped
 14    Schneider -- it has Exhibit A on it, which we can
 15    cross off.      But it's Schneider 271 through 274.
 16                (Plaintiff's Exhibit 7 was
 17                  marked and identified.)
 18           A.    Yes.
 19           Q.    Okay.   So Exhibit 7 is Schneider's
 20    discrimination, harassment and retaliation
 21    prevention policy; is that right?
 22           A.    Yes.
 23           Q.    Do you recognize this document?
 24           A.    Yes, sir.
 25           Q.    And you are aware that throughout your
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                                                                    Page 66
  1    employment, Schneider's policies were available
  2    to you on its intranet; is that right?
  3           A.   Yes.
  4           Q.   And was this particular policy, the
  5    discrimination, harassment and retaliation
  6    prevention policy available to you on Schneider's
  7    intranet?
  8           A.   Yes.
  9           Q.   And have you reviewed this policy
 10    before?
 11           A.   Yes.
 12           Q.   All right.     And if you look under
 13    principles it states, it is the policy of
 14    Schneider that harassment, discrimination and
 15    retaliation are prohibited and will not be
 16    tolerated; do you see that?
 17           A.   Yes.
 18           Q.   And was that your understanding?
 19           A.   Yes.
 20           Q.   If you turn to the second page under
 21    complaint reporting procedures; do you see that?
 22           A.   Yes.
 23           Q.   All right.     If you look to kind of the
 24    middle, I think it's the third sentence, it says,
 25    associates who believe they are being subjected
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                                                                    Page 69
  1           Q.   All right.     Ms. Geter, are you ready to
  2    resume your testimony?
  3           A.   Yes, sir.
  4           Q.   Okay.    Who is Travis Torrence?
  5           A.   He was my team lead at the time.
  6           Q.   Do you know when he became your team
  7    lead?
  8           A.   I believe mid or early -- early to
  9    mid-2018.
 10           Q.   And prior to him becoming your team
 11    lead, do you know what position he held?
 12           A.   Yes.    Area planning manager of Atlanta
 13    on first shift.
 14           Q.   Was he one of your -- one of your peers?
 15           A.   Yes, he was one of my peers.
 16           Q.   Did you ever work with him when he
 17    worked as an area planning manager?
 18           A.   Yes.    Travis helped train me.
 19           Q.   And do you know to whom Travis reported
 20    when he was a team lead?
 21           A.   Yes.    Doug Horton.
 22           Q.   And do you know who Doug Horton reported
 23    to?
 24           A.   Marianne Biskey-Rose.
 25           Q.   Do you know -- as a team lead, did
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                                                                    Page 72
  1    extended hours out of the bunch during this time.
  2            Q.   And from mid-2018 through the
  3    termination of your employment, what were your
  4    hours?
  5            A.   11:00 p.m. to 10:00 a.m.
  6            Q.   So you worked an 11-hour shift?
  7            A.   Yes, sir.
  8            Q.   And what days of the week did you work
  9    between mid-October mid 2018 through the
 10    termination of your employment?
 11           A.    Wednesday, Thursday, Friday, and Sunday.
 12           Q.    Those were your scheduled days?
 13           A.    Yes, sir.
 14           Q.    And when did you start working that
 15    schedule, Wednesday, Thursday, Friday, Sunday
 16    11:00 p.m. to 10:00 a.m.; do you recall?
 17           A.    No, I do not recall at this time.
 18           Q.    Was it prior to the time that you
 19    started reporting to Travis?
 20           A.    Yes, sir.    I was under, I believe,
 21    Rodney Dunn when they switched those schedules
 22    over.    I just can't remember the specific time.
 23           Q.    Did you have a good working relationship
 24    with Travis?
 25           A.    Yes.
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                                                                    Page 75
  1           Q.   Do you know for Ms. Williams,
  2    Mr. Seymour, and Ms. Young what their work hours
  3    were during the 2018 through 2019 time period?
  4           A.   I believe Desmond Seymour's hours --
  5    because he had -- yeah, his hours was at
  6    10:00 p.m. to 6:00 a.m.         Audrianne's hours was
  7    10:30 p.m. to 8:00 a.m.         Ms. Elaine's hours was
  8    from 11:00 p.m. to 7:00 a.m.
  9           Q.   And do you know what days of the week
 10    they worked?
 11           A.   I do remember -- I remember -- I
 12    remember their off days, so I would have to write
 13    it out.     Could I come back to that for you?
 14           Q.   They didn't work the same days as you
 15    did; is that accurate?
 16           A.   Correct.    They did, except for
 17    Thursdays.      Thursday night I was by myself.
 18           Q.   And when you would request time off,
 19    would you -- during the 2018 -- mid-2018 through
 20    the date of your termination in 2019, would you
 21    request time off from Travis?
 22           A.   Yes.   Via e-mail and via our ADP on the
 23    portal.
 24           Q.   And if you had questions about work,
 25    would you reach out to Travis to answer those
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                                                                      Page 83
  1    employment.
  2           Q.   Do you know whether Julissa worked
  3    reduced hours?
  4           A.   No, sir.    She was full-time employment
  5    as well.
  6           Q.   During your employment at Schneider, are
  7    you aware of any area planning managers who were
  8    hired for a part-time position?
  9           A.   I'm thinking.      Give me one second.       No,
 10    sir, not to my knowledge at this time.
 11           Q.   In your lawsuit against Schneider you're
 12    alleging that you suffer from a disability; is
 13    that correct?
 14           A.   Yes, sir.
 15           Q.   And what disability do you suffer from
 16    or disabilities?
 17           A.   Post-traumatic stress syndrome, major
 18    depression and panic disorder.
 19           Q.   And do these all stem from the assault
 20    that you suffered in July of 2013?
 21           A.   Yes, sir.     And also from my -- I had an
 22    incident on the truck when I was in Canada when I
 23    was a driver for Con-way.
 24           Q.   And why don't you tell me about that.
 25           When were you a driver for Con-way?
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                                                                      Page 86
  1    don't know how that happened, but my truck
  2    bounced back, and I gained my truck control.               I
  3    stopped the truck once I gained control and I
  4    literally had a meltdown with my dispatcher right
  5    then and there with my parents on three-way.
  6    They had to calm me down for, like, 45 minutes
  7    before I even was able to touch the wheel.
  8            And it's hard for me still to kind of drive
  9    in inclement weather conditions now where I used
 10    to be like, man, come on, let's go.            Now it's a
 11    little difficult for me for that.            So even when
 12    it was raining, even if I have to even drive to
 13    work that was difficult, believe it or not.              And
 14    I did not know that I would have that type of
 15    experience, you know, but that's where that came
 16    from.
 17           Q.   Okay.    And this would have been before
 18    the assault in July of 2013, correct?
 19           A.   Correct.    Yes, sir.
 20           Q.   Do you know when you were diagnosed with
 21    PTSD?
 22           A.   October of 2018.
 23           Q.   And do you know when you were diagnosed
 24    with major depression?
 25           A.   I believe September or August of 2015.
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                                                                    Page 87
  1    Yeah, I believe so.
  2           Q.   Do you know who diagnosed you with major
  3    depression in September of 2015?
  4           A.   Dr. Maria Goyco.
  5           Q.   And do you know who diagnosed you with
  6    PTSD in October of 2018?
  7           A.   Dr. Cassandra, C-a-s-s-a-n-d-r-a; Wanzo,
  8    W-a-n-z-o.
  9           Q.   Are you still seeing Dr. Goyco?
 10           A.   No, sir, I'm not.
 11           Q.   When did you stop seeing Dr. Goyco?
 12           A.   I stopped seeing her, I believe, fall of
 13    2016 and I switched physicians.
 14           Q.   And who did you start seeing in the fall
 15    of 2016?
 16           A.   The fall of 2016 I went to -- I went to
 17    her and she dropped United Healthcare and I went
 18    to -- can you give me one second, please?
 19           Q.   Sure.
 20           A.   I believe I saw Dr. Goyco -- I'm sorry
 21    -- to 2017 because she dropped United Healthcare
 22    from her practice, and I could not use her no
 23    longer.     And then I had just started going to
 24    Dr. Etienne, which was my neurologist at that
 25    time, and she had gotten my medication for my
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                                                                    Page 88
  1    headaches calibrated properly, and I thought I
  2    was good.     And when Dr. Goyco dropped me due to
  3    the insurance situation I remember just being
  4    like, okay, I have Dr. Etienne and I'll find me
  5    another doctor.
  6           So I didn't have a doctor for probably a
  7    year, like a primary physician, but I had all my
  8    specialty doctors still, like my ear, nose and
  9    throat doctor, my OB, I still had my neurologist,
 10    but I didn't have a primary at that time.
 11           Q.   Okay.    So you stopped treating with
 12    Dr. Goyco in fall of 2017?
 13           A.   Yes.
 14           Q.   Okay.
 15           A.   But not on my own -- my own personal
 16    ability.     She stopped taking United Healthcare.
 17           Q.   Understood.     And do you know when you
 18    were diagnosed with panic disorder?
 19           A.   Dr. Wanzo diagnosed me with that as well
 20    in October.
 21           Q.   And with respect to the PTSD, what are
 22    the -- what are your triggers for the
 23    post-traumatic stress disorder?
 24           A.   So one of my triggers is in -- if I'm in
 25    close quarters with males or men I get very
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                                                                   Page 100
  1           A.    Where I was literally just trying to
  2    communicate with my management team to assist me,
  3    like I needed an extra teammate there with me at
  4    night.      I didn't mind doing the work.         I just
  5    couldn't handle the workload of usually two or
  6    three people for one person by myself at night.
  7    And I just expressed that to them several times,
  8    several years, and then it just came to a head at
  9    that point.
 10           Q.   It sounds like there was -- you believe
 11    there was too much work and not enough people to
 12    do the work?
 13           A.   Correct.    Not more so too much work.
 14    Can I correct that?
 15           Q.   (Shakes head up and down.)
 16           A.   I believe fair is fair, and where first
 17    shift would have four area planning managers to
 18    five, second shift would have two to three.              They
 19    gave us one to two on third shift, but then they
 20    also had supporting attributes on those other
 21    shifts, such as IOS or a temp agent that come in
 22    and actually answered the phone calls and helped
 23    them with their messages.
 24           Where on third if it's two of you guys,
 25    you're doing the workload of that whole shift,
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                                                                   Page 101
  1    whether it's messages, phone calls and
  2    dispatching the drivers and dealing with the
  3    driver issues and dealing with the one-on-one
  4    basis with the drivers.         Where the other
  5    instances the other shifts had an actual team of
  6    three or more people at a time.
  7           Q.   And I believe you testified that you had
  8    asked for assistance to deal with the workload
  9    for several years?
 10           A.   Yes, sir.
 11           Q.   Okay.    And how would you -- how would
 12    this typically come up?         How would you ask for
 13    the assistance?       What would you say?
 14           A.   I would bring it up to Doug Horton or
 15    Travis or even Marianne, hey, on this night we're
 16    a little heavier on phone calls, or on this
 17    particular night we're a little heavier with
 18    dispatch and we need more drivers to be available
 19    on this day.      I made sure I communicated that
 20    with my management team.
 21           I even volunteered -- and me and Audrianne
 22    Williams developed a schedule to help overlap the
 23    shifts to help each shift where if someone is out
 24    there's always someone there to help cover it.               I
 25    presented it to Marianne, and she sent it up to,
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                                                                    Page 104
  1    believe.
  2           Q.   Okay.    But as of October 15, 2018, you
  3    didn't tell anybody at Schneider that you
  4    suffered from PTSD, major depression, panic
  5    disorder, anything --
  6           A.   I didn't know -- I didn't know at that
  7    time because I got my diagnosis in that same
  8    month.
  9           Q.   But you didn't mention any type of
 10    medical condition to anyone at Schneider prior to
 11    October 15, 2018; is that correct?
 12           A.   Correct.    Other than my bilateral carpal
 13    tunnel that I had to go out of work for.              They
 14    know about that.
 15           Q.   Okay.    But other than your carpal
 16    tunnel, you didn't mention any of your medical
 17    conditions prior to October 15, 2018; is that
 18    right?
 19           A.   That's correct.
 20           Q.   And so in 2017 and 2018 when you would
 21    tell Schneider management that there was too much
 22    work and not enough people, you didn't mention or
 23    indicate to -- to anyone that you were suffering
 24    from some type of a medical condition and were
 25    requesting some type of an accommodation; would
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                                                                   Page 121
  1            Q.   Okay.   And you received this document
  2    from Schneider on or about October 26, 2018; is
  3    that right?
  4            A.   Yes, sir.
  5            Q.   And is that your address top left?
  6            A.   Yes, sir.
  7            Q.   Okay.   And in this document, Schneider
  8    is letting you know that your request for FMLA
  9    leave had been approved; is that right?
 10           A.    Yes, sir.
 11           Q.    And it indicates near -- kind of near
 12    the bottom in that bullet that you have been
 13    granted seven weeks and one day beginning October
 14    9, 2018 and ending on October -- I'm sorry --
 15    November 27, 2018; is that right?
 16           A.    Yes, sir.
 17           Q.    Okay.   And was your first day out, did
 18    it start on October 9, 2018?
 19           A.    Yes, sir.
 20           Q.    And after you -- was it your
 21    understanding after you received this letter that
 22    Schneider had granted your request for FMLA leave
 23    beginning on October 9, 2018 through November 27,
 24    2018?
 25           A.    Yes, sir.
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                                                                   Page 125
  1           Q.     All right.   If we can go to the next
  2    one, please.         This is Bates-stamped Schneider
  3    0413.       It's a one-page document.
  4                (Plaintiff's Exhibit 13 was
  5                   marked and identified.)
  6           A.     Yes, sir.
  7           Q.     And if you look kind of in the middle
  8    it's dated November 28, 2018; do you see that?
  9           A.     Yes, sir.
 10           Q.    And this document is addressed to you;
 11    is that right?
 12           A.    Yes, sir.
 13           Q.    And did you receive this document on or
 14    about November 28, 2018?
 15           A.    Yes, sir.
 16           Q.    And in this document, Schneider states
 17    that your federal FMLA now has a new ending date
 18    of December 31, 2018; do you see that?
 19           A.    Yes, sir.
 20           Q.    And as of that date, your 12 weeks of
 21    available federal FMLA will have expired; is that
 22    right?
 23           A.    Yes, sir.
 24           Q.    Okay.    So did you understand this
 25    document as Schneider granting you an extension
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                                                                   Page 126
  1    of your FMLA leave through December 31, 2018?
  2           A.   Yes, sir.
  3           Q.   And that your FMLA would be exhausted as
  4    of December 31, 2018?
  5           A.   Yes, sir.
  6           Q.   Okay.    And did you return to work on or
  7    about January 2nd?
  8           A.   I returned on January 2nd.
  9           Q.   Okay.    All right.     And we can go to the
 10    next document.       We'll mark this as Plaintiff's
 11    Exhibit 14, and it's Bates Schneider 0410.
 12             (Plaintiff's Exhibit 14 was
 13                 marked and identified.)
 14           A.   Yes, sir.
 15           Q.   All right.     And do you recognize this
 16    document?
 17           A.   Yes, sir.     It's my return-to-work form.
 18           Q.   Okay.    And it looks like this was
 19    completed by Dr. Wanzo?
 20           A.   Yes, sir.
 21           Q.   If you look at the bottom, it's dated
 22    December 15, 2018; is that right?
 23           A.   Which date?     I'm sorry.
 24           Q.   It looks like December 15, 2018.
 25           A.   Yes.
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                                                                   Page 127
  1            Q.   Do you see that at the bottom?
  2            A.   Yes.
  3            Q.   All right.    And if you look at section
  4    one here it says, patient is able to return to
  5    work without restrictions effective February 14,
  6    2019; is that right?
  7            A.   Yes, sir.
  8            Q.   Okay.   And in section two it says,
  9    patient is able to return to work with
 10    restrictions effective January 2, 2019 three days
 11    a week, ten-hour days; is that correct?
 12           A.    Yes, sir.
 13           Q.    So was it your understanding that you
 14    could return to work on January 2, 2019, but with
 15    the restriction of three days a week, ten-hour
 16    days?
 17           A.    Yes, sir.
 18           Q.    And you typically worked four days a
 19    week, 11-hour days; is that right?
 20           A.    Yes, sir.
 21           Q.    And in the comments, Dr. Wanzo states
 22    that you will be able to work three days per
 23    week, ten-hours a day effective on January 2,
 24    2019, right?
 25           A.    Yes, sir.
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                                                                   Page 133
  1           Q.   And it's addressed to you; is that
  2    correct?
  3           A.   Yes, sir.
  4           Q.   And do you recall receiving this
  5    document on or about that date?
  6           A.   Yes, sir, I did.
  7           Q.   Okay.
  8           A.   Around that date because it takes a
  9    while before it comes through the mail.
 10           Q.   Got it.    And in the second paragraph it
 11    says, Schneider has agreed -- well, let me start
 12    at the first paragraph.         It says, on December 17,
 13    2018 we received a return-to-work form from your
 14    physician outlining the following work
 15    restrictions through February 13, 2019: work
 16    three days per week, ten-hour days.            Did I read
 17    that correctly?
 18           A.   Yes, sir.
 19           Q.   Okay.    And Schneider agreed to
 20    accommodate those restrictions in your current
 21    position effective January 2, 2019 through
 22    February 13, 2019; is that right?
 23           A.   Yes, sir.
 24           Q.   All right.     And then when you -- when
 25    you returned to work on January 2nd, did you have
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                                                                   Page 134
  1    another discussion with Travis about what days
  2    you would be working?
  3            A.   I think it was, like, via e-mail or
  4    something I discussed with him about -- he was
  5    trying to put me off on Wednesdays and that's
  6    when I disclosed to him what I was trying to do
  7    with my external treatment going to those
  8    meetings.      I was like, I just need you to help me
  9    out here, but I am able to come to work, it's
 10    just that particular day I was just asking for
 11    him to just try to help me out with that.
 12           Q.    And why didn't you want to work on -- or
 13    why didn't you want off on Wednesdays?
 14           A.    No.   I was just trying to attend the
 15    meeting on Monday.        That's when they offered it
 16    at the church that they provided, so I was just
 17    trying to make sure I was available on those
 18    days.
 19           Q.    Okay.   So you told him that you didn't
 20    want to work on Mondays because you were going to
 21    -- you were going to attend the counseling
 22    sessions, right?
 23           A.    Yes, sir.
 24           Q.    Okay.   Did you discuss what three days
 25    you would be working?
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                                                                   Page 135
  1           A.   We talked about it and I said, hey, I'll
  2    work Wednesday and whatever day, just Monday
  3    that's the day I just -- and he accommodated it.
  4    That's how I got with the type of schedule I had,
  5    which I had Wednesday, Thursday, Friday, and then
  6    Sunday and Monday off.         That's how that worked
  7    out.
  8           Q.   So did you agree that you would work
  9    Wednesday, Thursday, Friday, or did you ask for
 10    those specific days?
 11           A.   I agreed to work those days because that
 12    was my original -- part of my original four-day
 13    schedule as well.
 14           Q.   Did you specifically ask to have Sundays
 15    off or not work Sundays?
 16           A.   Yeah, to go to that Monday morning -- to
 17    go to the -- to that meeting.
 18           Q.   All right.     So you wanted the Sundays
 19    off because your counseling session was on Monday
 20    morning?
 21           A.   Correct, yes, sir.       Thank you for
 22    clarifying.
 23           Q.   And Travis agreed to that?
 24           A.   Yes, sir.
 25           Q.   And when you returned to work on
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                                                                   Page 136
  1    January 2, 2019 were you coming into the office
  2    on Wednesday, Thursday, Fridays that you worked?
  3           A.   Yes, sir.
  4           Q.   All right.     And in this letter, Exhibit
  5    15, in bold Schneider says, please have your
  6    physician complete the attached return-to-work
  7    form prior to February 14, 2019 if there are any
  8    changes to your restrictions; is that right?
  9           A.   Yes, sir.
 10           Q.   The day that you were -- the Sunday that
 11    you were not working from January 2, 2019 through
 12    February 14, 2019, do you know who was covering
 13    that day?
 14           A.   Yes.   Desmond Seymour.
 15           Q.   Desmond Seymour was working the Sunday
 16    that you would typically work?
 17           A.   Desmond Seymour.       If it wasn't him, it
 18    was Audrianne Williams.         Between those two, if my
 19    memory serves me correct.
 20           Q.   And they didn't typically work on
 21    Sundays; is that right?
 22           A.   Desmond did.
 23           Q.   Do you know if -- was Desmond doing
 24    twice as much work then on Sundays?            Do you have
 25    any knowledge of that?
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                                                                   Page 137
  1           A.   Since why?     Because I wasn't there?
  2           Q.   Yes.
  3           A.   Any time no one is there everybody does
  4    twice as much work, no matter whether it's Sunday
  5    through Saturday.        Whoever is on that third shift
  6    if they're by their self, they're taking the
  7    workload of everybody.         So yes, I do concur with
  8    that.
  9           Q.   But would you agree then that your
 10    inability to work on Sundays impacted the third
 11    shift and their workload?
 12           A.   Yes.
 13           Q.   Do you know if Travis ever worked the
 14    Sunday that you were originally assigned to work
 15    during the time period that you were off --
 16    during the time period of your accommodation?
 17           A.   Not to my knowledge.        I thought it was
 18    Audrianne and Desmond around that time period.
 19           Q.   Do you have any personal knowledge as to
 20    who was working on the Sundays that you were not
 21    working because of your accommodations --
 22    workplace accommodations?
 23           A.   Meaning?    Can you rephrase it for me,
 24    please?     I'm sorry.
 25           Q.   Sure.    Do you know -- are you -- are you
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                                                                   Page 139
  1           Q.   Right.    And Travis would fill in for
  2    area planning managers who were not able to work,
  3    right?
  4           A.   Correct.
  5           Q.   Okay.    All right.     If we go to the next
  6    document, please.       And it's Bates Schneider 0385
  7    through 386.        Do you have that in front of you?
  8           A.   Yes, sir.
  9           Q.   Okay.    Let's mark this as Plaintiff's
 10    Deposition Exhibit number 16.           And this appears
 11    to be another fax that Dr. Wanzo sent to the HR
 12    leave administration team at Schneider on
 13    January 19, 2019; is that right?
 14             (Plaintiff's Exhibit 16 was
 15                 marked and identified.)
 16           A.   Yes, sir.
 17           Q.   Okay.    If you turned to second page,
 18    this is a return to work recommendation --
 19    attending physician's return to work
 20    recommendation; is that right?
 21           A.   Yes, sir.
 22           Q.   And this appears to be Dr. Wanzo's
 23    handwriting; is that right?
 24           A.   Yes, sir.
 25           Q.   And if you look down at the bottom, it
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                                                                   Page 140
  1    appears that she dated it January 19, 2019; is
  2    that correct?
  3           A.   Yes, sir.
  4           Q.   Okay.    And do you recall going over this
  5    return to work recommendation with Dr. Wanzo?
  6           A.   Yes.    It was a follow-up appointment
  7    about --
  8           Q.   Okay.
  9           A.   -- me returning back to work and how I
 10    was doing.      She was checking in on me at that
 11    particular --
 12           Q.   And was this an in-person appointment
 13    that you had with Dr. Wanzo?
 14           A.   Yes, sir.
 15           Q.   Okay.    And if you look at section two it
 16    states, patient is able to return to work with
 17    restrictions effective 1/2/19 three days a week,
 18    ten-hour days, right?
 19           A.   Yes, sir.
 20           Q.   Okay.    And then if you look at section
 21    one, patient is able to return to work without
 22    restrictions effective 3/20/2019; is that right?
 23           A.   Yes, sir.
 24           Q.   And you understood that Dr. Wanzo was
 25    requesting an extension of your --
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                                                                   Page 142
  1    temp and then that temp quit, and then we had --
  2    the first temp got fired and then the second temp
  3    we was preparing her for the maternity leave for
  4    Audrianne.      I was telling her how I was stressed
  5    out and stuff, but at that time, I do remember
  6    that conversation with her.
  7            Q.   Okay.
  8            A.   And this was a follow-up after three
  9    weeks of being at work basically.            Two and a
 10    half, three weeks at work.
 11           Q.    All right.    So you told Dr. Wanzo that
 12    the first temp had -- had quit, I believe, you
 13    said?
 14           A.    Got fired.
 15           Q.    The first temp was fired, Audrianne was
 16    about to go out on leave, and you were starting
 17    to train a second temp, and you were getting
 18    stressed out.        Is that because of the amount of
 19    work?
 20           A.    Yes.    Because I also had to train the
 21    temp while working by myself on certain nights
 22    that I had to train the temp and also still do my
 23    workload while trying to train the temp by myself
 24    without another counterpart there to take up the
 25    other part of the workload so I can focus on
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                                                                   Page 143
  1    training.
  2           Q.   Okay.    And you understood that Dr. Wanzo
  3    was requesting about a four-and-a-half-week
  4    extension of your modified work schedule, right?
  5           A.   Yes, sir.
  6           Q.   Okay.    And did you have any discussions
  7    with anyone at Schneider about the need for this
  8    extended accommodation or extending the
  9    accommodation?
 10           A.   Like, talking to management or anyone?
 11           Q.   Yes.
 12           A.   Not to my knowledge.        I just know I kept
 13    asking them we need more time to train our temps,
 14    and I know we was on crunch time because
 15    Audrianne was in her third trimester.
 16           Q.   You don't have a specific recollection
 17    of talking to Torrence or Marianne or any other
 18    Schneider management about extending your
 19    modified work schedule for another four and a
 20    half weeks?
 21           A.   I think Travis probably approached me,
 22    but I'm not going to falsify that on record,
 23    because I can't speculate.
 24           Q.   You just don't recall one way or the
 25    other?
Case 1:20-cv-01148-SCJ-JSA Document 46-4 Filed 06/07/21 Page 47 of 106


                                                                   Page 145
  1    your physician complete the attached
  2    return-to-work form prior to March 20, 2019 if
  3    there are any changes to your restrictions,
  4    right?
  5           A.   Yes, sir.
  6           Q.   Okay.    Do you know -- with respect to
  7    your modified work schedule, do you know who
  8    would have approved your requests?
  9           A.   HR gets the documents and the leave
 10    team, I know that, but then they have to send it
 11    over to management to approve so they know it
 12    doesn't affect their schedule, I believe, and
 13    then management approves it, and then it goes
 14    back to HR.
 15           Q.   Do you know specifically who would have
 16    approved your accommodation requests?
 17           A.   No, sir.
 18           Q.   And during this time period, March --
 19    I'm sorry -- February 14, 2019 through March 19,
 20    2019, do you know -- did you continue working the
 21    Wednesday, Thursday, Friday schedule?
 22           A.   Yes, sir.
 23           Q.   Did you continue working that schedule
 24    in the office?
 25           A.   Yes, sir.
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                                                                   Page 146
  1            Q.   Do you recall working from home at all
  2    during that time period?
  3            A.   Not to my knowledge, but probably so.
  4    Well, yes.      For the 20, 30 -- I mean, between
  5    February and March, yes, and I can tell you why.
  6    Because Audrianne had her baby February 26th and
  7    at that time Ms. Elaine quit a week after, and
  8    then I was left by myself completely.
  9            And I asked Travis on a phone call on our
 10    personal phones, I said, hey, he was like, hey, I
 11    know you just got the call that Audrianne just
 12    had the baby.      I was like, yeah, I do -- I said,
 13    man, I'm nervous, man.         I can't work by myself.
 14    He said, well, I need you to, you know, come in.
 15    I said, well, how about can I work from home?               He
 16    was like, you know what, yeah, that should be
 17    fine.    See how that goes and if it works good,
 18    then we just keep it like that until we get --
 19    [inaudible].      And that was the week of the 26th
 20    of February because the week Audrianne had her
 21    baby.
 22           Q.    I'm sorry.    You cut out a little bit.
 23    You said --
 24           A.    I'm sorry.
 25           Q.    No, that's okay.      Travis said -- you
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                                                                   Page 150
  1    really could not be off on that time, like away
  2    because I was the main person training the temps.
  3    And then when Audrianne was able to come into the
  4    office she would train the temps with -- like we
  5    would alternate training that night.            So one
  6    person would be with the temp, the other person
  7    would be dealing with all the workload.             And then
  8    once we're done with training, then we all would
  9    jump in and put the temp on hands-on training at
 10    that time.      But the first three to four hours to
 11    five hours of that shift we solo on that
 12    workload.
 13           Q.   All right.     And you did not return to
 14    full-time work on March 20, 2019; is that right?
 15           A.   Correct.
 16           Q.   We can go to the next document, please.
 17    It's Bates CG-41 through 45.          Actually, we'll
 18    mark this as kind of a group exhibit, 18 CG-41
 19    through 45 and Schneider 343 and 344.
 20             (Plaintiff's Exhibit 17 was
 21                 marked and identified.)
 22           A.   Okay.    Yes, sir.
 23           Q.   Okay.    And this is another medical note
 24    that Dr. Wanzo faxed to the Hartford on March 9,
 25    2019; is that correct?
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                                                                   Page 151
  1           A.   Yes, sir.
  2           Q.   And this is -- at least the first
  3    several pages of this document you produced in
  4    discovery; is that right?
  5           A.   Yes, sir.
  6           Q.   And do you recognize this document?
  7           A.   Yes, sir.
  8           Q.   Do you recall going over the progress
  9    report, the next two pages, with Dr. Wanzo?
 10             (Plaintiff's Exhibit 18 was
 11                 marked and identified.)
 12           A.   Yes, sir.
 13           Q.   And if you look on that first page, it
 14    asks again is the condition related to
 15    environmental and/or interpersonal issues in your
 16    workplace and Dr. Wanzo wrote lack of staffing,
 17    verbally abusive drivers.          Did I read that
 18    correctly?
 19           A.   Yes, sir.
 20           Q.   Okay.    And was there still, in your
 21    view, a lack of staffing?
 22           A.   Yes, sir.
 23           Q.   Okay.    And you were seeking an
 24    accommodation of a continued reduced work
 25    schedule because of lack of staffing?
Case 1:20-cv-01148-SCJ-JSA Document 46-4 Filed 06/07/21 Page 51 of 106


                                                                   Page 152
  1           A.   Yes, sir.
  2           Q.   And were drivers still being verbally
  3    abusive as of March 9, 2019?
  4           A.   I had occasional disgruntled drivers
  5    call in.
  6           Q.   And if you turn to the next page under
  7    functionality --
  8           A.   Yes, sir.
  9           Q.   -- it asks, specify what activities are
 10    impaired and how.       And Dr. Wanzo wrote, only able
 11    to work three days part time until April 30th.
 12    Did I read that correctly?
 13           A.   Yes, sir.
 14           Q.   Okay.    And did you discuss that with
 15    Dr. Wanzo about extending your modified work
 16    schedule until April 30th?
 17           A.   Yes, because she was trying to give them
 18    time to, you know, hire somebody else and so she
 19    was like it'll give you more time to help you
 20    process things because this is a little -- it's a
 21    lot when you're just coming back out and you --
 22    she was like -- it was just a lot, and I was
 23    trying to deal with it to the best of my ability
 24    at that time.       So she felt as though, like, I
 25    needed more time until they can get somebody else
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                                                                     Page 154
  1    return to work recommendation with Dr. Wanzo?
  2            A.   Yes, sir.
  3            Q.   All right.    And if you look at section
  4    one, it states, patient is able to return to work
  5    without restrictions effective April 30th.              She
  6    remains unable to work full time because of her
  7    clinical depression, PTSD and panic disorder
  8    symptoms.      She will be able to continue present
  9    schedule Wednesday, Thursday, Friday, ten hours a
 10    day, Thursday and Friday at home or any time
 11    solo.    Did I read that correctly?
 12           A.    I'm trying to figure out her
 13    handwriting.        I'm sorry.   I'm sorry.     Okay.    Yes,
 14    sir.    I can -- yeah, I see what you read, yes.
 15           Q.    Okay.    And did you discuss these
 16    accommodation requests with Dr. Wanzo on March 9,
 17    2019?
 18           A.    Yes.    I remember speaking with her about
 19    the situation with their temps and with Audrianne
 20    being out.      And she said why are you working by
 21    yourself?      I thought they was going to get some
 22    help for you?        I was like, well, they haven't
 23    found no one yet.        She was like, so that's not
 24    helping you with your treatment.           So what's going
 25    on?
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                                                                   Page 159
  1    April 12th, I was just communicating between HR
  2    and then Travis.
  3           Q.   Up until March 9, 2019, are you aware of
  4    any document -- are there other communications
  5    from Schneider indicating that it had approved
  6    any requests that you work from home when you
  7    were solo?
  8           A.   No, sir.    Other than the conversation
  9    that I stated I had verbally talked with Travis.
 10           Q.   If we could look at Exhibit 19,
 11    Schneider 321 through 323.
 12             (Plaintiff's Exhibit 19 was
 13                 marked and identified.)
 14           A.   Yes, sir.
 15           Q.   Okay.    And this is another attending
 16    physician's statement that appears to have been
 17    completed by Dr. Wanzo; is that right?
 18           A.   Yes, sir.
 19           Q.   Okay.    And she's still indicating --
 20    well, strike that.
 21           If you go to the second -- the third page,
 22    it appears to be dated March 30, 2019; is that
 23    correct?
 24           A.   Yes, sir.
 25           Q.   Did you have an appointment with
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                                                                   Page 160
  1    Dr. Wanzo on March 30, 2019?          Do you recall?
  2           A.   I believe I did.
  3           Q.   Do you recall discussing Dr. Wanzo's
  4    recommendations for your accommodations as of
  5    March 30th of 2019?
  6           A.   Yes.   We were talking about me working
  7    from home on the days I was solo because I was
  8    telling her how it was affecting me, and I told
  9    her the conversation me and Travis had.
 10           Q.   And according to the first page of this
 11    exhibit, Dr. Wanzo was still saying that your
 12    condition -- lack of staffing is related to your
 13    workplace condition?        I'm sorry.     Strike that.
 14           Dr. Wanzo was saying that you still need
 15    this accommodation because of lack of staffing;
 16    is that right?
 17           A.   Yes, sir.
 18           Q.   If you turn to the second page of this
 19    exhibit, kind of in the middle it says, what are
 20    your patient's current abilities, what type of
 21    work can your patient perform?           And she writes,
 22    you can only work three days per week, Wednesday,
 23    Thursday, Friday, working from home two days a
 24    week, ten-hour days.        Do you see that?
 25           A.   Yes, sir.
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                                                                    Page 161
  1            Q.   And did you discuss that with Dr. Wanzo?
  2            A.   I didn't discuss that part with her
  3    about working from home for those two days.              I
  4    remember her saying specifically on the days I
  5    was solo.
  6            Q.   And she goes on to state that your
  7    target date for your return to work was on a full
  8    time basis June 5, 2019; is that right?
  9            A.   Yes, sir.
 10           Q.    And did you agree with that --
 11           A.    Yes.
 12           Q.    -- assessment from Dr. Wanzo?
 13           A.    For the return date, correct.         Due to
 14    the fact my uncle was in hospice at the time, and
 15    I was really preparing myself for his death
 16    because he was a very close, close relative of
 17    mine.
 18           Q.    So you were requesting a modified work
 19    schedule -- or an extension of your modified work
 20    schedule from March 30, 2019 through June 5, 2019
 21    in part because of your uncle's illness; is that
 22    right?
 23           A.    Yeah, and due to lack of staffing as
 24    well.    Because mind you, we don't have two -- we
 25    didn't have two temps at all and Audrianne wasn't
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                                                                   Page 172
  1    received?
  2           A.    Yes, sir.
  3           Q.    Okay.   And Schneider states after these
  4    bullet points, with the multiple extensions of
  5    partial return to work schedule, this is
  6    appearing to be a permanent need.            Did I read
  7    that correctly?
  8           A.    Yes.
  9           Q.    All right.    And then they ask that you
 10    provide or that your healthcare provider provide
 11    additional information by no later than April 8,
 12    2019; is that right?
 13           A.    Yes, sir.
 14           Q.    Okay.   And do you recall -- I'll show
 15    you the exhibit here in a little bit.             Do you
 16    recall receiving a document attached to this
 17    where they asked -- Schneider had asked your
 18    physician for additional information?
 19           A.    Yes, sir.
 20           Q.    Okay.   And did you take that document to
 21    your physician?
 22           A.    I had to.    Yes, sir.
 23           Q.    Okay.   We can go to Schneider 301.         I'm
 24    sorry.      That's out of order.      It'll be CG-261
 25    through 262.
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                                                                   Page 176
  1    Hartford's policies.
  2           Q.   And you received those benefits for
  3    approximately one year at 66 percent of your
  4    salary?
  5           A.   Yes, sir.
  6           Q.   If you could go to -- I believe it's the
  7    next document in the stack.          It should be
  8    Schneider 301.
  9           A.   Yes.
 10           Q.   We'll mark this is Plaintiff's
 11    Deposition Exhibit number 22.           Do you recognize
 12    this document?
 13             (Plaintiff's Exhibit 22 was
 14                 marked and identified.)
 15           A.   Yes, sir.     It's the termination letter.
 16           Q.   Okay.    And did you receive this letter
 17    on or about April 12, 2019?
 18           A.   I received it April 12th, 11:15 p.m. by
 19    Travis Torrence in the on-on-one room.
 20           Q.   Okay.    And if you look at that first
 21    paragraph, it states were out on a continuous
 22    leave of absence due to medical reasons from
 23    October 9, 2018 through January 1, 2019 at which
 24    time you exhausted your 12 weeks of FMLA; do you
 25    agree with that?
Case 1:20-cv-01148-SCJ-JSA Document 46-4 Filed 06/07/21 Page 58 of 106


                                                                     Page 183
  1    normally perform on that day; is that correct?
  2           A.   I don't understand that question.           I'm
  3    sorry.
  4           Q.   Sure.    If Desmond was scheduled to work
  5    on Sunday and you because of your modified
  6    schedule we're not working on that Sunday, then
  7    Desmond would do his work and the work that was
  8    normally assigned to you; is that right?
  9           A.   Correct.    Yes.
 10           Q.   And same thing with Travis.         If he was
 11    either off on that Sunday or already scheduled on
 12    that Sunday and he was doing the work that you
 13    normally would do on Sundays, he was doing twice
 14    as much work as he normally would do, correct?
 15           A.   Correct.    And vice versa if they were
 16    out on the days I had to work on Wednesday,
 17    Thursday and Friday.
 18           Q.   Let's go to Exhibit 23, and this is a
 19    fax that's dated April 27, 2019.           It looks like
 20    it was sent from Dr. Wanzo to Schneider's HR
 21    leave administration team; is that correct?
 22             (Plaintiff's Exhibit 23 was
 23                 marked and identified.)
 24           A.   Yeah, they had sent this over to her
 25    after my termination to get more information from
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                                                                   Page 184
  1    her and I took the -- I think they -- no, they
  2    faxed this over to her, I believe, or they sent
  3    her a packet.
  4           Q.   If you can go to Exhibit 20.          Do you
  5    have that in front of you?
  6           A.   No.     I'm sorry.    What page is that?
  7           Q.   Exhibit 20 is Schneider 315.
  8           A.   Thank you.     I did not know I was
  9    supposed to be writing on --
 10           Q.   You're not.     You're not.
 11           A.   Okay.
 12           Q.   You're not.
 13           A.   Okay.    That's the one -- 305.        I think I
 14    just saw it.
 15           Q.   It's just 315.       It's a letter from
 16    Schneider dated April 2, 2019.
 17           A.   I'm sorry.     I really just saw it and
 18    then my fingers just -- here it is.            I know.
 19    That's what I'm mad at because I flipped the
 20    whole packet.
 21           Okay.    And you said three what again?
 22                 MS. LEGARE:     Three hundred and fifteen.
 23                 THE WITNESS:      Yes, I got it.
 24    BY MR. MILIANTI:
 25           Q.   Okay.
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                                                                   Page 185
  1           A.   Yes.
  2           Q.   All right.     Okay.    And if you look near
  3    the end of that letter, just before the bold it
  4    says, please state the below physician statement
  5    to your doctor to complete the additional
  6    questions that are needed for your accommodation
  7    extension requests.
  8           A.   Right.
  9           Q.   Please provide me with the requested
 10    information from you and your health care
 11    provider by no later than April 8, 2019, right?
 12           A.   Okay.    Yes, sir.
 13           Q.   Okay.    And then if you go to Exhibit 22
 14    -- I'm sorry -- 23, the document we were just
 15    looking at.
 16           A.   Yes, sir.
 17           Q.   Is this the physician statement that was
 18    attached to Schneider's April 2, 2019 letter?
 19           A.   April 2nd?     It should have been -- give
 20    me one second.
 21           Q.   Sure.
 22           A.   I guess this was documents -- because
 23    remember I didn't get it on the 2nd, so it came
 24    like -- any time Schneider sent me anything --
 25    I'm going to let you know this now -- it takes
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                                                                   Page 186
  1    four days to get to my house.           So on the 2nd, but
  2    possibly this was it.        I thought it was, like, a
  3    regular return-to-work form that we were looking
  4    at earlier.      That's what I was expecting, so my
  5    apologies on that.
  6           Q.   All right.     And Exhibit 23, do you
  7    recall providing this Schneider document with
  8    questions for your physician to Dr. Wanzo?
  9           A.   I believe I dropped it off to her.
 10           Q.   Okay.    Did you go over these questions
 11    with Dr. Wanzo?
 12           A.   I don't recall at this time.
 13           Q.   Did she discuss her responses with you;
 14    do you recall?
 15           A.   I'm not familiar with this right now, to
 16    be honest.
 17           Q.   Okay.    All right.     It states at the top,
 18    "Dear Physician, on 4/1/2019, you provided a
 19    return-to-work form that indicated that Cierra
 20    Geter needs to remain working a partial schedule
 21    of three days per week through June 5, 2019.               We
 22    have been accommodating Cierra working three days
 23    per week since January 2, 2019."           Did I read that
 24    correctly?
 25           A.   Yes, sir.
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                                                                   Page 187
  1           Q.   And you agree with those statements?
  2           A.   Yes, sir.
  3           Q.   Okay.    And then this document goes on to
  4    ask your physician specific questions relating to
  5    your condition and accommodation requests, right?
  6           A.   Yes, sir.
  7           Q.   And if you turn the page, this was
  8    signed by Dr. Wanzo on April 27, 2019?
  9           A.   Yes, sir.
 10           Q.   Is that what it looks like to you?
 11           A.   Yes, sir.
 12           Q.   All right.     And then question two says,
 13    provide a statement of any specific duties that
 14    Cierra is unable to perform because of a medical
 15    condition.      Provide information as to why she
 16    cannot return to work full time.           And Dr. Wanzo
 17    states, she is unable to work well in a
 18    fast-paced, high pressure environment.             Did I
 19    read that correctly?
 20           A.   Yes, sir.
 21           Q.   And do you agree with that statement?
 22           A.   Yes, sir.
 23           Q.   Did you discuss that with Dr. Wanzo that
 24    you had difficulty working in a fast-paced, high
 25    pressure environment?
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                                                                   Page 188
  1            A.   Yes, sir.
  2            Q.   And you had difficulty working in a
  3    fast-paced, high pressure environment since the
  4    time you returned on January 2, 2019, right?
  5            A.   Yes, sir.
  6            Q.   And you had difficulty working in a
  7    fast-paced, high pressure environment prior to
  8    January 2, 2019, correct?
  9            A.   Correct.
 10           Q.    Okay.   And your difficulty in working in
 11    a fast-paced, high pressure environment -- when
 12    did that start?        When did you start having
 13    difficulty working in a fast-paced, high pressure
 14    environment; do you recall?
 15           A.    How far back we can go?       When Greg
 16    Cochran was my manager.
 17           Q.    And what time period would that have
 18    been?
 19           A.    2014 through the time he was -- 2014
 20    through -- yeah, 2014 until February of 2016.
 21           Q.    If you turn to the next page --
 22           A.    Uh-huh.    (Affirmative).     Yes, sir.
 23           Q.    I'm sorry.    If you can go to number
 24    three -- question number three, it says that
 25    you're currently working Wednesday, Thursday and
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                                                                   Page 193
  1            Q.    And did you agree with her assessment?
  2            A.    I agreed with work from home when I told
  3    her the circumstances if I was to work by myself
  4    as I, you know, stated earlier when I spoke to
  5    Travis back in February about that and early
  6    March.       So that's what that was based upon, but I
  7    didn't tell her to specifically, you know, say
  8    that.
  9            Q.    Okay.   But did you agree with her that
 10    you needed to work -- that your current abilities
 11    allowed you to work three days per week, ten-hour
 12    days?
 13           A.    Correct.
 14           Q.    Okay.    And it asks, what is your target
 15    date for return to work for your patient, and she
 16    said on a part-time basis, August 26, 2019,
 17    right?
 18           A.    Right.
 19           Q.    And then it says, if part time on what
 20    date will your patient be able to increase to
 21    full time.      And Dr. Wanzo wrote, September 23,
 22    2019, right?
 23           A.    Yes.
 24           Q.    Okay.    And you agree with that statement
 25    that as of September 23, 2019 you would be able
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                                                                   Page 194
  1    to return to work in a full-time capacity?
  2           A.    I stated to her specifically that I was
  3    able to return in June, but I can't go by her
  4    assessment because she's the physician, so it's
  5    up to her to make that request as well.
  6           Q.    Well, did you disagree with her when she
  7    said she thought you could return to full-time
  8    work on September 23, 2019?
  9           A.    I'd be full -- I thought I was going to
 10    be full time before then, to be honest.             I
 11    didn't --
 12           Q.    Did you tell her --
 13           A.    Go ahead.    I'm sorry.
 14           Q.    Did you tell her not to write in
 15    September 23, 2019?
 16           A.    I didn't tell her to do nothing because
 17    I wasn't in the office when she wrote this one
 18    out, specifically, because I don't remember this
 19    sheet.      I remember just talking to her and
 20    handing her the documents and she was like, okay,
 21    I'm going to fill it out.          I'll turn it into
 22    Hartford.      Because I know she just have her note
 23    -- you know, like her notepad, and she -- you
 24    know, she's writing her doctor notes the whole
 25    time when I'm sitting there.
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                                                                   Page 197
  1    physician wrote that you could return to
  2    full-time work on September 23, 2019, did you
  3    contact the Hartford and tell them that you
  4    disagreed with that?
  5           A.   No, sir.
  6           Q.   Ms. Geter, are you aware of any area
  7    planning managers who requested a reduced work
  8    schedule for approximately six months?
  9           A.   To my knowledge, yes, sir.
 10           Q.   Who?
 11           A.   Tiffany Kitchens and the young lady we
 12    spoke about earlier with the cancer treatment,
 13    Candis Smith.
 14           Q.   Anyone else?
 15           A.   Other than maternity leave for
 16    Audrianne.      She was pregnant twice, so that's a
 17    six to eight-week time period on that.             But other
 18    than that, that's it.
 19           Q.   Okay.    And Audrianne, she was out on
 20    leave due to the birth of her children; is that
 21    right?
 22           A.   Yes, sir.     Correct.
 23           Q.   And she was out on a continuous leave of
 24    absence for six to eight weeks; is that your
 25    understanding?
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                                                                   Page 200
  1            Q.   Do you know why she was out on leave?
  2            A.   Her parents were ill, and she was going
  3    through a mental distress as well -- mental
  4    health distress as well.
  5            Q.   Do you know if she took time off under
  6    the FMLA?
  7            A.   Yeah.   I didn't see her for, like, a
  8    good month to two months almost.
  9            Q.   Do you know one way or the other whether
 10    she took time off under the FMLA?
 11           A.    No, sir.    But for that time -- that
 12    amount of time, we don't have that amount of time
 13    on our time off for personal time off.             We're
 14    only allotted -- she was hired -- rehired August
 15    of 2014 a month after me, so that's how I know I
 16    have the seniority far as time-wise.            How we get
 17    our time, we get on that same scale, so we had
 18    the same amount of time.         So she wasn't allotted
 19    that.    In order to be out that amount of time you
 20    have to be on FMLA.
 21           Q.    And you said you believe that she was
 22    not coming into work a lot beginning in July or
 23    August of 2018; is that right?
 24           A.    Yes, sir.    She was starting to work
 25    reduced hours.       Like her days instead of five
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                                                                   Page 210
  1    leave the premise when, like, we have tornado
  2    warnings in the area.        They have us move from
  3    that location because we're in a triple wide
  4    trailer to the hotel, like, two miles away to be
  5    in a commercial building instead of going home.
  6    So they'll have us probably go there if it's like
  7    a storm, but still work remotely.            And if the
  8    storm gets too bad, they'll tell everybody to go
  9    home once it's permissible.          And then if we had
 10    ice or sleet and Atlanta shuts down for that, we
 11    can work from home.        And that happened on two
 12    occasions -- three occasions while I was employed
 13    with Schneider for five years just with the ice
 14    alone.
 15           Q.   Do you know if your position was
 16    replaced or if somebody replaced you?
 17           A.   Ryan Wheeler was moved from first shift
 18    to third shift to cover me.
 19           Q.   How do you know that?
 20           A.   Because he told me.
 21           Q.   Do you know if anyone was hired to
 22    replace your position on third shift?
 23           A.   I can't remember her name.         I don't know
 24    if she's no longer there, but it was a young lady
 25    they hired right after me to cover my shifts.
Case 1:20-cv-01148-SCJ-JSA Document 46-4 Filed 06/07/21 Page 69 of 106


                                                                   Page 211
  1    She came in at 2:00 a.m., which I requested
  2    Travis at that time have somebody come in
  3    mid-shift from 2:00 a.m. to 10:00 a.m. to cover
  4    the latter part of my shift, which is the
  5    eight-hour period of my shift.
  6           Q.   Do you know that person's name?
  7           A.   I do not know her name because she was
  8    not hired when I was there, but I can try to
  9    acquire that for you.
 10           Q.   Do you know her race?
 11           A.   African American.
 12           Q.   Do you know how long she worked -- do
 13    you know if she's still employed at Schneider?
 14           A.   I don't know that specifically.
 15           Q.   Do you know who hired her?
 16           A.   Travis Torrence and -- she had to go
 17    through Travis, Doug and Marianne because that's
 18    the hiring process.
 19           Q.   And do you have any personal knowledge
 20    as to who would have hired her?
 21           A.   No, sir.
 22           Q.   Can you go to your charge of
 23    discrimination?       It's Bates-stamped Schneider
 24    252.
 25           A.   Yes, sir.
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                                                                   Page 216
  1    accommodate for second shift.           So I knew why he
  2    was taking a lot of time to, you know, make up
  3    that time, but then at same time we're only
  4    allotted maybe 25, 35 days a year.
  5            Q.   And you said that the management team
  6    was permitted to take more time off than all the
  7    other area planning managers; is that right?
  8            A.   That's correct.
  9            Q.   Okay.   And some of those area planning
 10    managers were white; is that right?
 11           A.    Yes, sir.
 12           Q.    Okay.   Other than your belief that your
 13    management team was permitted to take more time
 14    off than area planning managers, any other ways
 15    in which you believe you were discriminated
 16    against because of your race?
 17           A.    I looked at my circumstances with
 18    Tiffany Kitchens because we were hired around the
 19    same time and I looked at how she was treated
 20    compared to how I was treated.           At the end she's
 21    still employed, I'm not.
 22           Q.    Why do you believe that's tied to your
 23    race?
 24           A.    [Inaudible] -- I might not know the
 25    circumstances in particular with her specific
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                                                                        EXHIBIT
          □                                                             Plaintiff's 2




          July 2, 2014



          Cierra Chanel Geter




          Dear Cierra,



          Congratulations on your successful completion of our interview process! I am very pleased to extend a conditional job offer
          to you for the position of Dispatch Analyst within the Schneider organization. I am confident that you will find the role both
          challenging and enjoyable. Below is a summary of the specific offer.


          Position:                  Dispatch Analyst; 3rd Shift; Full-time; 40 hours per week; Exempt

          Start Date:                July 14, 2014

          Starting Annual
                                     $46,000.00 annually, paid semi-monthly
          Salary:

                                     Your profit-share target will be $2,500 appropriately prorated based on
                                     eligibility. Actual payouts are based upon company financial performance and
          Profit Share Plan:         are made annually. You will be eligible to participate in this program the 1st of
                                     the month following 6 months of employment. Your payout will be pro-rated the
                                     first year of employment based on the number of months you are eligible.

                                     You are eligible for the associate benefit package which will be presented to
                                     you on or before your first day of employment. You must enroll in some
                                     benefits within 30 days of your start date to be eligible for those benefits for
          Benefits:
                                     that year. Please consult the benefit plan summary descriptions for more
                                     information regarding specific benefit programs for your employment
                                     classification.

                                     You will be granted 1 week(s) of vacation on your first day of employment. You
          Vacation:
                                     will be granted 2 weeks of vacation on January 1st following your date of hire.

                                     You will be eligible for six (6) paid flex days per year (prorated during your first
          Flex Days:
                                     year of employment).

                                     You will be eligible for seven (7) paid holidays per year (prorated during your
          Holidays:
                                     first year of employment).

                                                                                                      SCHNEIDER 000506
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          The above offer is contingent upon successful completion of a number of factors including, without limitation, the following:
          (a) a pre-employment drug screening, (b) a background check (including criminal record review), (c) your ability to provide
                                                                                                                  ----- -- ----
          us with proof of your identity and authorization to work in the United States, and (d) other relevant considerations which may
          arise.



          Upon acceptance of this offer, you will need to bring on your first day of work, the following items to fill out the appropriate
          new hire paperwork.

              1. Proof of your identity and authorization to work in the United States to satisfy the I-9 form.
              2. The original signed social security number card for Payroll purposes.
              3. Voided check as all pay is directly deposited in the banking facility of your choice.
              4. Any additional benefit agreements that were enclosed in this package should be given to the manager on your first
                 day of employment.

          Any employment between you and the Schneider organization which may arise shall be, at all times, employment-at-will.

          We are very excited about you joining the Schneider organization. We feel you would be a great addition to the team!
          Please give our conditional offer serious consideration and contact me directly at 6784792801 if you have any questions.

          Gregory Cochran
          Operations Manager
          6784792801
          Schneider




                                                                                                         SCHNEIDER 000507
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SCHNEIDER'"                                                                     EXHIBIT

                                                                                Plaintiff's 4

                                                 Job Description


                        MANAGER, AREA PLANNING
TYPE OF ROLE:                                             Exempt (Salaried)

DEPARTMENT(s):                                            Bulk, Dedicated, Intermodal, Van Truckload

REPORTS TO:                                               Various

JOB SUMMARY:

The Area Planning Manager is accountable for establishing, communicating and executing the plan for a specific
geographic region or a specific customer by matching available driver capacity and equipment with customer
load tenders. As the recognized expert on freight flows for that customer, the APM collaborates with Operations,
Sales, Pricing, and Customer Service to ensure overall key factor success.

ESSENTIAL JOB DUTIES AND RESPONSIBILITIES:

•   Establish the market plan to include: shift direction, priority of freight, load and stage, driver calendar
    requests, etc. Continually assess market conditions and performance, and adjust plan accordingly.
•   Be recognized expert in role. Provide expertise on new opportunities and proactively identify potential
    solutions that maximize overall value for Schneider.
•   Assign freight to drivers in accordance with the market plan to maximize all aspects of the value triangle
    (profitability, customer satisfaction, and driver retention). All decisions also need to be made in accordance
    with Schneiders #1 core value: safety.
•   Generate actions to improve key factor results such as: service, unused hours and unbilled miles.
•   Communicate market plan to Customer Service, Operations, and support shift Transportation Planners.
•   Be technical expert in dispatch utilization tools and analytical planning dashboards.
•   Provide solicitation guidance to Customer Service and Inside Sales and make decisions on load acceptance
    (including unique situations or same day requests).
•   Establish priority and direction for trailer assignment, and assign trailers for dispatch.
•   Set trailer plans with customer and proactively address poorly utilized trailers or inefficient trailer pools.
•   Collaborate with CS and Operations to successfully onboard new customers (to include participation in start-
    up calls).
•   Possess an intimate understanding of customers and unique needs.
•   Identify root cause of poor service trends and collaborate with Operations and Customer Service to develop
    action plans to restore service to desired levels.
•   Coach CS, Operations, Box associates, and Transportation Planners on opportunities for key factor
    improvement in market (i.e. load creation or appointment guidance, driver availability direction, chronic
    customer or driver trends, etc.)
•   Make spot pricing decisions, and provide recommendations to pricing managers on long-term pricing
    opportunities and market strength indicator based on observed market trends.
•   Provide feedback to Pricing Managers / Sales / CS / MM on long-term challenges and opportunities in
    assigned market (i.e. flows needed for driver calendars, needed lanes, day of week variability, etc).
•   This description is not an exhaustive or comprehensive list of all job responsibilities, tasks, and duties.

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•   Other duties and responsibilities may be assigned and the scope of the job may change as necessitated by
    business demands.
•   Maintain regular and consistent attendance and timeliness.
•   Exhibit behavior in alignment with our core values at all times.

SPECIALIZED KNOWLEDGE:

•   Bachelors degree or equivalent work experience in a related field required
•   1-2 years of customer service, dispatch and/or operations experience

EDUCATION LEVEL:                                           Bachelor or equivalent work experience

EXPERIENCE:                                                1-3 Years

SKILLS/BEHAVIORS NECESSARY TO PERFORM JOB

Abilities or qualities an associate must possess in order to perform the essential job duties - Listed by Core
Competency

COMMUNICATION

Effective and efficient oral communication skills

Effective and efficient written communication skills

Ability to develop relationships through interpersonal skills

Effective listening skills

DIVERSITY & INCLUSION/TEAM PLAYER

Collaboration skills

Ability to work effectively in a team environment

POSITIVE IMPACT

Ability to positively impact others

Influencing skills, resulting in a positive outcome

Take initiative, a self-starter

Ability to work well in a fast paced, high pressure environment

PROBLEM SOLVING & DECISION MAKING

Problem solving skills

Decision making skills (make best value decisions)

Analytical skills

Strategic thinking skills




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 Ability to analyze various courses of action and make recommendations

 Project Management skills

 Sound judgement

 RESULTS ORIENTATION

 Ability to manage multiple priorities and prioritize workload

 FUNCTIONAL & TECHNICAL EXPERTISE

 Customer service skills

 Ability to work independently with little supervision

 OTHER

 •   Strong financial and analytical skills. Able to identify a root cause from a subset of data and establish a
     relevant action plan to correct root cause of issue.
 •   Ability to evaluate a situation and create innovative, balanced solutions
 •   Strong work ethic.

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                                                                          EXHIBIT

                                                                         Plaintiff's 5

From:                              Geter, Cierra
Sent:                              Friday, August 25, 2017 8:45 AM
To:                                Horton, Doug; Biskey Rose, Marianne; Dunn, Rodney; Torrence, Travis
Subject:                           Concerns on 3rd Shift




Good Morning Everyone,

I know you all do a great deal to help the members of our team, I feel I can turn to you all with several matters that has




--
an increase amount of ATLANTA drivers coming into the office needing a truck to run for the day (I.E. Scott
           Eseral
                                                                                                              -
caused us much personal frustration and even more lost time for support shift. For several weeks now, there has been
                                                                                                                        / Kim
                            …etc) . I want to help better the system that we have to issue out trucks to our drivers in the
time of need. Especially during one of the most busiest time of our day/shift
0400‐0630. Sometimes there are no notes about the driver needing a tractor nor notes about who trucks are at the
ATL/OC shop being repaired. We are aware on how to use the tractor/key‐code list to help assign the tractors to the
driver but knowing who needs one is the issue. This causes drivers who are calling in or sending in messages with their
issues to wait for long periods of time. Around that time of morning it feels we like are falling behind in our own work,
and our production. This morning I had to leave my house ( I was working from home) and rush over to the office to find
two drivers tractors to use for today. I admit I was not too happy about stopping my planning and leaving drivers in the
phone query help those drivers, however I had to do what I had to do to get things done.

Also another concern we always have: Who do we need to call in the early morning hours for help on 3rd Shift?
Another concern is our safety at night. Are there any security measure being considered?
Would it be possible for the our team ( all three shifts) to come together at a dinner on a Saturday night to have a
discussion across the board about any issues and concerns?

I know our team would sincerely appreciate being able to use their time more efficiently. I look forward to your
response so I can tell them what to expect.

Cierra Geter
Area Planning Manager
Schneider National, Inc.
www.schneider.com




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       2018 Associate Acknowledgements USA Recert                                              Plaintiff's 6
    (Answer all questions in this section)

        ✓ 1. I acknowledge that the policies, procedures, rules, and regulations of Schneider National, Inc. and its affiliates     1 Points
              and subsidiaries (collectively referred to as "Schneider"), including but not limited to Schneider's Benefits Guide
              (which describes its benefit plans), Code of Conduct, Equal Opportunity Employer, Antitrust, Discrimination,
              Harassment and Retaliation Prevention, Drug and Alcohol, Code of Conduct, Insider Trading and Acceptable
              Use Policies (collectively, the "Schneider Policies'1, have been made available to me and I understand,
              acknowledge and agree to abide by them in my employment with Schneider. I have reviewed the Schneider
              Policies and understand them, or I will promptly review the Schneider Policies and agree to immediately bring
              any questions I may have about them to my leader or Human Resource Business Partner (NOTE: Various
              Schneider Po/ides are available on the Schneider Intranet- under the Company Po/ides and Guidelines
              section). I further understand and acknowledge that the Schneider Policies are updated and that new
              Schneider Policies are added from time to time. I agree to review and familiarize myself with such new and/ or
              updated Schneider Policies as they become available.

              To the best of my knowledge, neither I nor any member of my immediate family is engaged in any activity or
              has any knowledge of past or present activity which represents a present or potential conflict of interest with
              respect to my employment with Schneider. Examples of conflicts of interest include (but are not limited to):
              being currently employed by, or on the board of directors of, an organization that competes with Schneider;
              having an interest in, or being an owner of, an organization which does a substantial amount of business with
              Schneider (e.g., a vendor, customer, or other similar relationship); directly investing in other transportation
              companies; disclosing or misusing material non-public information for personal financial gain; seeking
              reimbursement or payment from a vendor, supplier and/or customer for activities that directly relate to my
              Schneider duties; making or approving improper payments to any government or government officials;
              accepting or making payments in violation of the Foreign Corrupt Practices Act; or receiving loans or
              guarantees of obligations from Schneider). If a potential conflict of interest arises in the future, I agree to
              promptly explain such potential conflict of interest to my leader and Human Resource Business Partner. I agree
              that if I currently have a potential conflict of interest I will bring it to my leader's and HRBP's attention
              immediately.

              I have not made and I have not promised to make, nor will I make, any payment to any public official, party
              candidate or any other person knowing or having reason to know that any payment would be used to influence
              or induce such official, party candidate or any other person to misuse his/her official position to obtain, retain
              or direct business for or to Schneider.

              I have not, and w ill not, engage in any activity inconsistent with the various state and federal antitrust laws.
              Examples of activities that are inconsistent with state and federal antitrust laws and in which I may not be
              engaged include (but are not limited to): engaging in illegal price fixing or collusion with other organizations;
              engaging in illegal bid-rigging processes, etc.

               @ I agree(*)
               O I do not agree
        ✓ 2. I acknowledge that I do not have a right and I do not have a reasonable expectation of personal privacy                1 Points
              and/or confidentiality in my use of Schneider E-mail, electronic communications, computers, telephones,
              Schneider issued cell phones or other electronic devices, information technology, desks, and office systems, as
              noted in the Schneider Policies including, without limitation, the Acceptable Use Policy.

                  I acknowledge, understand and agree that I have been able to read and review a copy of the current version
                  of the Schneider Mediation & Arbitration Policy ("SMAP") either in hard copy or through a hyperlink visible and
                  accessible to me in the Schneider system I am using to make these Associate Acknowledgements at this time
                  (and I understand that a copy of the most current version of the SMAP is also available to me on the internal
                  Schneider website, Transit or Compass, under the Company Po/ides and Guidelines section), and that if any
                  employment-related disputes now exist or arise in the future between me and Schneider, we are and will be
                  bound by the terms of the SMAP, under which we each waive our rights to have any "Covered Disputes" (as
                  defined in the SMAP) be heard or decided through any type of judge or jury trials, administrative hearings, or
                 through any type of "Representative Action" or "PAGA Action" (as defined in the SMAP), and agree that any
                  Covered Disputes can only be resolved through voluntary mediation, mandatory individual final and binding
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             arbitration, or a Small Claims Court action, except as expressly set forth in the SMAP. I acknowledge and
             understand that I remain bound by any version of the SMAP to the extent I previously had notice of and
             access to a copy of that version of the SMAP, did not opt out within 30 days of my initial receipt or notice
             thereof, and have not become bound by a more current version of the SMAP. I understand that, upon my
             initial receipt or notice of the current version of the SMAP, if I am a new associate who has never had previous
             notice of and access to a copy of and become bound by that version of the SMAP, I can elect to not be bound
             by that version of the SMAP by following the procedures in the "Employee Election To Not Be Bound By SMAP"
             section of the SMAP within 30 days of my initial receipt or notice of that version of the SMAP, and if I do not
             do so or did not do so when fir.st provided notice of and access to that version of the SMAP, and have not
             become bound by a later version of the SMAP, then Schneider and I will be required to arbitrate any Covered
             Disputes in accordance with the most recent version of the SMAP to which I have become bound. I also
             acknowledge, understand and agree that, in the event I did not or do not provide a timely and proper Election
             Notice to not be bound by any version of the SMAP to which I have become bound, that will be deemed to be
             my exercise of my right under the National Labor Relations Act to not engage in concerted activity, including
             without limitation as to any Representative Action or PAGA Action.

              (!) I agree(*)
              (J I do not agree
       ✓ 3. If I work or have worked in california, I further acknowledge, understand and agree that if I have or may have       1 Points
             claims that can or could be asserted now or in the future under the california Labor Code Private Attorney
             General Act of 2005 f'PAGA'1, I have had a sufficient opportunity to learn and understand the nature and
             extent of any such PAGA claims, and I knowingly and voluntarily waive any and all rights to bring or participate
             in any type of PAGA Action to resolve, decide or adjudicate any such Covered Disputes, including but not
             limited to claimed violations of california laws related to the payment or non-payment of and/or deductions
             from compensation or wages of any type {including bonuses and commissions), accrual or use or payment of
             vacation or sick pay or other paid time off, providing or authorizing and permitting meal or rest periods,
             reimbursement of employment-related expenses, inaccurate wage statements and timely payment of wages.

             I also acknowledge, understand and agree that Covered Disputes under the SMAP includes any claims now
             being or hereafter brought putatively on my behalf as a proposed Representative Action and/or PAGA Action to
             the extent that certification or permission to proceed as a Representative Action or PAGA Action has not been
             granted as of the time I am making these Associate Acknowledgements. I further understand that I may
             obtain information about any such actions now pending by requesting it from my Human Resource Business
             Partner.

             I acknowledge that Schneider may modify, supplement, terminate, or revise any of the Schneider Policies,
             except those providing that my employment relationship is at-will, at any time and in accordance with
             applicable law. Except for the Schneider Mediation & Arbitration Policy and any stand-alone agreements
             between me and Schneider (including but not limited to the Schneider Associate Non-Disclosure and
             Developments Agreement and the integrated agreement with respect to the at-will nature of my employment
             relationship set forth below), which constitute binding contracts between me and Schneider, I acknowledge
             that the Schneider Policies do not, in whole or in part, constitute a guarantee of employment, right, benefit, or
             contract of employment, expressed or implied.

             I acknowledge that nothing in any of Schneider's polices is intended to prevent me from engaging in concerted
             activity protected by law or to interfere with, restrain, or prevent associate communications regarding wages,
             hours, or other terms and conditions of employment. I understand that I have the right to engage in or refrain
             from engaging in such activities during non-working time without influence or interference from management
             or the Company.

             I acknowledge, understand and agree that my employment with Schneider is and continues to be at-will.
             Nothing in my Associate Acknowledgements being made at this time or in the Schneider Policies changes the
             at-will status of my employment. My employment and compensation can be terminated, with or without cause,
             and with or without notice, at any time, by either me or Schneider. Only Schneider's Chief Executive Officer
             has the authority or legal ability to modify the at-will nature of my employment, which can be modified only if
             it is expressly stated in a written agreement signed by the Chief Executive Officer and me.

              (!J I agree(*)
              (J I do not agree
       ✓ 4. By completing, submitting and signing ( either electronically or by hand) these Associate Acknowledgements, I        1 Points
             hereby agree to all of the above statements, and agree to follow all Schneider policies during my employment.
             I certify by my electronic or hand signature that all entries and information in these Associate
             Acknowledgements and all other documents I am submitting to Schneider are true and correct. I agree that if I
             fail to sign or re-sign (upon Schneider's request) these Associate Acknowledgements, it may result in my
             employment being terminated. I also agree that providing false, misleading or incomplete statements,
             documents, or data to Schneider may result in termination of my employment, regardless of when it is
             discovered. I understand that my signing these Associate Acknowledgements does not guarantee me a job


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             with Schneider for any period of time and that my employment is "at will" and may be terminated at any time
             and for any lawful reason by either me or Schneider, with or without cause or notice.
              (!J I agree(*)
              (J I do not agree


  Points Scored: 4.0

  Percentage Scored: 100.0o/o

  Total Suggested Points: 4.0


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                      Plaintiff's 7




DESCHiP.!'Wf•J
Schneider is committed to maintaining a work environment that is characterized by mutual respect, professionalism,
and the absence of harassment, discrimination, and retaliation.



PH!NC!PU:S
It is the policy of Schneider that harassment, discrimination, and retallation are prohibited and will not be tolerated.
All managers, supervisors, associates, vendors, and customers are expected to adhere to a standard of conduct
which exemplifies and supports a professional work environment free from all forms of harassment, discrimination
and retaliation, Schneider is committed to compliance with all federal, state, !ocal and other applicable laws related
to the prevention of harassment, discrimination, and retaliation.

Harassment or discrimination based on race, color, creed, religion {including religious dress and grooming), sex,
(including pregnancy, childbirth, breastfeeding or related medical conditions, gender, gender identity or expression,
sex stereotype, transgender), marital status, sexual orientation, genetic background, national origin, age, ancestiy,
physical or mental disability, handicap, genetic background, military or veteran status or any other classification
protected by applicable law (a "Protected Category") is prohibited under this policy and will not be tolerated. Any
associate who violates this pol/cy will be subject to disciplinary action up to and including termination of
employment. All associates are expected to take prompt and appropriate action to prevent harassment and
discrimination in the work place, whether by Company associates, customers, or vendors.

Nothing in this pollcy is intended to prevent an associate from engaging in concerted activity protected by law orto
interfere with, restrain, or prevent associate communications regarding wages, hours, or other terms and conditions
of employment. Associates have the r!ght to engage in or refrain from such activities during non-working time
without influence or interference from management.



HhHASSMfNT
Harassment is defined as unwanted, deliberate or repeated conduct, whether verbal, physical, visual, or through
social media, that is based on a person's Protected Category as defined in this policy or as other.vise protected by
applJcable law. Schneider will not tolerate harassment that affects tangible job benefits, that unreasonably
Interferes with an Individual's work performance, or that creates an Intimidating, hostile, or offensive working
environment. Jokes between co-workers in the same protected classification can also constitute harassment.



f}EXU/\l HP,R/;.SSi\!ff!MT
Sexual harassment includes, but is not limited to, unwelcome conduct of a sexual nature, such as sexual advances,
sexual flirtations, propositions, displays of sexually suggestive objects or pictures, requests for sexual favors,
sexually-oriented teasing or practlca! Jokes, suggestive or insulting sounds, looks, or gestures, or any unwanted
physical conduct and other verbal, visual, written or physical conduct of a sexual nature such as comments,

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innuendos, touching, teasing, joking or Intimidation. Obviously, more severe forms o
assault, are prohibited.

Expressly or impliedly conditioning a job benefit (or the absence of a job detriment) on sexual favors is also
considered sexual harassment. As such, Schneider prohibits unwelcome sexual advances, request for sexual
favors, and all other verbal, visual, written, or physical conduct of a sexual or otherwise offensive nature where;

    •   submission to such conduct is made either explicitly or implicitly a term or condition of employment;
    •   submission to or rejection of such conduct is used as the basis for decisions affecting an indivldual's
        employment (i.e., performance appraisals, compensation, advancement, or any other term or condition of
        employment or career development); or,
    •   such conduct has the purpose or effect of creating an intimidating, hostile, or offensive working
        environment.

No associate shall threaten or imply, either explicitly or implicitly, that another associate's or applicant's refusal to
submit to sexual advances will adversely affect any condition of that person's employment or career development
with Schneider.


WOR!{PLJ.HJt:. !JULtYli~G r3;isEn Of\! Pi~OTECTED CATEGORY
Workplace bullying is defined as ~repeated, Inappropriate behaviors conducted by one or more persons (the
perpetrators) against another or others at the place of work or during the course of employment that take one or
more of the following formsn:

    •   Verbal bullying: slandering, ridiculing or maligning a person or his/her family; persistent name calling which
        is hurtful, insulting or humiliating; using a person as butt of jokes; abusive and offensive remarks.
    •   Physical bullying: pushing; shoving; kicking; poking; tripping; assault, or threat of physical assault; damage to
        a person's work area or property.
    •   Gesture bullying: non-verbal threatening gestures, glances which can convey threatening messages.
    •   Exclusion: socially or physically excluding or disregarding a person in work•related activities.
    •   Actual or threat of work Interference (sabotage) that prevents work from getting done.



GO:ViPL/1,H~T F~EPOf{T!NG PROCEDUHES
Schneider is aware that conduct, comments, or behavior that may be offensive to some individuals might be
considered inoffensive to others. Because of this, it is difficult for Schneider to learn of and take effective action to
halt harassment and discrimination unless the affected individual alerts the appropriate leader or HR Department,
both of the occurrence and the fact that the conduct in question ls offensive and unwanted. Associates who believe
they are being subjected to or have witnessed harassment, discrimination, retaliation, or bullying have several
reporting options avallable. Schneider encourages affected individuals to te!f the alleged harasser or discriminator
that they find such behavior offensive and ask them to stop. Regardless of whether you ask that individual to stop,
if you feel you have been subjected to conduct that violates this policy you have a duty to promptly notify one of the
following individuals: your leader, an HR Business Partner, or any member of Schneider leadership. You are not
required to report to your direct leader and may instead report concerns to an HR Business Partner.

Leaders in the organization have an additional responsibil!ty above that of other associates. As a leader, if you have
!earned of or feel that you have witnessed conduct that violates this policy, you have a heightened duty to notify an




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HR Business Partner of the conduct. Any leader who receives a complaint           arassment, discrimination, retal
or bullying and fails to immediately report it to HR may be subject to disciplinary action up to and including
termination of employment.


iNVES'HGATiON PHOCEDUf~ES
Schneider will take prompt action to investigate all good faith complaints alleging harassment or discrimination.
Persons who raise a concern or complaint or who are interviewed in the course of the Investigation are expected to
be honest and candid. Interference with investlgation efforts (inc!udlng, without limitation, refusing to cooperate in
an investigation or providing a false statement in an investigation} will not be tolerated and may result in disciplinary
action, up to and including termination of employment. If Schnelder determines that a confidential investigation is
necessary to protect Its legitimate business interests, confidentiality will be maintained to the extent possible during
the investigation, but complete confidentlality cannot be guaranteed.

If an investigation concludes that inappropriate conduct or a violation of this policy has occurred, Schneider will take
appropriate remedial action reasonably designed to halt the behavior. Such remedial measures may include
discipline, up to and including terminating the employment. lf an investigation concludes that a Schnelder associate
was unlawfully harassed by a supplier, client, contractor, customer, or other regular visitor, Schneider will take
appropriate action, which may include the termination of the relationship with the supplier, client, contractor,
customer, or visitor:


BETAUAT!ON iS PROH!B,ffED
Retaliation or discrimination against someone for raising a good faith report of harassment, bullying or
discrimination is prohibited and will not be tolerated. Retaliation against witnesses or other individuals who
cooperate in a related investigation is also prohibited. If you believe that you have been retaliated against, even if
the retaliation is subtle, you should report this fact immediately to your HR Business Partner, or any member of
Schneider leadership. Anyone found to have retaliated against an individual because of a good faith report of
harassment or discrimination or because of cooperation in the investigation of a complaint will be subject to
discipline, up to and including termination of employment.



FOR MORE lf'JFOR!VttrrmN
Contact your HR Business Partner with any questions regarding this policy.



Owner; CAO/HR/HRLT
Created: prior to 2006
Last Revised: 9/2018
Po/Icy valld date and time printed only - refer to Intranet for current version
For internal associate use only. Do not share or distribute externally.




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                                                                               EXHIBIT

                                                                                     13
REVISED Designation Notice for Family Medical Leave/FMLA



         HR-010321-LA
TO       Cierra Geter




         EBS #:
         Driver#: NA



DATE: 11/28/2018

FROM: Schneider leave Administration Team - Ruthchenie


You previously received a notice from us stating that your Family Medical Leave/FMLA was approved_ Your FMLA
leave began on 10/9/2018. On l J/')7/7018, we were informed that your need for leave w;:is extended through
1/1/2019.

Based on this updated information, your Federal FMLA now has a new ending date of 12/31/2018
As of this new date, 12 weeks have been counted against your Federal leave entitlement.

This exhausts your 12 weeks of available Federal FMLA.

Please refer to the original Designation Notice that was sent to you for more details. Our team can provide you
with an additional copy if needed. If you have any questions or disagree with the information in this notice,
please contact us. You can also view the FMLA poster located at your location or the FMLA information posted
under Company Policies.

Associates in certain states may be entitled to other benefits under states laws similar to FMLA. In the event there is a
difference in State and Federal regulations, the regulation most favorable to the associate wiff apply.

Cafijomia Residents: Above references to FMLA atso include CFRA (Coflfomla Family Rights Act) designation.

Travis Torrence has been notified via email of your eligibility and FMLA approval dates.



HR Leave Administration Team
Schneider
PH: 920-592-4571 or 800-558-6701 x592-4571
FAX: 920-403-8903




     CONFIDENTIAL                                                                            SCHNEIDER 000413
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                                                                            EXHIBIT

Designation Notice of Family Medical Leave                                 Plaintiff's 11




         HR-010321-UI
TO       Cierra Geter




         EBS #: 296995



DATE:
FROM:     Schneider Leave Administration Team - Molly


Designation Notice of Family Medical leave

Leave covered under the Family and Medical Leave Act (FMLA) must be designated as FMLA-protected and the employer
must inform the employee of the amount of leave that will be counted against the employee's FMLA leave entitlement.
In order to determine whether leave is covered under the FMLA, the employer may request that the leave be supported
by a certification. If the certification is incomplete or insufficient, the employer must state in writing what additional
information is necessary to make the certification complete and sufficient. This form provides employees with the
information required by 29 C.F.R. §§ 82S.300(c), 825.301, and 825.305(c).

We have re\/iewed your request for leave under the FMLA and any supporting documentation that you have provided. We
received your most recent information on 10/22/2018. We have decided:


     •   Your FMLA leave request Is approved. All leave taken for this reason will be designated as FMLA leave.


The FMLA requires that you notify us as soon as practical if dates of scheduled leave change or are extended, or were
Initially unknown. Based on the Information we have obtained to date, we are providing the following information
about the amount of time that will be counted against your leave entitlement:

     •   Provided there is no deviation from your anticipated leave schedule, the following number of days or weeks will
         be counted against your leave entitlement: 7 weeks and 1 day- beginning 10/9/2018 and ending 11/27/2018.
     •   If your need for leave extends beyond the above ending date, you will need to contact us and submit
         additional FML paperwork. This must be done prior to the above FMl ending date. Failure to do this could
         result in your absences beyond the above ending date not being covered under FML.
     •   If the dates of your leave change, we will send you a revised Designation notice.

If you di5agree with the time designated as FML, or any of the Information noted In this Designation notice, you may request a
review by contacting the Leave Administration team at 800-558-6701 ext 5924571 to discuss your file.

Please be advised:



         CONFIDENTIAL                                                                        SCHNEIDER 000418
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    •    You are not required to substitute accrued paid time during this leave. If you wish to substitute paid time, It is your
         responsibility to notify your leader of your intention to use available vacation or other paid leave.
    •    You will be required to present a Schneider Attending Physician's Return to Work Recommendation form (enclosed) to be
         restored to employment. Your return to work may be delayed until certification is provided. A list of the essential
         functions of your position Is not attached.

This letter is to notify you that we are basing your Family Medical Leave off the following FMLA regulations:

§ 825.113 Serious health condition.
(a) For purposes of FMLA, "serious health condition" entitling an employee to FMLA leave means an illness, injury,
impairment or physical or mental condition that involves inpatient care as defined in §825.114 or continuing treatment
by a health care provider as defined in §825.115.
(b) The term "incapacity" means inability to work, attend school or perform other regular daily activities due to the
serious health condition, treatment therefore, or recovery there from.
§ 825.300 Employer notice requirements. (d)
(2) If the employer has sufficient information to designate the leave as FMLA leave immediately after receiving notice of
the employee's need for leave, the employer may provide the employee with the designation notice at that time.
§ 825.301 Designation of FMLA leave
(a) Employer responsibilities. The employer's decision to designate leave as FM LA-qualifying must be based only on
information received from the employee or the employee's spokesperson (e.g., if the employee is incapacitated, the
employee's spouse, adult child, parent, doctor, etc., may provide notice to the employer of the need to take FMLA
leave). In any circumstance where the employer does not have sufficient information about the reason for an
employee's use of leave, the employer should inquire further of the employee or the spokesperson to ascertain whether
leave is potentially FM LA-qualifying. Once the employer has acquired knowledge that the leave is being taken for a
FM LA-qualifying reason, the employer must notify the employee as provided in §825.300(d).

Please be advised:
    •    Any paid time taken for this reason will count against your FMLA leave entitlement.
    •    You are not required to substitute accrued paid time during this leave. If you wish to substitute paid time, it is
         your responsibility to notify your leader of your intention to use paid time.

Schneider follows all state and federal regulations. Associates in certain states may be entitled to other benefits under
state laws similar to the FMLA. In the event there is a difference in State and Federal regulations, the regulation most
favorable to the associate will apply. Leaves or other benefits under Federal and related state FMLA laws run
concurrently.


**An associate on an approved personal medical leave of any type is prohibited from outside work. Exceptions will be reviewed by
the HR Leave Administration team on a case by case basis based on the healthcare provider medical certification. To approve an
exception, the associate must provide a job description for the outside employment. HR Leave Administration will compare that job
description with restrictions documented in the medical certification form.
Examples when an exception will be denied include:
    •    Working for another employer doing the same or similar duties that the employee's medical certification form says he or
         she is unable to perform.
    •    Working another job when the employee is supposed to be on leave for a doctor's appointment
If an associate engages in other employment while on a personal medical leave or light duty assignment for Schneider, without the
prior written approval HR Leave Administration, the associate's leave may be canceled and his or her employment terminated
retroactive to the date the other employment began.



Travis Torrence has been notified via email of your eligibility and FMLA approval dates.
Enclosure: Employee Rights and Responsibilities WHD Publication 1420




        CONFIDENTIAL                                                                         SCHNEIDER 000419
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      THE UNITED STATES DEPARTMENT OF LABOR WAGE AND HOUR DIVISION

                    Ellglble employees who wo!I< for a ~•eel employer can take up to 12 -al<s of unpaid, Job-protected leave In a 12-montll patiod for the
LEAVE
                    lollow1ng reasons:
ENTITLEMENTS
                              The birth o f a cnlld or placement of a child for adoption or foster core;
                              To bond with a ch lld (leave must be taken within 1 year of the child's birth or p lacement):
                              To care for the employee's spouse. child, or parent who h8s a qualifying serious health condition;
                              for the e m ~•s own qualifying serious health condition lt\at makes the emplOl'f:'e unal>le ro perfonn the employee's Job;
                              For qualifying e,ilgencies related to the foreign deployment of a m llttary member who Is the employee's spouse, chlld, or
                              parent.
                        ellglble employee wllo Is a covered servlcamember's spouse, Chlld, parent. or next of kin m ay also t ake up to 26 weeks o f FMLA
                           In a single 12-mont~ period to cere for the servieemember >Nlth a serious Injury or Illness.

                    Ari employee does not need to use leave In one block. Wilen It ts medically necessary or otherwl$e permitted, employees may
                    take leave Intermittently or on a reduced schedule.

                    Employees may choose, or an emplayer may require, use of acc,uad paid leave while taking FMLA leave. If an employee substitutes
                    accrued paid leave f or FMLA leaw, the employee must comply wlth the employer's normol p" ld leave policies.

                    While e n ~ s are on FIIILA leave, employeis must continue health Insurance cove,.,ge as if the employees were not on leave.

                    Upon return from FMLA leave, most employen m ust bo restored t o t he same Job or one nearly Identical to lt with equivalent pay,
                    b enefits. and 01110, emp layment terms and conditions.

                    An employer may not lntelfere with an lndlvl<lual's FMI.A rights or retaliate against someone for us!ng or trying to use FMLA leave, opposing
                    any pr<1ctlce made unlawful by the FMLA, or being Involved In any proceedi ng under o, related to the FMLA.

                    An employee who ,wrl<s for a covered empl~r must meet three crlte,ia in order to be ellglbla IDf FMLA leew. The employee must:
ELIGIBILITY
REQUIREMENTS                  Have worked lor the employer f or et least 12 months;
                              Have at least 1,260 !lours of sel'l/lce In the 12 months before taking leave;• end
                              w ork 81 a Iocat1on wnere the employer has et leatit 150 employ,,u w i thin 75 m iles ol the employee'• worksitc.

                     •Special "hours of service" requln1ments apply to elrtlne fllChl aew emplQVees.

                    Cenerally, empl(¥les mustglve 30-da),s' advtlnce notice of the need for FMLA leave. If It Is not possible to gJw 30-days' notice, an
REQUESTING
                    emplo)'8e must notify tf'le employer as soon as possible end. gene,ally, loflow the employer's usual pnx:edurM.
LEAVE
                    Employees do not have to st,are a medlcei diagnosis, but m u st ptO\'lde enough lnlormatlon to the emplO)'er so It can determine ff the
                    leave quallfles for FMLA protection. Sutflclenl Information could i nclude lnlormlng an employer t hal the employee ls or will be unable to
                    perform his or her Job functtons, that a tamnv member cannot perform dally actMtles, or that hospitalization or cont11111ini: ~
                    treatment IS necessary. Employees must Inform the employer If the neoo for leave is for a reason for which FMLA       ..,.....,. ..........«.·...,. ii)'
                     taken or cettltied.

                    Employers can require a certification o, perlOdlc recertification supportlnC the neeG for leave. If t he employer d
                    certlflcation IS Incomplete, It must provide a written notle:e lndlc:atlnl "'1tat eddlttonal Information IS required.            ..: .,.

EMPLOYER             Once an employer becomes aware that an emplOyee's need tor leave Is for a relJSOn that m ay qualify under the FMLA, die.·.· .         '
                     notlf) tne employee II he or &lie is eligible for FMLA leeve end, if eliglble, must also provlele e notice of rights and res ·
RESPONSIBILITIES     FMLA. If the empla)'ee Is not el!glble, the emplo)'8r must plOlllde a reason for lnell&!bfllty.

                     Employers must notify IIS employees if leave will be designated as FMlA leave. end II so, how much lea-.e wlU be clesl~                        .11:5 FMLA
                     leave.


ENFORCEMENT
                     Employees moy fUe a com pl a Int with the US. Department of labor, W aee an d Hour Division, o, may bring a prM1te lawsuit                     apinst an
                     employer.

                     The FMLA does not affect any feOeral or stat e law prohlblt1n1 discrimination or super5ede sny state or local law o r ~ ./{\
                     bargaining ag,eement tnat plO\lldes greater lamlly or medical lea11e rights.                                                   ., ,;_;::., :    / 1.)




     CONFIDENTIAL                                                                                                      SCHNEIDER 000420
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             ASSOCIATES: THIS FORM MUST BE RECEIVED PRIOR TO YOUR RETURN TO WORK
Schneider
HR Leave Administration T earn                            Associate Number
P.O. Box 2545 Green Bay WI 54306-2545                                                                        ------
FAX: 920-403-8903 Email: HRLeaveAdminlstrationTeam@Schneider.com

               ATTENDING PHYSICIAN'S RETURN TO WORK RECOMMENDATION

r~~l~~~!                                                                                                            """'""'--

Patient's Name (First)                      (Middle Initial)                                   (Last)

                                                   · ··t. .<·.


                      Section I                   1/ Q~\ I                            Section II
Patient is able to return to work without                        Patient is able to return to work with restrictions
restrictions effective                                           effective                 , outlined below:

                                                                 1. In a 24 hour day, patient may work an accumulative of:
                                                                     Stand / Walk:
                                                                 D 1-4 Hours D 5-8 Hours D 9-12 Hours D 13+ Hours
                                                                   Sit: (No more than 11 hrs without a break)
                                                                 D 1-4 Hours D 5-8 Hours D 9-12 Hours D 13+ Hours
                                                                   Operation of Heavy Machinery:
                                                                   {No more than 11 hrs without a break)
                                                                 D 7 Hours or less D 8-10 Hours D 11-14 Hours
                                                             2. Patient is able to:
                                                                                 Frequently Occasionally            Not at All
                                                                 Bend
                                                                                    □            □                      □
                                                                 Squat
                                                                                    □            □                      □
Comments:                                                        Climb
                                                                                    □            □                      D
                                                                 Twist
                                                                                    □            □                      □
                                                                 Reach
                                                                 Lift:
                                                                                    □            □                      □
                                                                       Sedentary         10# max                       D
                                                                       Light / Heavy
                                                                       Medium
                                                                                         20# max
                                                                                                                       □
                                                                                         50#max
                                                                                                                       □
                                                                       Heavy             100# max
                                                                                                                       □
                                                                     ...... ,.............. REQUIRED ,..,...,.,.........,._,..
                                                                  Restrictions In effect until: .·. ·
Is the patient taking any medications that could             Is the patient experiencing any side effects
Interfere with their ability to operate or work              which would Interfere with their job or with
around heavy machln□                                         moving around or operating heavy machinery?
YES □            NO               NIA □
                                                             YES
                                                                    □
                                                             Explain if YES:
                                                                             NO
                                                                                □
Physician's Name (Printed):
Physician's Signature:                                                             Date:
Physician's Phone Number: (         )                                              FAX#
                                                                                                           Return to Work Fonn 9.26.14




     CONFIDENTIAL                                                                           SCHNEIDER 000421
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                                                                               EXHIBIT

                                                                                     13
REVISED Designation Notice for Family Medical Leave/FMLA



         HR-010321-LA
TO

         Atlanta, GA 30349




         EBS #:
         Driver#: NA



DATE: 11/28/2018

FROM: Schneider leave Administration Team - Ruthchenie


You previously received a notice from us stating that your Family Medical Leave/FMLA was approved_ Your FMLA
leave began on 10/9/2018. On l J/')7/7018, we were informed that your need for leave w;:is extended through
1/1/2019.

Based on this updated information, your Federal FMLA now has a new ending date of 12/31/2018
As of this new date, 12 weeks have been counted against your Federal leave entitlement.

This exhausts your 12 weeks of available Federal FMLA.

Please refer to the original Designation Notice that was sent to you for more details. Our team can provide you
with an additional copy if needed. If you have any questions or disagree with the information in this notice,
please contact us. You can also view the FMLA poster located at your location or the FMLA information posted
under Company Policies.

Associates in certain states may be entitled to other benefits under states laws similar to FMLA. In the event there is a
difference in State and Federal regulations, the regulation most favorable to the associate wiff apply.

Cafijomia Residents: Above references to FMLA atso include CFRA (Coflfomla Family Rights Act) designation.

Travis Torrence has been notified via email of your eligibility and FMLA approval dates.



HR Leave Administration Team
Schneider
PH: 920-592-4571 or 800-558-6701 x592-4571
FAX: 920-403-8903




     CONFIDENTIAL                                                                            SCHNEIDER 000413
  EXHIBIT
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 Plaintiff's 14

                     ASSOCIATES: THIS FORM MUST BE RECEIVED PRIOR TO YOUR RETURN TO WORK
Schneider
HR Leave Administration Tearn                                                   Associate Number
P.O. Box 2545 Green Bay WI 54306-2545
                                                                                                      ------
FAX: 920-403-8903 Email: HRLeaveAdministrationTeam@Schneider.com

                      ATTENDING PHYSICIAN 'S RETURN TO WORK RECOMMENDATION
         ~~~'-l!!'!!!~!'!!!!!'




Patient's Name (FirsJ? 0                      .
____________ l__ I _f2., ( ({J
                      Section I                                                       Section II
Patient is able to return to work without
restrictions effective        E:=1
                             j~            5-'____            Patient is abl~J9__fetum to work with restrictions
                                                              effective · 2.. i . ,._ J , outlined below:
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                                                              1 . fn a 24 hour da , patient may work an accumulative of:
                                                              .. Stand / Walk:
                                                              0 1-4 Hours O 5-8 Hours O 9- 12 Hours O 13+ Hours
                                                                • Sit: (No more than 11 hrs without a break)
                                                                 1-4 Hours   O 5-8 Hours O 9-12 Hours O 13+ Hours
                                                                Operation of Heavy Machinery:
                                                                (No more than 11 hrs without a break)
                                                              --0 7 Hours or less D 8-10 Hours O 11-14 Hours
                                                              2. Patient is able to:
                                                              A-·              Frequently    Occasionally   Not at All
                                                               Bend               0               D              D
                                                               Squat              D               □              D
Comments:                 'S kg       '--._,., ~ l ( {1-e,.    Climb              0               □              D
                                                               Twist              D               □              D
   C::t 6(c          M:-· '-(_,'•--cv• L      ~ •~             Reach              O               □              D

        ~I~~               e-- ~ ,:::             e A-
                                                               Lift:
                                                                     Sedentary
                                                                     light I Heavy
                                                                     Medium
                                                                                        10# max
                                                                                        20# max
                                                                                        50# max
                                                                                                                D
                                                                                                                D
                                                                                                                □
                                                                     Heavy              100# max                D
                                                                  UOttUUU~d           REQUIRED ~*'•f~-.... ~~·····~·
                                                               Restrictions in        effect until:
Is the patient taking any medications that could              ·1s the patient experiencing any side e e
interfere with their ability to operate or work                which would interfere with their job or with
around heavy machinery?                                        moving around or operating heavy machinery?
YES        □             NO      □         N/A    0 ·         YES    □          No· ~
                                                              Explain if YES: _ _ _ _ _ _ _ __ __




                  CONFIDENTIAL                                                              SCHNEIDER 000410
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                                                            EXHIBIT

                                                           Plaintiff's 15

12/18/2018



          HR·0l032l·LA
TO:       Cierra Geter




RE:       Request for Accommodation

Dear Cierra,

On 12/17/2018, we received a return to work form from your physician outlining the following work restrictions through
2/13/2019:
      •   Work 3 days per week, 10 hour days


Schneider has agreed to accommodate the above restrictions in your current position effective 1/2/2019 through
2/13/2019. We are able to accommodate you working 3 days 10 hour days. The specific days and times will need to be
worked out with your leader.

Your physician indicates that you are able to return to work full duty on 2/14/2019.

Please have your physician complete the attached return to work form prior to 2/14/2019 if there are changes to your
restrictions.

As you meet with your physician, it is your obligation to provide Schneider with periodic updates on your progress toward
a return to the essential functions of your current role. lfthere have been no changes to your restrictions, we will at the
expiration of this accommodation approval review your status, and make no promise whatsoever that this
accommodation will be extended.

Please feel free to call me with any questions.

Sincerely,

Anissa
Leave Analyst
Schneider - HR Leave Administration Team
Phone: 920-592-4571 Fax: 920-403-8903
HRLeaveAdministrationTeam@Schneider.com




                                                                                                                482-8004 5!2016




          CONFIDENTIAL                                                                  SCHNEIDER 000399
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                 EXHIBIT

                    16



                     FAX TRANSMISSION COVER SHEET




 DATE:    111~ j d.J ll)
 TO:.    ~ f.,, LellAK.
 FAX:     qttJ- L/D~ -fu~
 RE;    til(({L     Cx:kr
 SENDER=     Dr ,Ccilltilldfl7L ll\lu)w
  YOU SHOULD RECElVE       PAGE(S), INCLUDING TH!S COVER SHEET.




CONFIDENTIAL                                            SCHNEIDER 000385
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 Schnelder
 HR Leave Administration Team
 P.O. Box 2545 Green Bay WI 64306-2545
 FAX: 920-403-8903. Email: HRLaaveAdmlnistratlonTeam@Schneider.com
                  ATTENDING PHYSICIAN'S RETURN TO WORK RECOMMENDATION




 Patient's Name (First)                       (Middle Initial}                                            {Last)
                                                         c...                                       ~
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                                                            Patle~t is able to re um to work !!!111 restrictions
                                                   . effective -+-1-t-~~...• outlined below: .

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                                                            1. fn a 24 Hol/t ay, patient may work an accumulative of:
                                                                                                                                                                      )
 J _        k:_ p                                               Stand I Walk:
 fC.-· ~ V '        ~( t                             )/"    D 1-4 Houm D · 6-8 Hours D g.12 Hours D 13+ Hours
  ~~      . t:.. ,,,,   .,..A'·             __4-                 Sit: (No more than 11 h~s without a break)
   T     '   ' v -,._    • ~ -- ~           a.J      V      □ 1-4 Hours D 5-8 Hours O 9-12 Hours O 13+ Hours
                                                                 Operation of Heavy Machinery:
                                                                 (No more than 11 hi'$ without a break)
                                                    /v       07Hoursorless                  O8-10.HQ\Q                 011-14Hoors
                                                            2. Patient is able to:
                                                        f \~                           Freijenlly              Occasionally                 Not at All
                                                                                                                        □                         □
                                                                Squat                       0
                                                                                            0
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                                                                    --•-N1lttt10                    REQUIRED HttttttUUHftHH1'
                                                                                                                                           ...,..,..,..,..--:-:.--.
                                                                                                                                                                 _.


                                                                Restrictions in ·effect until:                                                      ~
   Is the petlent taking any medications that could         Is the patient experiencing any aide effe
 . interfere with their ab~lity
                              to o rate or work             which would interfere with their Job or with

 ~so
 around heavy madlln
               NO
                                      · .
                                     NIA □
                                                            moving around or operatl~avy m~chinery?

                                                             vesD                          No~                                                        .
 ..,..__ _ _ __ __ _ _ _ __ __ _ Explain if YES: _ _ _ _ _ _ _ __ _




       CONFIDENTIAL                                                                                  SCHNEIDER 000386
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                                                              EXHIBIT

 From:            Cassandra Wanzo
                                                             Plaintiff's 17
 To:              HR Leave Administration Team
 Subject:         C.Geter 3.9.19
 Date:            Saturday, March 09, 2019 11:42:24 AM
 Attachments:     c Geter 3.9.19.odf

 Good Afternoon
 Attached is the paperwork for C. Geter. Please let us know if anything else is needed.
 Kelly Jordan
 Administrative Assistant
 Dr. Cassandra Wanzo
 602 Bombay Lane
 Roswell Georgia 30076
 Office: (678) 566-1440
 Fax: (678) 566-1442
 *****This email and any files transmitted with it are confidential and
 intended solely for the use of the individual or entity to whom they are
 addressed. If you have received this email in error please notify the system
 manager. This message contains confidential information and is intended only
 for the individual named. If you are not the named addressee you should not
 disseminate, distribute or copy this e-mail. Please notify the sender
 immediately by e-mail if you have received this e-mail by mistake and delete
 this e-mail from your system. If you are not the intended recipient you are
 notified that disclosing, copying, distributing or taking any action in
 reliance on the contents of this information is strictly prohibited.*****




CONFIDENTIAL                                                                  SCHNEIDER 000343
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                Case
       Please fax       1:20-cv-01148-SCJ-JSA
                  the completed form to:        Document 46-4 Filed 06/07/21EXHIBIT
                                                                              Page 96 of 106
       Fax Number: 866-411-5613
       The Hartford
       P.O.Box 14301
                                                                           Plaintiff's 19
                                          ATTENDING PHYSICIAN'S STATEMENT
       Lexington, KY 40512-4301                (For Mental Health Claims)
       Email: APSupload@thehartford.com
I ... _,•• ,•.•• • ,. .. . . . ..... ... _. . • • •• • '".     •• •• •• .. •• .. ....    • •• • ,. , •• ••,. ··~···• . •• .• • •••••• .... • • • • • •• ••
! To Be Completed By The Employee
r·· .·Pafieni Namt.•                          :r~····~-·~ ·.....- ···( ~~_F.~·:=··-~:~.. . .......
     .~To be completed by the Provider - (The patient is responsible for the completion of this form without expense to the company)

        Is lhe ~~diti~n r~la_t~·l; ~nvi~~~ent~~/~r·i;,t~rpe~~j·is~~-~s in his/h~;:.Vorkplace?                                                                           f'~ s .   I~   No
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                                                                                                                                                                                               2
        Arc these issues causing




        Patient Assessment Measures
        WHODAS Score:
        Domain I                                      Domain 11.                        Domain Ill                                       Domain IV           Domain V             Domain VI




                  CONFIDENTIAL                                                                                                                                             SCHNEIDER 000321
                             Case 1:20-cv-01148-SCJ-JSA Document 46-4 Filed 06/07/21 Page 97 of 106
 Patient
....                      Name:
     ,.,.,.,... ,. -,.-.,.,.,._ ··"···' "·   , ,..,_, ,
                                                                                                                           Date of Birth:                                                   Insured ID Number:

FUNCTIONALITY:

Did you recommend your patient slop working?
Are the symptoms or such severity to preclude the patient from social I occupational fu nctioning?                                                                                                                       (:0Yos [ ] No
When did the symptoms become severe enough to preclude social I occupational fu nctioning?, .. .                                                                                                                    Q.~~~t::::-._f fi )..e;( t
If Yes, specify what work activities are impaired and how:




Whal is the expected <luralion 01 any work activity impairments?
Have you discussed a return to work goal with your patient?                                                                                                                   If No, please explain:




.... .\
 -··· ... -··- ......... ' ' -·""·-· -'' "•'•' ........._ ··- •·••····· ·-__ ,.,. . -···--«••--·••-·-·---··--·· - '"_,,,... ,_ .. _______ ·•-·-···-··--··· ,_,..,__ ,,, __,____,,.. ,_. __ ,_.. ··-··-·-·-.. --,-•-·-• ·-·-••·-·--·. - ----··--·----····-·-·-·-·--·--·-.. --.-·,··-·-·--·
  TREATMENT:




 LC-7592-9                                                                                                                  Page 2 of 3                                                                                                                                   0812016




                CONFIDENTIAL                                                                                                                                                                                       SCHNEIDER 000322
               Case 1:20-cv-01148-SCJ-JSA Document 46-4 Filed 06/07/21 Page 98 of 106

    Patient Name:

   TREATMENT CONTINUED:

  Has patient been referred to any other mental health providers/physicians? ;· ·· tyes                      fJ))fo
  If •yes~. please provide the following Information:
  Provider Name:_                                                                                       Phone Number:      L
!! Provider Address:--·-·-·--···-·- -----·- ----····"·'·----- ---··-···
! Are you coordinating care with this provider?                           :· Yes     r--· No




   Response to medication:

      .... ....... : t~,:f ~                  ~ \~ '. ~ '-::::~}:-~ ~ --\-.c' f


    STATUS (Please check one):                ["' ..; In remission        r ···]lmproved   r· ·:Unchanged




  LC-7592-9                                                                       Page 3 or 3                                         08/2016




        CONFIDENTIAL                                                                                                    SCHNEIDER 000323
   Case 1:20-cv-01148-SCJ-JSA Document 46-4 Filed 06/07/21 Page 99 of 106
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~ ~ . , ~ ~ - ,;Jfi!Jffi!Jf{
                                                        EXHIBIT

4/ 2/2019                                              Plaintiff's 20



           HR-010321-LA
TO:        Cierra Geter




RE:        Request for Accommodation


Dear Cierra,

You are currently approved on an accommodation for your reduced schedule of 3 days through 3/19/2019.
Below is the timeline of information that has been received during your leave of absence and your partial return
to work

      •    Your continuous leave of absence was approved from 10/9/2018 through 12/31/2019 which exhausted
           your 12 weeks of FML.
      •    On 12/17/ 2018, HR leave team received a return to work form from your doctor that indicated you can
           return to work 3 days per week effective 1/2/2019 through 2/13/2019. HR leave team approved this
           accommodation on 12/18/2019.
      •    On 1/21/2019, HR leave team rece ived an updated return to work form from your doctor that indicated
           your partial schedule of 3 days remains in effect through 3/19/2019. HR leave team approved this
           extension on 1/ 29/2019.
      •    On 3/11/2019, HR leave team received an updated return to work form from your doctor that indicated
           your partial schedule of 3 days remains in effect through 4/30/2019. This extension is under review.
      •    On 4/1/2019, HR Leave team received updated information from your doctor that indicated your partial
           schedule of 3 days remains in effect through 6/5/2019. This extension is under review.

With the multiple extensions of partial return to work schedule, this is appearing to be a permanent need.

Please take the below physician statement to your doctor to complete the additional questions that are needed
for your accommodation extension request.

Please provide me with the requested information from you and your health care provider by no later than
4/8/2019.
Thank you for your cooperation with the above. Please feel free to call me with any questions.

Sincerely,
Anissa
Leave Analyst
Schneider - HR Leave Administration Team
Phone: 920-592-4571 Fax: 920-403-8903
HRLeaveAdministrationTeam@Schnejder.com




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4/12/2019                                            EXHIBIT

                                                    Plaintiff's 22

          HR-010321-LA
TO:       Cierra Geter




RE:       Request for Accommodation

Dear Cierra,

As you know you were out on a continuous leave of absence due to medical reasons from 10/9/2018 through 1/1/2019
at which time you exhausted your 12 weeks of FML. Schneider was able to accommodate you returning to work on a
partial schedule starting on 1/2/2019. We have been accommodating you working 3 out of your scheduled 4 days since
that time.

      •   On 12/18/2019, we approved a partial return to work, working 3 days per week through 2/13/2019.
      •   On 1/21/2019, we approved an extension of your partial schedule through 3/19/2019.
      •   On 4/11/2019, we have continued to accommodate this partial schedule through current (4/12/2019).

During this timeframe, Schneider continued to work with you to determine if an accommodation could be made for you
and additional information was requested from you and your physician in order to help make that determination.

On 4/1/2019, we received updated information from your physician that indicates that you may be able to return to full
time on 6/5/2019 with 3 days in the office and the other day working from home.

Based on this information and after carefully considering your request for us to continue to accommodate you, we are
unable to continue accommodating your partial schedule. Based on the needs of the business, it is not reasonable that
w e continue to allow you to work a partial schedule and working in the office is an essential function of your role.

Accordingly, your request for continued accommodation is not approved and we are ending the accommodation process.
You will be working with your leader and Human Resource Business Partner on the next steps regarding your leave of
absence.

Thank you for your cooperation with the above.

Sincerely,
Anissa
Leave Analyst
Schneider - HR leave Administration Team
Phone: 920-592-4571 Fax: 920-403-8903
HRLeaveAdministrationTearn@Schneider.com




                                                                                                           482,COOd 512()16


          CONFIDENTIAL                                                              SCHNEIDER 000301
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                              EXHIBIT

                             Plaintiff's 23



                     FAX TRANSMISSION COVER SHEET




DAT E:     4/:>1 /aJ I 9
TO:     SC hn.etruf- Ur leave_ Mlt1in\S1fcJi(JYl Tuo.m
FAX :    9do -~o~-59oS
RE:      C.Geilr
SENDER =   Dr ,COSSaJdrCc vJQn l()
YOU SHOULD RECEIVE        PAG E(S) , INCLUD ING THI S COVER SHE
                                                                ET.

                                              3




CONFIDENTIAL                                           SCHNEIDER 000024
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SCHN EIDER.

5. What is the total length of time the patient will need to work 3 days per week from this point forward in
     your best professiona l estimate?

    _ _ _ _ _ Pecmanent restriction ~                 -ii)          of Month(s) _ _ _ _ _ _ #of Week(s)


6. Provide a detailed statement as to whether the patient is making progress toward their return to work and
   the percentage of likelihood of them returning to their current position full time by 4/10/201 9 (this date is
   90 days of accommoda ting a partial schedule of 3 days).
             Note: A statement that the patient will not be able to return to work until "at least" a 9iven date is not
        helpful in the context of this process. Such assessment may be deemed the equivalent ofa statement that
        the patient will be unable to return to work full time (4 - 10 hour days for an indefinite period.




                                       Date




    Return to:
    Schneider - HR Leave Administrati on Team
    P.O. Box 2545 Green Bay, WI 54306-2545
    Phone: 800-558-670 1 ext 592-4571
    Fax: 920-403-890 3;
    Email: HRLeaveAdministrationTeam@Schneid er.com




     CONFIDENTIAL                                                                    SCHNEIDER 000026
CONFIDENTIAL                   MEDICAL RECORDS
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             EXHIBIT

           Plaintiff's 24


                            FAX TRANSMISSION COVER SHEET




  DAT E:     ~\isJcn1q                       -r1 G
  TO:      \JllltfnfO
 FAX :     n1-f53-9G~LJ
 RE:    (.Oder
 SEN DER : \)a , \N{U) w
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                        Geter, Cierra v. Schneider National Carriers Inc.

                                                                         Page 1

1                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
2                             ATLANTA DIVISION
3
           CIERRA GETER,                          )
4                                                 )
                               Plaintiff,         )    CIVIL ACTION
5                                                 )
                         vs.                      )    FILE NO.
6                                                 )
           SCHNEIDER NATIONAL                     )    1:20-cv-01148-SCJ-JSA
7          CARRIERS, INC.,                        )
                                                  )
 8                             Defendant.         )
 9
10                                    - - -
11                                DEPOSITION OF
12                            MARIANNE BISKEY-ROSE
13                       TAKEN BY REMOTE VIDEOCONFERENCE
14
                                    April 21, 2021
15
                                        9:37 a.m.
16
17                     Pamela L. Porter, RPR, CCR-B-2160
18                                   - - -
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                                     Marianne Biskey-Rose                 April 21, 2021
                        Geter, Cierra v. Schneider National Carriers Inc.

                                                                         Page 2

1
                                   APPEARANCES OF COUNSEL
2
3
        On behalf of the Plaintiff:
4
                    CHERYL B. LEGARE, ESQ.
5                   Legare, Attwood & Wolfe, LLC
                    Suite 380, Decatur Town Center Two
6                   125 Clairemont Avenue
                    Atlanta, Georgia 30030
7
8       On behalf of the Defendant:
9                   PETER A. MILIANTI, ESQ.
                    McGuire Woods, LLP
10                  Suite 2100, Promenade II
                    1230 Peachtree Street, NE
11                  Atlanta, Georgia 30309
12
13                                                  - - -
14
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13                           Leave Administration Team, 3/25/19
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16       Exhibit 41          Email from Ashley Janssen to                       38
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              (Original Exhibits have been attached to the
21      original transcript.)
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1                         (Reporter disclosure made pursuant to
2                   Article 10.B of the Rules and Regulations of the
3                   Board of Court Reporting of the Judicial Council
4                   of Georgia.)
5                         (Due to the need for this deposition to
6                   take place remotely, the parties have stipulated
7                   that the court reporter may swear in the witness
8                   over the phone/Veritext Virtual videoconference
9                   and that the witness has verified that he/she is
10                  in fact MARIANNE BISKEY-ROSE.)
11                        (The witness was duly sworn.)
12                        (Off-the-record discussions ensued.)
13                        MS. LEGARE:      Again, we're here today in
14                  the case that Cierra Geter has brought against
15                  Schneider National Carriers, which is currently
16                  pending in the Northern District of Georgia, and
17                  we're here for all purposes under the Federal
18                  Rules of Civil Procedure and Evidence.
19                        Are we going to waive objections except to
20                  form and privilege today?
21                        MR. MILIANTI:        Yes.
22                        MS. LEGARE:      Okay.       And I'm assuming you
23                  want to read and sign; right?
24                        THE WITNESS:       Yes.
25                        MS. LEGARE:      Okie-doke.

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                                                                         Page 5

1                                    MARIANNE BISKEY-ROSE,
2       having been first duly sworn, was examined and
3       testified as follows:
4                                      CROSS-EXAMINATION
5       BY MS. LEGARE:
6                   Q.       Could you please state your full for the
7       record.
8                   A.       Yeah.     It's Marianne Biskey-Rose.
9                   Q.       And I apologize.           I didn't introduce
10      myself.          I'm Cheryl Legare, and I represent Cierra
11      Geter in this matter.
12                           And you're here because you've been
13      identified as a witness who has some information about
14      the case.
15                           I'm going to ask you some questions.
16      You're going to give me some answers.                     Pete may ask
17      some follow-up, and then we'll be done.                     You know, I
18      expect maybe an hour or two at the most.
19                           Have you ever been deposed before,
20      Ms. Biskey-Rose?
21                  A.       I have not.
22                  Q.       Okay.     I sort of just described the
23      process for you.              If you need a break, just let me
24      know.        Okay?
25                  A.       Okay.

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1                   A.    He's located in Green Bay, Wisconsin.
2                   Q.    So Mr. Torrence has already been deposed.
3       And I think I understand his role in Ms. Geter's
4       employment.        But let me take a step back.              Do you know
5       Cierra Geter?
6                   A.    I do.
7                   Q.    As operations -- as director of
8       operations, do you primarily work first shift, or do
9       you work various times?
10                  A.    Primarily first shift.
11                  Q.    And does first shift have a general time
12      range, like 9:00 to 5:00 or 8:00 to --
13                  A.    Generally -- yeah, generally it's 7:00 to
14      4:00.        But, again, it's a little bit staggered.                 So
15      some people come at 6:00.              Some people come at 8:00.
16      But generally speaking it's historically been 7:00 to
17      4:00.
18                  Q.    And is Schneider still today a 24/7
19      operation; right?
20                  A.    Correct.
21                  Q.    Just so that we have it in the record,
22      what does Schneider do?
23                  A.    We're a truckload and logistics company.
24                  Q.    So I think it's probably just easiest to
25      go sort of chronologically about what happened in this

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                                                                       Page 32

1                         THE WITNESS:        So I'm sure I have seen it,
2                   but it isn't something I recall.
3                   Q.    (By Ms. Legare)          What is your --
4                   A.    I can't say --
5                   Q.    Oh, go ahead.
6                   A.    I can't say definitively that I've seen
7       this.
8                   Q.    Okay.     What is your understanding about
9       working from home for people in the Fairburn office?
10                  A.    Well --
11                  Q.    And hold on.        I need to put this on --
12      before Covid, obviously.
13                  A.    Yes.    So, you know, we try our best to
14      work with our associates and be flexible.                    So, you
15      know, if somebody has something last minute that's
16      come up, like a sick child or someone at home that
17      they need to be there for or a doctor's appointment,
18      then we've allowed some flexibility to work from home.
19                        But it's always kind of been a one-off
20      situation and not an ongoing request.
21                  Q.    Were you aware that Tiffany Kitchens
22      worked, actually, from the emergency room is what she
23      said on -- or, sorry, from the hospital, and she made
24      it sound to me like for around four months in 2018 and
25      2019?

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1       the time I believe it was to June 6th.
2                         MR. MILIANTI:        Object to the form.
3                         THE WITNESS:       I can't specifically
4                   remember this conference call, if that's what
5                   you're asking.
6                   Q.    (By Ms. Legare)         Well, so do you recall
7       having any conversations with Ms. Janssen and
8       Mr. Torrence about Ms. Geter's need for an extended
9       accommodation?
10                  A.    I do.
11                  Q.    Do you recall how many conversations you
12      may have had with them about it?
13                  A.    I do not.
14                  Q.    Can you tell me what you recall talking to
15      them about?
16                  A.    Yeah.    We discussed, you know, her request
17      to extend and whether or not we were able to continue
18      to accommodate, you know, based on the business needs
19      and our staffing level.
20                        And it was determined that we could no
21      longer accommodate, and so we discussed, you know,
22      next steps.
23                  Q.    Was there any conversation about changing
24      Ms. Geter's shift?
25                  A.    Yes.    So we did discuss a couple of

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1       different options.          One was changing shifts.             We
2       offered that up, and it's my memory that,
3       unfortunately, she wasn't able to do that because of
4       her doctor and group therapy sessions.
5                        We also talked about a different position
6       for her, so, like, a first shift position.                    I guess
7       that would have been changing schedules kind of.
8                        And then I also asked Cierra or my memory
9       is that I asked Cierra if she could change any of her
10      doctor schedules.         So, you know, the Monday group
11      therapy session, I asked if there was an opportunity
12      to -- to go to a different, you know, session.
13                       And my memory is that there was a
14      different session that she could attend, but it
15      coincided with one of her other doctor's visits.                       So
16      she wasn't able to change that up.
17                  Q.   So you recall having this conversation
18      with Ms. Geter?
19                  A.   I do.
20                  Q.   Were the business needs and the staffing
21      level, did any of that have to do with an APM having
22      to go out on maternity leave?
23                  A.   I'm sorry.       Can you ask that question a
24      different way maybe?
25                  Q.   Sure.    Isn't it true that at the same time

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                                                                       Page 40

1                   A.   Yes.
2                   Q.   When you say business needs and staffing,
3       what do you mean?
4                   A.   So just the support that we are able to
5       give our driving associates and business.                    So having
6       enough resources in order to help those problems be
7       resolved.
8                   Q.   And so having her only work three days
9       instead of four days was an issue, in your mind?
10                  A.   Yes.    Because we needed somebody there
11      full-time in order to meet those needs.
12                  Q.   Did you consider at the time getting a
13      temporary employee to cover that day for Ms. Geter?
14                  A.   We discussed it, but it never was, I'll
15      say, a viable option because of, again, the skill
16      level that's kind of needed from a temp perspective,
17      and it was a shift where we didn't have anybody on
18      staff, which is why Travis was having to step in and
19      cover it.
20                       And so having a temp person take that role
21      and be in that position is not a great solution
22      because they'd be by themselves and not have the
23      knowledge and background that they need in order to
24      resolve those issues.           So it wasn't a good option for
25      us to consider.

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    EXHIBIT D
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                                         Travis Torrence                  April 6, 2021
                        Geter, Cierra v. Schneider National Carriers Inc.

                                                                        Page 1

1                             UNITED STATES DISTRICT COURT
2                             NORTHERN DISTRICT OF GEORGIA
3                                   ATLANTA DIVISION
4
5        CIERRA GETER                           :
                                                : 1:20-cv-01148-SCJ-JSA
6                             Plaintiff(s)      :
                                                :
7                   vs.                         :
                                                :
8        SCHNEIDER NATIONAL                     :
         CARRIERS, INC.                         :
9                                               :
                             Defendant(s).      :
10
11                                           - - -
12                               Tuesday, April 6, 2021
13                                           - - -
14                          Zoom deposition of TRAVIS TORRENCE, taken
15       pursuant to notice at Atlanta, Georgia, beginning at
16       10:12 a.m., before JULIE C. WILSON, a Georgia
17       Certified Court Reporter and Registered Professional
18       Reporter.
19
20                              VERITEXT LEGAL SOLUTIONS
                                    SOUTHEAST REGION
21                        1075 Peachtree Street NE - Suite 3625
                                 Atlanta, Georgia 30309
22
23
24
25

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                                         Travis Torrence                  April 6, 2021
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                                                                        Page 2

1         A P P E A R A N C E S:
2
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          BY:  CHERYL B. LEGARE, ESQUIRE
4         125 Clairemont Avenue
          Suite 380
5         Decatur, GA 30030
          (470) 823-4000
6         cblegare@law-llc.com
          Representing the Plaintiff(s)
7
8
          MCGUIREWOODS LLP
9         BY:  PETER A. MILIANTI, ESQUIRE
          77 W. Wacker Drive
10        Suite 4100
          Chicago, IL 60601
11        (312) 750-2765
          pmilianti@mcguirewoods.com
12        Representing the Defendant(s)
13
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1                                        I N D E X
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3        TESTIMONY OF:        TRAVIS TORRENCE
4        By MS. LEGARE               6
5
6                                          - - -
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         NUMBER                DESCRIPTION                                MARKED
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                        Geter, Cierra v. Schneider National Carriers Inc.

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1                                DEPOSITION SUPPORT INDEX
2         INSTRUCTION NOT TO ANSWER
3         PAGE                                                LINE
4         NONE.
5
6         REQUEST FOR PRODUCTION OF DOCUMENTS
7         PAGE                                                LINE
8         NONE.
9
10        STIPULATIONS
11        PAGE                                                LINE
12        5                                                   15
13
14        QUESTIONS MARKED
15        PAGE                                                LINE
16        NONE.
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1                               MS. LEGARE:       Mr. Torrence, thank you
2                   for being here today.         I'm Cheryl Legare and I
3                   represent Cierra Geter in the lawsuit she has
4                   brought against Schneider National Carriers.
5                   Is it okay if I call Schneider National
6                   Carriers "Schneider" today?
7                               THE WITNESS:        Yes.
8                               MS. LEGARE:       Okay.       And we're here
9                   today in the matter that is currently pending
10                  in the Northern District of Georgia.              And this
11                  deposition is being taken pursuant to notice
12                  and agreement of parties for all purposes under
13                  the Federal Rules of Civil Procedure and
14                  Federal Rules of Evidence.
15                              Are we reserving objections except to
16                  form or privilege, Pete?
17                              MR. MILIANTI:        Yes.
18                              MS. LEGARE:       And did you want to read
19                  and sign?
20                              MR. MILIANTI:        Yes, please.
21                              MS. LEGARE:       Can you swear in the
22                  witness please, Julie.
23                              THE COURT REPORTER:            Due to the need
24                  for this deposition to take place remotely
25                  because of the Government's order for social

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1                   distancing, the parties will stipulate that the
2                   court reporter may swear in the witness over
3                   Veritext virtual videoconference and that the
4                   witness has verified that he is, in fact,
5                   Travis Torrence.
6                                           - - -
7                                TRAVIS TORRENCE, after having been
8                   duly sworn, was examined and testified as
9                   follows:
10                                          - - -
11                                      EXAMINATION
12                                          - - -
13       BY MS. LEGARE
14       Q.         Mr. Torrence, can you please state your full
15       name for the record.
16       A.         Travis Demino Torrence.
17       Q.         And have you ever been deposed before?
18       A.         No, ma'am.
19       Q.         Have you ever testified in court before?
20       A.         No, ma'am.
21       Q.         You understand that we're here today and you
22       are under oath just as if we were in court under
23       penalty of perjury, right?
24       A.         Yes, ma'am.
25       Q.         And is there any reason other than the passage

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1        Q.         Was her position eliminated when the APMs were
2        moved?
3        A.         Yes.
4        Q.         And what is her race?
5        A.         Black.
6        Q.         And Ms. Kitchens is still employed and her race
7        is white, right?
8        A.         Yes.
9        Q.         And is Quincy Parker still employed?              I think
10       you said yes, right?
11       A.         No.
12       Q.         No.    Was his position eliminated or had he
13       already left?
14       A.         He was a driver team leader, not an area
15       planner.
16       Q.         Oh, got you.    And Sara Kopf is still there and
17       she is white, correct?
18       A.         Yes.
19       Q.         Do you know how it was decided whose positions
20       were eliminated versus who were moved into new
21       positions when the APM position was moved?
22       A.         So the APMs were given the choice to relocate
23       to Green Bay.
24       Q.         Well, some people were given different
25       positions too, right, like Ms. Kitchen, Ms. Kopf?

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1        BY MS. LEGARE
2        Q.         Well, based on this letter, the physician
3        indicated that she would be able to return to work
4        on June 5, 2019, right?
5        A.         I'm reading it.
6                             MR. MILIANTI:          Go ahead, Travis.
7                             THE WITNESS:          I'm reading it as may
8                   be able to return to it full time.             Which again
9                   is unclear in my mind.          And especially after
10                  we've already approved incremental additional
11                  accommodations up to that point.
12       BY MS. LEGARE
13       Q.         What do you mean by "incremental additional
14       accommodations"?
15       A.         We approved it through February 13.             Then again
16       through March 19.          Then again through 4/12.
17       Q.         I just want to make sure I understand what you
18       were saying.        Who -- who was the other employee on
19       third shift at the time?              APM to be more specific.
20       A.         Desmond Seymour and Audriana Williams.
21       Q.         So you had three people working third shift at
22       the time?
23       A.         Yes.
24       Q.         And was anyone covering the fourth day that
25       Ms. Geter was not working?

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1        A.         Typically myself.
2        Q.         So you were working third shift one day a week?
3        A.         Yes.
4        Q.         And what day was that?
5        A.         Sunday nights.
6        Q.         And were you working from the office Sunday
7        nights or were you working remotely?
8        A.         I can't remember a time that I specifically
9        worked from home on one of those Sunday nights.
10       Q.         Is there any documentation that would show when
11       people were working remotely or when they were
12       working in the office?
13       A.         Not that I'm aware of.
14       Q.         What was your typical schedule when Ms. Geter
15       was not being accommodated?                Actually, let me ask
16       this a different way.            Before she went on medical
17       leave in October of 2018, did you ever work third
18       shift?
19       A.         I spent time on third shift.              I did not act as
20       the only APM in the office prior to that.
21       Q.         You supervised third shift, right?
22       A.         Correct.
23       Q.         So were you -- well, let me ask you this.                Did
24       you work alone on Sunday nights as the APM when
25       Ms. Geter was out?

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1        A.         Yes.
2        Q.         So Ms. Williams and Mr. Seymour didn't work on
3        Sunday nights?
4        A.         No.
5        Q.         Why not?
6        A.         I would have to go back -- I don't remember
7        specifically what schedule Desmond or Audrey was in
8        at that time.
9        Q.         But you know for sure they weren't working
10       Sunday nights?
11       A.         Yes.
12       Q.         Let me ask you this.          Did anyone ever offer
13       during this accommodation process to transfer
14       Ms. Geter to first or second shift as an
15       accommodation for her disability?
16       A.         I don't recall specifically.
17       Q.         And what shift did Candace Smith work?
18       A.         Second shift.
19       Q.         And did you and Ms. Rose have any meetings
20       regarding Ms. Geter's final request for
21       accommodation when that was extended to June 5,
22       2019?
23       A.         Yes, I believe we did.
24       Q.         Do you know approximately how many times you
25       met about the accommodation issue?

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1        moving her to five-day-a-week schedule?
2        A.         Yes.
3        Q.         And were either of these -- and I think that
4        was a yes, right?
5        A.         Yes.
6        Q.         -- and were either of those options presented
7        to Ms. Geter?         Maybe a better question is were
8        either of those options discussed with Ms. Geter by
9        you?
10       A.         I can't remember for sure.
11       Q.         At any point did you tell Ms. Geter that it was
12       okay for her to work from home because everyone did
13       it?
14       A.         Are you asking if those are my exact words?
15       Q.         Well, or something to that effect.
16       A.         It's possible.     When there has been a request
17       to work from home for any associate that has been on
18       my team or even in our office on a short-term basis
19       because something has, you know, popped up or
20       whether it's weather or a family issue at home,
21       we've accommodated that on a short-term basis.
22       Q.         I think you said Tiffany Kitchens did not
23       report to you, right?
24       A.         Correct.
25       Q.         Were you aware that Ms. Kitchens had been

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1        Ms. Geter had any request for reasonable
2        accommodation granted or denied?
3                              MR. MILIANTI:          Object to the form of
4                   the question.
5        BY MS. LEGARE
6        Q.         You can answer.
7        A.         Can you ask that again.
8        Q.         Sure.   And I'm only asking about employees who
9        reported directly to you.               During your employment
10       with Schneider when you were a supervisor, so after
11       you were promoted to team lead and any time
12       thereafter, has any employee who reported to you
13       other than Ms. Geter requested an accommodation for
14       disability?
15       A.         No.
16       Q.         Have any of the employees who reported to you,
17       the same time frame, once you were a supervisor,
18       taken FMLA leave?
19       A.         Yes.
20       Q.         How -- well, have any of the employees who
21       reported to you taken intermittent FMLA, meaning not
22       all at one time?
23       A.         I can't say for sure.
24       Q.         Other than Ms. Geter, have any of your
25       employees for any period of time worked a reduced

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1        schedule?         And I'm talking about people you
2        supervised.
3        A.         No.
4        Q.         Has any of the employees you supervised other
5        than Ms. Geter -- I understand that you allow people
6        to work remote from time to time, has anyone had to
7        work remote one or more days for an extended period
8        of time, not COVID related?
9        A.         Can you ask that again.
10       Q.         Yes.   Have any of the employees who reported to
11       you -- and now I'm talking pre-pandemic time, had to
12       work from home for an extended period of time?                      I
13       guess, let me ask it two ways.                  Has anyone had to
14       work from home, anyone who reported to you, had to
15       work from home on a full-time basis for any period
16       of time?
17       A.         No.
18       Q.         Has anyone who worked for you had to work from
19       home at least once a week for any period of time?
20       A.         No.
21       Q.         And I don't think -- sitting here today, can
22       you tell me how often, for example, Ms. Kopf worked
23       from home in 2018?
24       A.         I couldn't say for sure.
25       Q.         Same for 2019?

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1                   full-time positions.        I mean the --
2        BY MS. LEGARE
3        Q.         Well, let me -- you raised a couple questions
4        here.        When you were covering her shift as APM, was
5        that a part of your full-time duties or in addition
6        to your full-time duties?
7        A.         In addition to.
8        Q.         So were you being forced to work extra hours in
9        order to cover that shift?
10                            MR. MILIANTI:          Object to the form.
11                            You can answer.
12                            THE WITNESS:          I guess I really don't
13                  understand.   Forced by who?
14       BY MS. LEGARE
15       Q.         Well, how many -- when you were an operations
16       team lead and nobody was on FMLA, how many hours a
17       week were you working, approximately?
18       A.         It's hard to say for sure and each week was
19       kind of different.
20       Q.         And while Ms. Geter was on continuous FMLA from
21       October to December, who covered her shift?
22       A.         The work was absorbed by the rest of the team
23       and myself.
24       Q.         Were you actually working any of her shifts
25       while she was on FMLA?

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1        A.         Yes.   On Sundays.
2        Q.         And did Schneider at the time use contractors
3        or temporary employees to cover when other employees
4        were out?
5                              MR. MILIANTI:         Object to the form.
6                              THE WITNESS:         We have utilized
7                   temporary associates in the past.
8        BY MS. LEGARE
9        Q.         And did you use any temporary associates during
10       the fall of 2018 when Ms. Geter was on FMLA leave?
11       A.         I can't remember for sure.
12       Q.         Do you know who might know the answer to that
13       question?
14       A.         I can't say for sure.
15       Q.         Would there be documentation of the use of
16       temporary employees?            Let me ask you this.          Do you
17       use an agency for temporary employees?
18       A.         Yes.
19       Q.         What is that agency?
20       A.         Kelly Services.
21       Q.         And I'm assuming you pay Kelly Services when
22       you use the employees, right, temporary employees?
23       Not a trick question.            I mean, the temporary
24       employees are paid, right?
25       A.         Yes.   I would not be the one that would arrange

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